Case: 24-60219 Document: 36-1 Page:1 Date Filed: 07/12/2024

IN THE UNITED STATES COURT OF APPEALS
FOR THE FIFTH CIRCUIT

NATIONAL RELIGIOUS

BROADCASTERS;

AMERICAN FAMILY ASSOCIATION,
Petitioners,

Case No. 24-60219

Uv.

FEDERAL COMMUNICATIONS

COMMISSION;

UNITED STATES OF AMERICA
Respondents

Consolidated with

TEXAS ASSOCIATION OF
BROADCASTERS,

Case No. 24-60226

Petitioners,

Uv.

FEDERAL COMMUNICATIONS

COMMISSION;

UNITED STATES OF AMERICA
Respondents.

Nes Nee ONT a ae aS

On Petition for Review of an Order of the
Federal Communications Commission

MOTION TO EXTEND
TIME TO FILE OPENING BRIEFS

In accordance with Federal Rules of Appellate Procedure 26 and 27

and Fifth Circuit Rule 31.4, Petitioners National Religious Broadcasters,

American Family Association, and Texas Association of Broadcasters file
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this motion (“Motion”) seeking an extension of time to file opening briefs.
This Motion is being filed in anticipation of the transfer to this Court of
a petition for review that was filed in the U.S. Court of Appeals for the
Ninth Circuit challenging the same agency order at issue in this
consolidated proceeding. Petitioners corresponded by email with
Respondents Federal Communications Commission (“FCC”) and the
United States of America to ask for their position on this Motion. See
Exhibit 1 at 1-5. Respondents advised on July 10 that they do not consent.
Exhibit 2.

1. On February 22, 2024, the FCC released its Review of the
Commission’s Broadcast & Cable Equal Employment Opportunity Rules
& Policies, MB Docket No. 98-204, Fourth Report and Order and Order
on Reconsideration, FCC 24-18 (“Order”). A synopsis of the Order was
entered in the Federal Register on May 3, 2024.

2. On May 3, 2024, Petitioners National Religious Broadcasters
and American Family Association filed their petition for review of the
Order. Petitioner Texas Association of Broadcasters filed its petition for

review of the Order on May 9, 2024.
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3. On May 22, 2024, Respondent FCC filed an unopposed motion
to consolidate the proceedings, which the Court granted on May 30, 2024.

4. On June 5, 2024, Respondent FCC emailed Petitioners to
inquire about interest in jointly moving the court to set a negotiated
briefing schedule, expressing Respondents’ intent to seek 60 days to
respond to opening briefs. Exhibit 1 at 8-9. Petitioners responded on June
6, 2024, that they were open to a negotiated schedule. Jd. The parties
exchanged further emails about a negotiated schedule, which would
depend on when Respondents filed the administrative record. Id. at 7-8.

5. Respondents filed with this Court a certified index of items in
the administrative record on June 17, 2024.

6. On June 18, 2024, the Court issued a briefing order setting
July 29, 2024 as the deadline for Petitioners to file their opening briefs
and excerpts.

7. On June 18, 2024, Petitioners also emailed Respondent FCC
with a proposed negotiated briefing schedule. Jd. at 7. Petitioners sent
subsequent inquiries, but as of the date of this filing Respondent FCC

has not provided a position on that schedule. Jd. at 1-6.
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8. Petitioners therefore emailed Respondent FCC on June 27,
2024, to ask for its position on this Motion for a 30-day extension of the
time to file opening briefs, noting that the deadline for other parties to
file petitions for review of the Order had not yet passed. Jd. at 5. The FCC
committed on June 28 to provide an answer by July 1. Id. at 5-6.

9. On June 28, 2024, theDove Media, Inc. filed a petition for
review of the Order in the U.S. Court of Appeals for the Ninth Circuit.
See Exhibit 3.

10. Petitioners followed up with Respondent FCC on July 1, 2024,
consistent with its commitment to provide an answer regarding the
Motion by that date, but the FCC informed Petitioners that it was still
unable to state a position. Id. at 3-4.

11. Petitioners emailed Respondent FCC again on July 5, 2024,
to inquire about its position on this Motion in light of theDove Media,
Inc.’s petition and Respondents’ previously expressed intent to seek an
extension of time to respond to opening briefs, and were informed on July
8 that Respondent FCC was still unable to state a position. Exhibit 1 at

2-3. Petitioners further emailed Respondent United States of America on
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July 9 to ask for its position on this Motion and were informed on July 10
that Respondents do not consent. Jd. at 1; Exhibit 2.

12. OnJuly 11, 2024, theDove Media, Inc. filed a Notice of Related
Proceedings, notifying the Court of Appeals for the Ninth Circuit of this

consolidated proceeding and requesting that its petition be transferred to

this Court in accordance with 28 U.S.C. § 2112(a)(5). Exhibit 4.
13. Pursuant to 28 USC. § 2112, “[ajll courts in which

proceedings are instituted with respect to the same order, other than the
court in which the record is filed pursuant to this subsection, shall
transfer those proceedings to the court in which the record is so filed.” 28
U.S.C. § 2112(a)(5).

14. Accordingly, Petitioners expect the Ninth Circuit to transfer
theDove Media, Inc.’s petition to this Court and Petitioners respectfully
seek a 30-day extension of time to file opening briefs. Petitioners submit
that the requested extension will serve the interests of judicial economy
and preserve the resources of the Court and the parties by
accommodating the transfer of theDove Media, Inc.’s petition for review
from the Ninth Circuit to this Court. Grant of the extension would permit

the parties to assess the potential for joint briefing or, at a minimum,
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enable a uniform briefing schedule with respect to all petitions for review
of the Order.

15. Additionally, the underlying agency proceeding dates back
several decades, beginning in 1998. Appeal of the Order requires review
of a significant volume of documents in the underlying administrative
record and comprehensive briefing on the merits.

16. This extension is sought in the interest of justice, not for delay, and

no party will be prejudiced if this request for extension is granted.
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CONCLUSION
For the foregoing reasons, Petitioners jointly request that the

deadline to file opening briefs be extended to Wednesday, August 28,

2024.
July 11, 2024

/s/ Jessica T. Nyman

Jessica T. Nyman

Counsel of Record
PILLSBURY WINTHROP SHAW
PITTMAN LLP
401 Congress Avenue, Suite
1700
Austin, TX 78701
(512) 580-9645
jessica.nyman@pillsburylaw.com

Counsel for Petitioner Texas
Association of Broadcasters

Respectfully submitted,

/s/ Jared M. Kelson

R. Trent McCotter
Jared M. Kelson
Counsel of Record
Laura B. Ruppalt
BOYDEN GRAY PLLC
801 17th Street NW, Suite 350
Washington, DC 20006
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Gene P. Hamilton

AMERICA FIRST LEGAL
FOUNDATION

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231

Washington, DC 20003

(202) 964-3721
gene.hamilton@aflegal.org

Counsel for Petitioners National
Religious Broadcasters and
American Family Association
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CERTIFICATE OF SERVICE

I hereby certify that on July 11, 2024, I caused the foregoing motion
to be electronically filed with the United States Court of Appeals for the

Fifth Circuit by using the Court’s CM/ECF system.

Dated: July 11, 2024 Respectfully Submitted,

/s/ Jessica T. Nyman

Jessica T. Nyman

Counsel of Record for Petitioner
Texas Association of Broadcasters

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CERTIFICATE OF ELECTRONIC SUBMISSION

I certify that: (1) any required privacy redactions have been made
in compliance with Fifth Circuit Rule 25.2.13; and (2) the document has
been scanned with the most recent version of a commercial virus

scanning program and is free of viruses.

Dated: July 11, 2024 Respectfully Submitted,

/s/ Jessica T. Nyman

Jessica T. Nyman

Counsel of Record for Petitioner
Texas Association of Broadcasters

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Exhibit 1
Case: 24-60219 Document: 36-1 Page:11 Date Filed: 07/12/2024

From: Nyman, Jessica T.

To: Rachel May; robert.wiggers@usdoj.gov

Cc: "Jared Kelson"; "gene. hamilton@aflegal.org"; "Trent McCotter"

Subject: RE: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious Broadcasters v. FCC
Date: Tuesday, July 9, 2024 4:05:16 PM

Appreciate the update, Rachel. We intend to file the motion tomorrow noting that the FCC has not
stated a position.

| have also added Robert Wiggers to the chain as lead counsel for the DOJ/Respondent the United
States.

Robert — Could you please let us know by tomorrow morning whether the United States will consent
to/ not oppose Petitioners’ motion seeking a 30-day extension of the deadline to file opening briefs
(to August 28)? Please feel free to reach out if you would like to discuss.

Best,
Jessica

From: Rachel May <Rachel.May@fcc.gov>

Sent: Monday, July 8, 2024 10:48 AM

To: Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>; Jared Kelson'
<jkelson@boydengray.com>

Cc: 'gene.hamilton @aflegal.org' <gene.hamilton@aflegal.org>; 'Trent McCotter'
<tmccotter@boydengray.com>

Subject: RE: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Hello again everyone,

We aren’t going to be able to give you a position on an extension motion in at least the
next few days, and | really can’t say when I'd be able to get you a position. | also don’t
have any information to share on the petition in the Ninth Circuit.

Thanks for your patience.
Best,
Rachel

From: Rachel May

Sent: Monday, July 8, 2024 10:56 AM

To: Nyman, Jessica T. <jessica. nyman@pillsburylaw.com>; Jared Kelson <jkelson@boydengray.com>
Ce: gene. hamilton @aflegal.org; Trent McCotter <tmccotter@boydengray.com>

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Subject: RE: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Apologies for not getting back to you Friday; | was out of the office.

lam not aware of any other petitions filed by the deadline. I’ll follow up with the rest of
your questions; hopefully later today.

From: Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>
Sent: Friday, July 5, 2024 11:07 AM
To: Rachel May <Rachel. May@fcc.gov>; Jared Kelson <jkelson@boydengray.com>

Ce: gene. hamilton@aflegalorg; Trent McCotter <tmccotter@boydengray.com>
Subject: RE: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Good morning, Rachel,

| hope you had a good 4" of July. It looks like at least one additional petition for review of

the 395-B Order was filed by the July 2 deadline (by TheDove Media, Inc. in the gth
Circuit). Are you aware of any others, and do you expect to move to consolidate?
Additionally, if Respondents still intend to seek 60 days to respond to opening briefs,
would you be ina position to move for a negotiated schedule today (which would include
a 30-day extension for opening briefs) or early next week?

Best,
Jessica

From: Rachel May <Rachel.May@fcc.gov>

Sent: Monday, July 1, 2024 1:41 PM

To: Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>; Jared Kelson <jkelson@boydengray.com>
Ce: gene. hamilton @aflegal.org; Trent McCotter <tmccotter@boydengray.com>

Subject: RE: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Good afternoon Jessica and all,
I’m very sorry to say that | can’t give you a position. | was told that we could commit to
Monday, but was just informed that we can’t. Please accept my apology for providing

what turned out to be bad information on Friday.

Best,
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Rachel

From: Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>

Sent: Monday, July 1, 2024 10:09 AM

To: Rachel May <Rachel.May@fcc.gov>; Jared Kelson <jkelson@boydengray.com>

Ce: gene. hamilton @aflegal.org; Trent McCotter <tmccotter@boydengray.com>

Subject: RE: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Good morning, Rachel,

| hope you had a good weekend. Are you able to provide an update as to Respondents’ position on
Petitioners’ motion for extension (or a stipulated schedule that would include extensions for opening
briefs and your response)?

Thanks,
Jessica

From: Rachel May <Rachel.May@fcc.gov>

Sent: Friday, June 28, 2024 5:05 PM

To: Jared Kelson <jkelson@boydengray.com>; Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>
Ce: gene. hamilton @aflegal. org; Trent McCotter <tmccotter@boydengray.com>

Subject: RE: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Thanks. You too.

From: Jared Kelson <jkelson@boydengray.com>

Sent: Friday, June 28, 2024 6:04 PM

To: Nyman, Jessica T. <jessica.nyman@pillsourylaw.com>; Rachel May <Rachel.May@fcc.gov>
Ce: gene. hamilton @aflegal.org; Trent McCotter <tmccotter@boydengray.com>

Subject: Re: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Thanks, Rachel. We hope you have a nice weekend as well.

Jared M. Kelson

Counsel | Boyden Gray PLLC
801 17th Street NW, Suite 350
Washington, DC 20006

(202) 955-0620

jkelson@boydengray.com

From: Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>

Case: 24-60219 Document: 36-1 Page:14 Date Filed: 07/12/2024

Date: Friday, June 28, 2024 at 5:57 PM

To: Rachel May <Rachel. May@fcc.gov>, Jared Kelson <jkelson@boydengray.com>
Ce: gene. hamilton@aflegal.org <gene.hamilton@aflegal.org>, Trent McCotter

<tmccotter@boydengray.com>
Subject: RE: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National

Religious Broadcasters v. FCC

Thanks for the update, Rachel. Hope you have a pleasant weekend!

Jessica

From: Rachel May <Rachel.May@fcc.gov>

Sent: Friday, June 28, 2024 4:53 PM

To: Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>; Jared Kelson <jkelson@boydengray.com>
Ce: gene. hamilton @aflegal.org; Trent McCotter <tmccotter@boydengray.com>

Subject: RE: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Thanks Jessica,

We’re not going to be able to get you an answer today. We’Ill do our best to get you an
answer as early in the day as possible.

Best,

Rachel

From: Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>

Sent: Friday, June 28, 2024 4:18 PM

To: Rachel May <Rachel.May@fcc.gov>; Jared Kelson <jkelson@boydengray.com>

Ce: gene. hamilton @aflegal.org; Trent McCotter <tmccotter@boydengray.com>

Subject: RE: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Thanks for your email, Rachel. The strong preference would be to get an answer today so that we
can get on file before next week. If that’s not possible, we can wait until Monday (and would greatly
appreciate an answer as early in the day as possible).

Best,
Jessica

From: Rachel May <Rachel.May@fcc.gov>
Sent: Friday, June 28, 2024 2:31 PM

Case: 24-60219 Document: 36-1 Page:15 Date Filed: 07/12/2024

To: Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>; Jared Kelson <jkelson@boydengray.com>
Ce: gene. hamilton @aflegal.org; Trent McCotter <tmccotter@boydengray.com>

Subject: RE: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Hi all,

We can commit to getting you an answer on Monday. Let me know if that will work. If
not, we’ll keep pushing for today.

Thanks,

Rachel

From: Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>

Sent: Thursday, June 27, 2024 6:36 PM

To: Rachel May <Rachel.May@fcc.gov>; Jared Kelson <jkelson@boydengray.com>

Cc: gene. hamilton @aflegal.org; Trent McCotter <tmccotter@boydengray.com>

Subject: RE: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Rachel,

| appreciate your call today. Petitioners would like to move forward with seeking a 30-day extension
of the time to file opening briefs (to August 28). Given the upcoming holiday and other timing
considerations, we would like to file by COB tomorrow.

| understand based on our conversation that Respondents might not be in a position at this time to
join the motion; but please let me know if that has changed. If that is still the case, please let us
know whether Respondents will consent to/ not oppose Petitioners’ motion.

Best,
Jessica

From: Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>

Sent: Thursday, June 27, 2024 1:53 PM

To: Rachel May <Rachel.May@fcc.gov>; Jared Kelson <jkelson@boydengray.com>

Ce: gene. hamilton @aflegal.org; Trent McCotter <tmccotter@boydengray.com>

Subject: RE: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Hi Rachel,

lam available — 512-784-2888. Or | can circulate a dial in for 3:15 ET if others would like to join the
call.
Case: 24-60219 Document: 36-1 Page:16 Date Filed: 07/12/2024

Best,
Jessica

From: Rachel May <Rachel. May@fcc.gov>

Sent: Thursday, June 27, 2024 1:45 PM

To: Jared Kelson <jkelson@boydengray.com>; Nyman, Jessica T. <jessica. nyman@pillsburylaw.com>
Ce: gene. hamilton @aflegal.org; Trent McCotter <tmccotter@boydengray.com>

Subject: RE: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Hi everyone,

Could | hop on the phone with one of you this afternoon for a quick chat about this? I’m
available until 4:45 ET. I’m also free most of the day tomorrow. Very sorry | haven’t been
able to give you an answer yet.

Thanks,

Rachel

From: Jared Kelson <jkelson@boydengray.com>

Sent: Tuesday, June 25, 2024 10:39 AM

To: Rachel May <Rachel.May@fcc.gov>; Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>
Cc: gene. hamilton @aflegal.org; Trent McCotter <tmccotter@boydengray.com>

Subject: Re: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Hi, Rachel:
Are there any updates about proposing a briefing schedule in this case?

I hope your week is going well.

‘Thanks,
Jared

Jared M. Kelson

Counsel | Boyden Gray PLLC
801 17th Street NW, Suite 350
Washington, DC 20006

(202) 955-0620

jkelson@boydengray.com

From: Rachel May <Rachel.May@fcc.gov>
Date: Thursday, June 20, 2024 at 4:54 PM
Case: 24-60219 Document: 36-1 Page:17 Date Filed: 07/12/2024

To: Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>

Cc: Jared Kelson <jkelson@boydengray.com>, gene.hamilton@aflegal.org
<gene.hamilton@aflegal.org>, Trent McCotter <tmccotter@boydengray.com>
Subject: RE: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National
Religious Broadcasters v. FCC

Thanks Jessica. I’ll get back to you as soon as | can on the proposed schedule.

As for the record, we went back to the 2004 NPRM because this order addresses issues arising
from that NPRM and the 2021 FNPRM seeking to refresh the record. So the record for this
proceeding only goes back to the 2004 NPRM. It’s fairly typical for the Commission to have
dockets that date back decades, and that include multiple NPRMs and multiple R&Os. But the
record for a given order consists of only the filings that respond to the NPRM that results in that
order.

From: Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>

Sent: Tuesday, June 18, 2024 11:05 PM

To: Rachel May <Rachel.May@fcc.gov>

Cc: Jared Kelson <jkelson@boydengray.com>; gene. hamilton @aflegal.org; Trent McCotter
<tmccotter@boydengray.com>

Subject: RE: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Counsel,

As you have likely seen, the Court issued a notice setting July 29 as the deadline for opening briefs.
This seems a bit premature, given that others may still file petitions for review. If the parties remain
interested in moving for a negotiated schedule, we propose the following:

Opening briefs due Wednesday, August 28 (a 30-day extension from the date set in
the notice)

FCC’s response due Monday, October 28 (60 days after opening briefs)

Replies due Wednesday, November 27 (30 days after FCC’s response)

Separately: Rachel — it looks like the agency record submitted yesterday only goes back to April 19,
2004. Is there a reason why the full docket is not being submitted (i.e., beginning with the 1998
NPRM)?

Best,
Jessica

From: Rachel May <Rachel.May@fcc.gov>
Sent: Friday, June 14, 2024 8:33 AM
To: Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>

Case: 24-60219 Document: 36-1 Page:18 Date Filed: 07/12/2024

Cc: Jared Kelson <jkelson@boydengray.com>; gene. hamilton @aflegal.org; Trent McCotter
<tmccotter@boydengray.com>

Subject: Re: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Good morning,
We will submit the record Monday.
Best, Rachel

From: Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>

Sent: Friday, June 14, 2024 9:26 AM

To: Rachel May <Rachel.May@fcc.gov>

Cc: Jared Kelson <jkelson@boydengray.com>; gene. hamilton @aflegal. org

<gene hamilton@aflegal.org>; Trent McCotter <tmccotter@boydengray.com>

Subject: RE: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Rachel,

Apologies for the delayed response. One gating issue is the agency record. Do you have an
estimate on when that will be submitted?

Thanks,
Jessica

From: Rachel May <Rachel.May@fcc.gov>

Sent: Tuesday, June 11, 2024 12:48 PM

To: Nyman, Jessica T. <jessica.nyman@pillsourylaw.com>

Cc: Jared Kelson <jkelson@boydengray.com>; gene. hamilton @aflegal.org; Trent McCotter
<tmccotter@boydengray.com>

Subject: RE: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Great. What were you thinking on your end? We plan to ask for 60 days from the filing of your
brief.

From: Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>

Sent: Thursday, June 6, 2024 6:02 PM

To: Rachel May <Rachel.May@fcc.gov>

Cc: Jared Kelson <jkelson@boydengray.com>; gene.hamilton@aflegal.org; Trent McCotter

<tmccotter@boydengray.com>
Subject: Re: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

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Rachel,

Thanks for your email. Petitioner Texas Association of Broadcasters is open toa
negotiated schedule.

At this stage we have not made any decisions regarding joint briefing.

Best,
Jessica

Sent from my iPhone

On Jun 5, 2024, at 12:46 PM, Rachel May <Rachel.May@fcc.gov> wrote:

Good afternoon counsel,

| am reaching out to see if petitioners are interested in jointly moving for the court
to set a negotiated briefing schedule. If petitioners aren’t interested in a joint
motion, could you let me know if you would oppose a motion seeking a deadline
for respondents’ brief of 60 days from the filing of petitioners’ brief(s)?

Also, could you let me know if you plan to file a joint brief, and if you plan to seek
additional words?

Thanks very much.

Best,
Rachel

From: Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>

Sent: Tuesday, May 21, 2024 12:09 PM

To: Jared Kelson <jkelson@boydengray.com>; Rachel May <Rachel. May@fcc.gov>
Cc: 'gene.hamilton@aflegal.org' <gene hamilton@aflegal. org>; Trent McCotter
<tmccotter@boydengray.com>

Subject: [EXTERNAL]: RE: Texas Association of Broadcasters v. FCC and National
Religious Broadcasters v. FCC

CAUTION: This email originated from outside of the Federal Communications Commission. Do not
click on links or open attachments unless you recognize the sender and trust the content to be safe.
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If you suspect this is a phishing attempt, please use the 'Report Message' feature in Microsoft
Outlook or forward the email to the NSOC.

Hi all,

Petitioner Texas Association of Broadcasters does not oppose consolidated
proceedings, and joins Petitioners National Religious Broadcasters and American
Family Association’s request for stay.

Best,
Jessica

Jessica T. Nyman | Partner

Pillsoury Winthrop Shaw Pittman LLP

401 Congress Avenue, Suite 1700 | Austin, TX 78701-3797
t +1.512.580.9645

jessica.nyman@pillsburylaw.com | website bio

From: Jared Kelson <jkelson@boydengray.com>

Sent: Tuesday, May 21, 2024 11:00 AM

To: Rachel May <Rachel.May@fcc.gov>

Cc: Nyman, Jessica T. <jessica.nyman@pillsburylaw.com>; 'gene.hamilton @aflegal.org'
<gene hamilton@aflegal.org>; Trent McCotter <tmccotter@boydengray.com>
Subject: Re: Texas Association of Broadcasters v. FCC and National Religious
Broadcasters v. FCC

Hi, Rachel:
Adding Trent McCotter.

Thanks for the email. Petitioners National Religious Broadcasters and American
Family Association do not oppose consolidated proceedings.

In addition, because the challenged collection of Form 395-B data will occur on
September 30 before normal briefing will likely render a decision 1n this case, will the
FCC stay the Fourth Report and Order and Order on Reconsideration pending these
proceedings, similar to the SEC in the climate disclosure litigation?

Thanks again,
Jared

Jared M. Kelson

Counsel | Boyden Gray PLLC
801 17th Street NW, Suite 350
Washington, DC 20006

(202) 955-0620
Case: 24-60219 Document: 36-1 Page:21 Date Filed: 07/12/2024
ikelson@boydengray.com

From: Rachel May <Rachel.May@fcc.gov>

Date: Monday, May 20, 2024 at 7:00 PM

To: '‘Jessica.Nyman@PillsburyLaw.com'
<Jessica.Nyman@PillsburyLaw.com>, Jared Kelson
<jkelson@boydengray.com>, 'gene.hamilton@aflegal.org'

<gene.hamilton@aflegal.org>

Subject: RE: Texas Association of Broadcasters v. FCC and National
Religious Broadcasters v. FCC

Just re-sending with the correct petitioner name in NRBv. FCC. Apologies for the
error.

Best regards,

Rachel

From: Rachel May
Sent: Monday, May 20, 2024 4:43 PM
To: Jessica Nyman@PillsburyLaw.com; ikelson@boydengray.com;

gene hamilton @aflegal org

Cc: Sarah Citrin <Sarah.Citrin@fcc.gov>

Subject: Texas Association of Broadcasters v. FCC and National Association of Religious
Broadcasters v. FCC

Good afternoon counsel,

| am representing the FCC in Texas Association of Broadcasters v. FCC (5th Cir.
No. 24-60226) and National Religious Broadcasters v. FCC (5th Cir. No. 24-
60219). Because both petitions seek review of the same FCC order, we plan to
move to consolidate the petitions. Please let me know your position on this
motion. Thanks very much.

Best regards,
Rachel

Rachel Proctor May
Counsel
Federal Communications Commission
Case: 24-60219 Document: 36-1 Page:22 Date Filed: 07/12/2024

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Exhibit 2
Case: 24-60219 Document: 36-1 Page:24 Date Filed: 07/12/2024

From: Jacob Lewis

To: Nyman, Jessica T.

Cc: Rachel May; jkelson@boydengray.com; Trent McCotter; gene.hamilton@aflegal.org; robert.nicholson@usdoj.qov;
Wiggers, Robert

Subject: Texas Association of Broadcasters v. FCC and National Religious Broadcasters v. FCC

Date: Wednesday, July 10, 2024 1:59:59 PM

Jessica — Thank you for your patience. We now have an answer to your request for a thirty-day
extension of time in which to file your opening brief in this case. Because we believe the case
should be briefed and argued without delay, the FCC and the United States are unable to
consent to your request. Thanks. Jake Lewis

Jacob M. Lewis

Deputy General Counsel

Federal Communications Commission
45 L Street, NE

Washington, DC 20554

(202) 418-1767

(301) 580-4572 (cell)
Case: 24-60219 Document: 36-1 Page:25 Date Filed: 07/12/2024

Exhibit 3
Case: 24-60219 Document: 36-1 Page: 26 Date Filed: 07/12/2024

IN THE UNITED STATES COURT OF APPEALS
FOR THE NINTH CIRCUIT

THEDOVE MEDIA, INC., )
)
Petitioner, ) Case No. 24-
v. )
)
FEDERAL COMMUNICATIONS ) FCC Order 24-18
COMMISSION and UNITED STATES ) MB Docket No. 98-204
OF AMERICA, )
)
Respondents. )
PETITION FOR REVIEW
Pursuant to 5 U.S.C. § 706, 47 U.S.C. § 402, 2 2341 et

seq., and Federal Rule of Appellate Procedure 15(a), Petitioner, theDove

Media, Inc., hereby petitions this Court for review of a final order of the
Federal Communications Commission (FCC)—Review of the
Commission’s Broadcast and Cable Equal Employment Opportunity
Rules and Policies, Fourth Report and Order, Order on Reconsideration,
and Second Further Notice of Proposed Rulemaking, MB Docket No. 98-
204, FCC 24-18 (rel. Feb. 22, 2024) (Order) (copy attached as Exhibit 1).

The Fourth Report and Order and Order on Reconsideration were
entered in the Federal Register on May 3, 2024. See Review of the

Commission’s Broadcast and Cable Equal Employment Opportunity
Case: 24-60219 Document: 36-1 Page:27 Date Filed: 07/12/2024

Rules and Policies, 89 Fed. Reg. 36705 (May 3, 2024) (copy attached as

Exhibit 2). “Any proceeding to enjoin, set aside, annul, or suspend any
order of the Commission . . . shall be brought as provided by and in the
manner prescribed in chapter 158 of title 28” of the U.S. Code. 47 U.S.C.
§ 402(a). And, according to Chapter 158 of title 28, “[a]ny party aggrieved
by the final order may, within 60 days after its entry, file a petition to
review the order in the court of appeals wherein venue lies.” 28 U.S.C.
§ 2344. Therefore, this Petition is timely.

Petitioner, a nonprofit corporation in Oregon, is the licensee of radio
stations and low-power TV stations, including KDOV (FM), KDCB (FM),
KDPO (FM), KDOB (FM), KDJA (FM), KDSO-LD, and KDRC-LD.
Jurisdiction is proper because Petitioner is aggrieved by the Order.

28 U.S.C. § 2342; 47 U.S.C, § 402. Venue is proper because Petitioner’s

principal place of business (Medford, Oregon) is in this Circuit. 28 U.S.C,
§ 2343.

Petitioner respectfully asks the Court to (1) grant the Petition and
hold that the Order is unlawful; (2) vacate, enjoin, and set aside the

Order; and (8) grant such other relief as may be just and proper.
Case: 24-60219 Document: 36-1 Page: 28 Date Filed: 07/12/2024

DATED: June 28, 2024.

Respectfully submitted,

/s/ Oliver J. Dunford

WILSON C. FREEMAN OLIVER J. DUNFORD

Pacific Legal Foundation Pacific Legal Foundation

3241 E. Shea Blvd., #108 4440 PGA Blvd., Suite 307
Phoenix, AZ 85028 Palm Beach Gardens, FL 33410
916.419.7111 916.503.9060
wfreeman@pacificlegal.org odunford@pacificlegal.org
Case: 24-60219 Document: 36-1 Page:29 Date Filed: 07/12/2024

CORPORATE DISCLOSURE STATEMENT
Pursuant to Federal Rule of Appellate Procedure 26.1, Petitioner
theDove Media, Inc. states that it is a nonprofit corporation with no

parent corporation, and that no publicly held corporation holds 10% or

more of theDove Media, Inc. stock.

DATED: June 28, 2024.

/s/ Oliver J. Dunford
OLIVER J. DUNFORD
Attorney for Petitioner
theDove Media, Inc.

Case: 24-60219 Document: 36-1 Page:30 Date Filed: 07/12/2024

CERTIFICATE OF SERVICE
I certify that on June 28, 2024, the foregoing Petition for Review
was electronically filed with the U.S. Court of Appeals for the Ninth
Circuit using the CM/ECF system. I further certify, pursuant to 47 C.F.R.
§ 1.18(a)(), that I will timely email a copy of the date-stamped Petition
to LitigationNotice@fcc.gov. And I certify that I will cause a copy of the
date-stamped Petition to be sent via certified mail to:

Hon. Merrick B. Garland
U.S. Attorney General

U.S. Department of Justice
950 Pennsylvania Ave., NW
Washington, DC 20530

Marlene H. Dortch, Secretary
Federal Communications Commission
Office of the Secretary

45 L Street NE

Washington, DC 20554

/s/ Oliver J. Dunford
OLIVER J. DUNFORD

Attorney for Petitioner
theDove Media, Inc.

Case: 24-60219 Document: 36-1 Page:31 Date Filed: 07/12/2024

FOURTH REPORT AND ORDER, ORDER ON RECONSIDERATION,

AND SECOND FURTHER NOTICE OF PROPOSED RULEMAKING

EXHIBIT 1
Case: 24-60219 Document: 36-1 Page:32 Date Filed: 07/12/2024

Federal Communications Commission FCC 24-18

Before the
Federal Communications Commission
Washington, D.C. 20554

In the Matter of

)
)
Review of the Commission’s Broadcast and Cable _) MB Docket No. 98-204
Equal Employment Opportunity Rules and Policies _)

)

FOURTH REPORT AND ORDER, ORDER ON RECONSIDERATION, AND SECOND
FURTHER NOTICE OF PROPOSED RULEMAKING

Adopted: February 7, 2024 Released: February 22, 2024

Comment Date: (30 days after date of publication in the Federal Register)
Reply Comment Date: (45 days after date of publication in the Federal Register)

By the Commission: Commissioners Starks issuing separate statement. Commissioners Carr and
Simington dissenting and issuing separate statements.

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APPENDIX A - Final Rules

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APPENDIX D - Initial Regulatory Flexibility Act Analysis

I. INTRODUCTION

1. By this Fourth Report and Order, Order on Reconsideration, and Second Further Notice
of Proposed Rulemaking, we reinstate the collection of workforce composition data for television and
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radio broadcasters on FCC Form 395-B! as statutorily required by the Communications Act of 1934, as
amended (Act).2 The Commission suspended its requirement that broadcast licensees file Form 395-B,
which collects race, ethnicity, and gender information about a broadcaster’s employees within specified
job categories, more than two decades ago.’ After a long period of inactivity, the Commission issued a
Further Notice of Proposed Rulemaking (Further Notice) in July 2021 seeking to refresh the public record
regarding the manner in which the Form 395-B data should be collected and maintained.* After careful
consideration of the record, we reaffirm the Commission’s authority to collect this critical information
and conclude that broadcasters should resume filing Form 395-B on an annual basis.> Given the
importance of this workforce information and Congress’s expectation that such information would be
collected and available, we reinstate this collection in a manner available to the public consistent with the
Commission’s previous, long-standing method of collecting this data.

2. Our ability to collect and access Form 395-B data is critical because it will allow for
analysis and understanding of the broadcast industry workforce, as well as the preparation of reports to
Congress about the same.® Collection, analysis, and availability of this information will support greater
understanding of this important industry. We agree with broadcasters and other stakeholders that
workforce diversity is critical to the ability of broadcast stations both to compete with one another and to
effectively serve local communities across the country.’ Without objective and industry-wide data it is
impossible to assess changes, trends, or progress in the industry. Consistent with how these data have
been collected historically, we will make broadcasters’ Form 395-B filings available to the public because
we conclude that doing so will ensure maximum accuracy of the submitted data, is consistent with
Congress’s goal to maximize the utility of the data an agency collects for the benefit of the public, allows
us to produce the most useful reports possible for the benefit of Congress and the public, and allows for
third-party testing of the accuracy of our data analyses. Thus, with today’s action, we restore the process

! Form 395-B, the broadcast station Annual Employment Report, can be found at https://omb.report/icr/202004-
3060-047/doc/100723701.

7ATUS.C. § 334 (a).

3 See Suspension of the Broadcast and Cable Equal Employment Opportunity Outreach Program Requirements,
Memorandum Opinion and Order, 16 FCC Red 2872 (2001) (Suspension Order) (suspending the Equal Employment
Opportunity (EEO) outreach program requirements applicable to broadcast licensees, including the requirement that
broadcasters annually file a Form 395-B).

4 Review of the Commission’s Broadcast and Cable Equal Employment Opportunity Rules and Policies, MB Docket
No. 98-204, Further Notice of Proposed Rulemaking, 36 FCC Red 12055, 12055, para. 1 (2021) (Further Notice).
The Further Notice sought to refresh a 2004 NPRM. See Review of the Commission’s Broadcast and Cable Equal
Employment Opportunity Rules and Procedures, Third Report and Order and Fourth Notice of Proposed
Rulemaking, 19 FCC Red 9973, 9975, 9978, paras. 4, 13 (2004) (Third Report and Order and Fourth NPRM), pet.
for recon. pending.

5 Section 73.3612 of the Commission’s rules provides that “[e]ach licensee or permittee of a commercially or
noncommercially operated AM, FM, TV, Class A TV or International Broadcast station with five or more full-time
employees shall file an annual employment report with the FCC on or before September 30 of each year on FCC
Form 395-B.” 47 CFR § 73,3612. We note that the filing requirements of section 73.3612 do not apply to Low
Power FM Stations.

6 See, e.g., Implementation of the Commission’s Equal Employment Opportunity Rules, Report, 9 FCC Red 6276
(1994) (reporting on trends in the employment of minorities and women in the broadcast and cable sectors in
accordance with section 22(g) of the Cable Television Consumer Protection and Competition Act of 1992, Pub. L.
102-385 § 22, 106 Stat. 1460 (1992) (1992 Cable Act)); see also Letter from The Leadership Conference on Civil
and Human Rights (the Leadership Conference) et al. to Jessica Rosenworcel, Chair, FCC (Sept. 29, 2022) at 1.

7 See, e.g., National Association of Broadcasters (NAB) Comments at 6 (noting that a diverse, equitable, and
inclusionary workforce enables stations to leverage the various experiences and strengths of their staff to produce
content that reflects the needs and interests of their local communities); see also The Leadership Conference
Comments at 2.
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of giving broadcasters, Congress, and ourselves the data needed to better understand the workforce
composition in the broadcast sector.’ We find further that continuing to collect this information in a
transparent manner is consistent with a broader shift towards greater openness regarding diversity, equity,
and inclusion across both corporate America? and government.!°

3. We also address a pending petition for reconsideration from 2004 regarding our use of
Form 395-B data.!! Finally, we seek to refresh the record on the reinstatement of the collection of FCC
Form 395-A, which concerns the workforce composition of multichannel video programming distributors
(MVPDs).!”

Il. BACKGROUND

4. For more than 50 years, the Commission has administered regulations governing the EEO
responsibilities of broadcast licensees.!> At their core, the Commission’s EEO rules prohibit employment
discrimination on the basis of race, color, religion, national origin, or sex, and require broadcasters to
provide equal employment opportunities.!* In addition to broadly prohibiting employment discrimination,
the Commission’s rules also require that all but the smallest of broadcast licensees develop and maintain
an EEO program. Specifically, the Commission requires each broadcast station that is part of an
employment unit of five or more full-time employees to establish, maintain, and carry out a positive
continuing program to ensure equal opportunity and nondiscrimination in employment policies and
practices.'> In addition, the Commission historically collected workforce employment data from

8 See, e.g., 1996 Broadcast and Cable Employment Report, Public Notice, 1997 WL 411346, at 1 (July 24, 1997)
and 1997 Broadcast and Cable Employment Report, Public Notice, 1998 WL 327045, at 1 (June 23, 1998). Both
reports show the breakdown of employees at broadcast stations in terms of race, ethnicity, and gender.

° Large media companies have begun to make publicly available copies of their EEO-1 forms, which are filed with
the Equal Employment and Opportunity Commission, or variations thereof. See, e.g., Disney EEO-1 Form,
https://impact.disney.com/app/uploads/Current/FY 22-Workforce-Diversity-Dashboard.pdf ; Comcast EEO-1 Form,
https://cmcsa.gcs-web.com/static-files/1d6d3 ef6-d2d4-4c 13-b452-7917b90e0032, Fox Corporation EEO-1 Form,
https://media.foxcorporation.com/wp-content/uploads/prod/2023/1 1/29230427/2022-EEO-1-Consolidated-
Report.pdf; Paramount Workforce Demographics, https://www.paramount.com/inclusion-2021/our-culture.
Similarly, tech companies are making information about the composition of their workforces publicly available.
See, e.g., Inclusion & Diversity, Apple, https:/Awww.apple.com/diversity/ (last visited Dec. 15, 2023); Our
Workplace, Google, https://diversity.google/commitments/ (last visited Dec. 15, 2023); Meta Diversity Report,
https://about.fo.com/news/2022/07/metas-diversity-report-2022/(last visited Dec. 15, 2023); Corporate Social
Responsibility, Intel, https://www.intel.com/content/www/us/en/diversity/diversity-at-intel.html (last visited Dec.
15, 2023). See also Kavya Vaghul, Just Over Half of the Largest U.S. Companies Share Workforce Diversity Data
as Calls for Transparency from Investors and Regulators Grow, JUST Capital (Feb. 6, 2022),
https://justcapital.com/reports/share-of-largest-us-companies-disclosing-race-and-ethnicity-data-rises/.

10 There is movement towards more open access to data collected by federal agencies, as shown in the Foundations
for Evidence Based Policymaking Act, which directs agencies to account for their data collections and to make such
data available in readable formats to support government transparency and evidence-based rulemaking. Foundations
for Evidence Based Policymaking Act of 2018, Pub. L. 115-435 § 202(c), 132 Stat, 5529 (2019), codified as 44
U.S.C § 3506(b)(6).

11 See Order on Reconsideration, infra at Section IV; see also Joint Petition of the State Broadcasters Associations
for Reconsideration and/or Clarification of Third Report and Order and Fourth NPRM, MM Docket No. 98-204, at
2-3 (filed July 23, 2004), https://www.fcc.gov/ecfs/document/5511438304/1 (State Associations 2004 Petition).

2 See Second Further Notice of Proposed Rulemaking, infra Section V.

13 See Further Notice, 36 FCC Rcd at 12056, para. 2 (citing Petition for Rulemaking to Require Broadcast Licensees
to Show Nondiscrimination in Employment Practices, Docket No. 18244, Rm 1144, Report and Order, 18 FCC 2d
240 (1969)).

4 AT CER § 73,2080(a).

15 AT CER § 73,2080. Among other things, the Commission’s EEO recruitment rules require an employment unit to
(continued....)

3
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broadcasters through the annual submission of Form 395-B.

5. Between 1970 and 1992, the Commission, pursuant to its public interest authority,
required broadcasters to submit annual employment reports listing the composition of the broadcasters’
workforce in terms of race, ethnicity, and gender.!® In 1992, after finding that, among other things,
“imereased numbers of females and minorities in positions of management authority in the cable and
broadcast television industries advances the Nation’s policy favoring diversity in the expression of views
in the electronic media,”!’ Congress amended the Act, affirming the Commission’s authority in this area.
Specifically, Congress added a new section 334, which required the Commission to maintain its existing
EEO regulations and forms as applied to television stations.!* These forms included the Commission’s
collection of workforce diversity information from broadcasters on Form 395-B.!° Submission of Form

use recruitment sources for each full-time vacancy that, in its reasonable and good faith judgment, are sufficient to
disseminate information widely about the job opening. 47 CFR § 73.2080(c)(1)~j). Broadcasters must use a three-
pronged approach to ensure broad outreach regarding employment opportunities: (1) widely disseminate
information concerning each full time (30 hours or more) job vacancy, except for a vacancy filled in exigent
circumstances; (2) provide vacancy notices to recruiting organizations that request them; and (3) depending upon the
size of the unit and market in which it operates, complete two or four of the longer-term recruitment initiatives
enumerated in the rule within a two-year period. 47 CFR § 73.2080(c). In 2017, in response to a broadcaster
petition that received wide support from the industry, the Commission updated its EEO policy to allow online job
postings to be used as a sole means of advertising a vacancy to satisfy the “wide dissemination” prong of the
recruitment rules. See Petition for Rulemaking Seeking to Allow the Sole Use of Internet Sources for FCC EEO
Recruitment Requirement, MB Docket No. 16-410, Declaratory Ruling, 32 FCC Red 3685 (2017).

16 Tn 1969, when the Commission adopted rules prohibiting broadcast stations from discriminating against any
person in employment on the basis of race, color, religion, or national origin, and requiring stations to maintain a
program designed to ensure equal opportunity in every aspect of station employment, the Commission relied on
sections 4(i), 303, 307, 308, 309, and 310 of the Act. See Review of the Commission’s Broadcast and Cable Equal
Employment Opportunity Rules and Policies, MM Docket No. 98-204, Second Report and Order and Third Notice
of Proposed Rulemaking, 17 FCC Red 24018, 24028, para. 28 (2002) (Second Report and Order and Third NPRM);
see also id., JT FCC Red at 24030, para. 31.

171992 Cable Act, codified as 47 ULS.C, § 334(a).

18 ATUS.C. § 334. Section 334(a) of the Act states that “except as specifically provided in this section, the
Commission shall not revise (1) the regulations concerning equal employment opportunity as in effect on September
1, 1992 (47 C.F.R_73.2080) as such regulations apply to television broadcast station licensees and permittees; or

(2) the forms used by such licensees and permittees to report pertinent employment data to the Commission.” 47
U.S.C. § 334(a). Section 334(c) authorizes the Commission to make only “nonsubstantive technical or clerical
revisions” to the regulations described in Section 334(a) “as necessary to reflect changes in technology, terminology,
or Commission organizations.” 47 U.S.C, § 334(c). Congress’s action did not supplant the Commission’s existing
public interest authority, but rather ratified its authority to act in this area. As the Commission stated in the Second
Report and Order and Third NPRM, when discussing the companion requirement for MVPDs in Section 634, 47
USC, § 554, the “legislative history of Section 634 makes it unmistakably clear that Congress believed that the
Commission already possessed authority to regulate EEO practices of mass media entities — broadcast as well as
cable.” Second Report and Order and Third NPRM, 17 FCC Red at 24030-31, para. 33; see also Second Report and
Order and Third NPRM, 17 FCC Red at 24030-31, paras. 31-35 (describing a similar, earlier congressional action
ratifying EEO rules promulgated by the Commission prior to 1984). The Second Report and Order and Third
NPRM also found additional evidence of congressional ratification of the Commission’s authority to promulgate
EEO rules in the 1992 Cable Act. See Second Report and Order and Third NPRM, 17 FCC Red at 24031-33, paras.
36-39.

19 See 1992 Cable Act. While section 334 of the Act did not codify the Commission’s previously existing EEO
requirements for radio broadcast licensees, the Commission has found that Congress ratified the Commission’s
authority to promulgate EEO rules for radio as well as television licensees. Review of the Commission’s Broadcast
and Cable Equal Employment Opportunity Rules and Policies; Termination of EEO Streamlining Proceeding, MM
Docket Nos. 98-204, 96-16, Notice of Proposed Rulemaking, 13 FCC Red 23004, 23014-15, para. 28 (1998) (1998
NPRM); Review of the Commission’s Broadcast and Cable Equal Employment Opportunity Rules and Policies, MM
(continued. ...)

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395-B, however, was subsequently suspended in 2001 following two decisions by the U.S. Court of
Appeals for the District of Columbia Circuit (D.C. Circuit) vacating certain aspects of the Commission’s
EEO rules.”

6. With its decision in 1998, the D.C. Circuit in Lutheran Church-Missouri Synod v. FCC
(Lutheran Church) reversed and remanded a Commission action finding that a broadcast licensee had
failed to make adequate efforts to recruit minorities.*! The court found the Commission’s EEO outreach
tules, which required comparison of the race and sex of a station’s full-time employees with the overall
availability of minorities and women in the relevant labor force, to be unconstitutional.” Specifically, the
court concluded that the use of broadcaster employee data to assess EEO compliance in the context of a
license renewal pressured broadcasters to engage in race-conscious hiring in violation of the equal
protection component of the Due Process Clause of the Fifth Amendment of the Constitution.**> The court
applied strict constitutional scrutiny in reaching its decision, finding that standard of review was
applicable to racial classifications imposed by the federal government. And pursuant to that standard, it
determined that the Commission’s stated purpose of furthering programming diversity was not
compelling, nor were its EEO rules narrowly tailored to further that interest. The court made clear,
however, that “[i|f the regulations merely required stations to implement racially neutral recruiting and
hiring programs, the equal protection guarantee would not be implicated.”*> In reaching its decision, the
court referenced the Form 395-B only tangentially in its analysis.*°

7. On remand, the Commission crafted new EEO rules requiring that broadcast licensees
undertake an outreach program to foster equal employment opportunities in the broadcasting industry.?’
The Commission also reinstated the requirement that broadcasters annually file employment data on Form
395-B with the Commission,”*® which it had suspended after Lutheran Church.”? In adopting these revised
tules and reinstating the information collection, the Commission vowed to no longer use workforce
composition data when reviewing license renewal applications or assessing compliance with EEO
program requirements.*° Rather, the Commission stated that going forward it would only use this

Docket Nos. 98-204, 96-16, Report and Order, 15 FCC Red 2329, 2344-45, paras. 38-39 (2000) (First Report and
Order), recon denied, 15 FCC Red 22548 (2000), reversed and remanded in part on other grounds sub nom.
MD/DC’DE Broadcasters Ass’n v. FCC, 236 F.3d 13 (2001) (MD/DC/DE Broadcasters), pet. for reh’g denied, 253,

F.3d 732 (D.C. Cir. 2001), cert. denied, 534 U.S, 1113 (2002).

20 See Suspension Order, JE FCC Red at 2872.

21 Lutheran Church-Missouri Synod v. FCC, 141. F.3d344, 347-48 (D.C. Cit_1998) (Lutheran Church), pet. for
reh'g denied, 154 F.3d 487, pet. for reh'g en banc denied, 154 F.3d 494 (D.C. Cit_1998).

22 Td. at 352-53.
23 Td. at 349-56.

24 Td. at 350-351 (citing Adarand Constructors Inc. v. Pena, 515 U.S. 200 (1995)). The Court stated that it also
could not uphold the Commission’s action under rational basis scrutiny, which requires only that a regulation have a
substantial relation to the government interest it furthers. Jd. at 356.

25 Td. at 351. In response to the Commission’s rehearing petition, the D.C. Circuit reiterated that it had not held that
a regulation “encouraging broad outreach to, as opposed to the actual hiring of, a particular race would necessarily
trigger strict scrutiny.” Jd. at 492.

26 Td. at 352-53.
27 See First Report and Order, JS FCC Red at 2363-93, paras. 76-161.
28 Td. at 2394-97, paras. 163-171.

29 Suspension of Requirement for Filing of Broadcast Station Annual Employment Reports and Program Reports, 13,
FCC Red 21998 (1998).

30 First Report and Order, 15 FCC Red at 2332, 2395, paras. 6, 165.
5
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information “to monitor industry employment trends and report to Congress,”*! and codified that position
in the governing regulations contained in section 73.3612.°?

8. Following adoption of the new EEO outreach rules, which offered licensees two
“Options” for establishing an EEO program, several state broadcaster associations challenged the revised
EEO rules. Upon review, the D.C. Circuit in MD/DC’DE Broadcasters Associations v. FCC (MD/DC/DE
Broadcasters) found that one element of the new rule, namely Option B, which allowed broadcasters to
design their own outreach programs but required reporting of the race and sex of each applicant, was
constitutionally invalid.** The court determined that Option B violated the equal protection component of
the Due Process Clause of the Fifth Amendment because, by examining the number of applicants and
investigating any broadcasters with “few or no” minority applicants, the Commission “pressured”
broadcasters to focus resources on recruiting minorities.*+ Because the court found that Option B was not
severable from Option A of the rule, it vacated the entire EEO outreach rule.**

9. Although the D.C. Circuit in MD/DC/DE Broadcasters vacated and remanded the
Commission’s revised EEO outreach rules, it did not rule on the validity or constitutionality of Form 395-
B. Nor did the court specifically identify Form 395-B or the collection of workforce diversity data as a
core part of the rule at issue in its analysis.*° The court’s only mention of the collection of workforce data
was in the Background section of its decision.3”7 Thus, notably, in neither Lutheran Church nor
MD/DC’DE Broadcasters did the D.C. Circuit find the collection of workforce composition data itself to
be invalid on constitutional or any other grounds.** After the decision, the Commission suspended its
EEO rules in 2001, including Form 395-B, in order to analyze the effects of MD/DC/DE Broadcasters on
the Commission’s rules.*°

10. On November 20, 2002, the Commission released its Second Report and Order and Third
NPRM, establishing new race-neutral EEO rules, eliminating the Option B rule previously invalidated by
the court.4° The Commission’s new EEO rules, which remain in place today,*! were divorced from any
data concerning the composition of a broadcaster’s workforce or applicant pool. The Commission
explained that the annual employment report is “unrelated to the implementation and enforcement of our
EEO program” and “data concerning the entity’s workforce is no longer pertinent to the administration of

31 Id.

32 Review of the Commission’s Broadcast and Cable Equal Employment Opportunity Rules and Policies and
Termination of the EEO Streamlining Proceeding, MM Docket Nos. 98-204, 96-16, Memorandum Opinion and
Order, 15 FCC Red 22548, 22560, 22575, para. 40, App. B (2000) (2000 Reconsideration Order); see 47 CFR

§ 73,3612 Note (“Data concerning the gender, race and ethnicity of a broadcast station’s workforce collected in the
annual employment report will be used only for purposes of analyzing industry trends and making reports to
Congress. Such data will not be used for the purpose of assessing any aspect of an individual broadcast licensee’s
compliance with the Equal Employment Opportunity requirements of § 73.2080.”).

33 MD/DC/DE Broadcasters, 236 F.3d at 17.

34 Td. at 18-21. The court found the rule was not narrowly tailored because investigations were not predicated on a
finding of past discrimination or reasonable expectation of future discrimination. Jd. at 21-22.

35 Td. at 22-23.

36 Td.

37 Td. at 17.

38 See Further Notice, 36 FCC Rcd at 12057, para. 4 (citing Suspension Order, 16 FCC Red at 2872).

39 See Suspension Order, JE FCC Red at 2872.
40 Second Report and Order and Third NPRM, 17 FCC Red at 24043-53, 24074, paras. 72-105, 180.

41 47 CFR § 73,2080 (requiring, inter alia, that broadcast licensees widely recruit for each full-time vacancy at their
stations using recruitment sources that, in the licensee’s reasonable and good faith judgment, are sufficient to widely
disseminate information about the job opening).

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our EEO outreach requirements.”*4? The Commission, however, deferred action on issues relating to the
annual employment report form, in part because it needed to incorporate new standards for classifying
data on race and ethnicity adopted by the Office of Management and Budget (OMB) in 1997.4

11. On June 4, 2004, the Commission released its Third Report and Order and Fourth NPRM
readopting the requirement that broadcasters file Form 395-B.* In addition, the Commission readopted
the Note to section 73.3612 of its rules that it had previously adopted in 2000, stating that the data
collected would be used exclusively for the purpose of compiling industry employment trends and
making reports to Congress, and not to assess any aspect of a broadcaster’s compliance with the EEO
tules.* The Commission stated that it did not “believe that the filing of annual employment reports will
unconstitutionally pressure entities to adopt racial or gender preferences in hiring,’”*° but it acknowledged
the concerns raised by broadcasters and sought comment on whether data reported on the Form 395-B
should be kept confidential.” Accordingly, while the Commission acted at that time to adopt revised
regulations regarding the filing of Form 395-B and updated the form, the requirement that broadcasters
once again submit the form to the Commission remained suspended until the agency further explored the
issue of whether employment data could, or should, remain confidential.**

12. Given the passage of time since the Third Report and Order and Fourth NPRM, the
Commission released a Further Notice on July 26, 2021, seeking to refresh the 2004 record with regard to
Form 395-B.*” The Further Notice asked for additional input on relevant developments in the law
relating to public disclosure of employment data, as well as the practical and technical limitations
associated with implementing a system that could afford varying degrees of station-level anonymity.*°
Interested parties filed comments, including public interest organizations and representatives of the

#2 Second Report and Order and Third NPRM, 17 FCC Red at 24067-68, 24072, paras. 159, 173.

43 Id. at 24024-25, 24074, paras. 17, 180. The Commission’s decision in January 2001 to suspend the filing of Form
395-B remained in effect at the time of the Second Report and Order and Third NPRM.

44 See Third Report and Order and Fourth NPRM, 19 FCC Red at 9975, para. 4. The Commission allowed a one-
time filing grace period “until a date to be determined in the Commission’s Order addressing the issues raised in the
Fourth Notice of Proposed Rulemaking. ...” Id. at 9978, para. 13. Because such an order had not been adopted
before today, the Commission has not resumed collecting the Form 395-B.

45 47 CER § 73,3612 Note (“Data concerning the gender, race and ethnicity of a broadcast station’s workforce
collected in the annual employment report will be used only for purposes of analyzing industry trends and making
reports to Congress. Such data will not be used for the purpose of assessing any aspect of an individual broadcast
licensee’s compliance with the Equal Employment Opportunity requirements of § 73.2080.”).

46 Third Report and Order and Fourth NPRM, 19 FCC Red at 9976, para. 9.
47 See id. at 9973, 9979, paras. 14-17.

48 See id. at 9978, para. 13; see also 47. CFR 8§ 73.3612, 76,1802. Although the requirement to file the forms on an
annual basis remained suspended after 2004, the Commission regularly sought approval from the Office of
Management and Budget (OMB) for the collection of information on Form 395-B, consistent with the Paperwork
Reduction Act. The Paperwork Reduction Act of 1995, Pub. L. No. 104-13, 109 Stat, 163 (1995). OMB has
recently approved the information collection for Form 395-B through August 31, 2026. Under the terms of OMB’s
approval, the Commission “should not initiate using or collecting information with . . . Form 395-B until [it] decides
whether the data collected from each form will be held confidential or not on an individual basis. Following such a
decision, the Commission should consult with OMB prior to initiating usage of these forms to determine whether the
decision regarding confidentiality results in a substantive change to the collections warranting formal review by
OMB of the proposed revisions.” See OMB Control Number: 3060-0390,
https://www.reginfo.gov/public/do/PRAViewICR?ref_nbr=202304-3060-010 (last visited Dec. 7, 2023).

49 See Further Notice, 36 FCC Red at 12061, para. 11.
%° See id. at 12062-63, paras. 14-16.

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broadcast industry.*! Their arguments range from asking that Form 395-B data be made publicly
available to contending that reinstating the form would amount to an unconstitutional violation of race-
based protections. Many of these assertions largely reiterate arguments addressed in the Commission’s
earlier orders, including whether the filing requirement constitutes unconstitutional pressure, the
ramifications of the D.C. Circuit rulings, the directives of section 334, and the potential substitutability of
the Equal Employment Opportunity Commission’s (EEOC) EEO-1 form.>?

TI. DISCUSSION

13. Consistent with the Commission’s authority pursuant to section 334, as well as the public
interest provisions of the Act, we reinstate the collection of FCC Form 395-B.°> In doing so, we affirm
the Commission’s prior determination that the earlier court decisions in no way invalidated our authority
to collect this data, which remains critical for analyzing industry trends and making reports to Congress.
Further, we find that reinstatement of this information collection on a publicly available basis is consistent
with the protections afforded to broadcasters by the Constitution and relevant case law, as detailed further
below. The clear separation of this information collection from the Commission’s long-standing EEO
program requirements mitigates any concerns that might be raised by the broadcasters as to the collection
of this workforce data. In addition, the Commission’s unequivocal statement that it will not use station-
specific employment data for the purpose of assessing a licensee’s compliance with the EEO regulations
and the codification of that same stricture further underscore the dissociation between the EEO
requirements and the form’s data.

A. Reinstatement of the Form 395-B Collection

14. The Commission has a public interest in collecting Form 395-B in order to report on and
analyze employment trends in the broadcast sector and also to compare trends across other sectors
regulated by the Commission. In taking this action today, we note that Congress has long authorized the
Commission to collect this data*+ and that the Commission is uniquely positioned to undertake such a
collection.** While the National Association of Broadcasters (NAB) and others have evinced an interest
in improving the level of diversity in the broadcasting industry workforce,* the lack of industry-wide
employment data over the last 22 years makes it difficult to measure the extent of any such progress.
While we do not anticipate that this more than two-decade long gap in data can ever be filled, with the
reinstatement of this information collection the Commission can ensure that the lack of data persists no
further, thereby providing it, the industry, Congress, and the public with a better understanding of, or
insight into, the full scope of the broadcast industry workforce. Accordingly, in this Order, we reinstate

5! The EEO Supporters, the Leadership Conference, and the Foster Garvey Coalition filed comments in support of
Form 395-B. NAB, the State Broadcasters Associations (State Associations), and the Center for Workplace
Compliance (CWC) oppose the form’s reinstatement.

52 See generally Second Report and Order and Third NPRM, 17 FCC Red at 24026-74, paras. 21-181; see also First
Report and Order, 15 FCC Red at 2336-58, 2394-97, paras. 20-64, 163-71; Third Report and Order and Fourth
NPRM, 19 FCC Red at 9974-77, paras. 3-10.

4 See ATU.S.C. § 334; see also Third Report and Order and Fourth NPRM, 19 FCC Red at 9974, para. 3 (stating
that “[the Commission is] directed by statute to require the submission of such reports by broadcast television
stations . . .”); Second Report and Order and Third NPRM, 17 FCC Red at 24030, para. 31 (stating that Congress
ratified the Commission’s authority to collect broadcast workforce data).

55 See American Federation of Television and Radio Artists Comments at 21 (filed April 15, 2002) (acknowledging
that the reporting of industry employment trends is a valuable public resource and that the Commission is well-
positioned to maintain and disseminate data on the demographics of employment in broadcasting); see also Asian
Americans Advancing Justice -AAJC et al. Supp. Comments at 15-16 (filed Aug. 10, 2022) (AAJC et al. Ex Parte)
(describing the inadequacy of private sector employment surveys for meeting the Commission’s purposes).

56 NAB Comments at 6-10.
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collection of Form 395-B in the manner described below and require the form to be submitted in an
electronic format.*’ Once submitted, the form will be accessible to the public via the Commission’s
website.

15. Reinstating the collection of the Form 395-B data in a publicly available format, as they
were collected prior to 2001, remains the best approach for achieving our ultimate goal of preparing
meaningful and accurate analyses of workforce trends in the broadcast industry. First, public disclosure
will increase the likelihood that erroneous data will be discovered and corrected, and it will incentivize
stations to file accurate data to avoid third-party claims that submitted data is incorrect.°* Whether
intentionally or inadvertently, a station might misreport its data or misidentify the racial, ethnic, or gender
group for particular employees. Individuals or entities with a connection to the station will be ina
position to correct such errors if the data are made public. Second, making the Form 395-B data publicly
available is consistent with Congress’s goal to maximize the utility of the data an agency collects for the
benefit of the public.*? Third, making the data public bolsters our ability to conduct analyses of trends
across different communications sectors, within individual sectors, and by region or market, without
being unnecessarily hampered by concerns about inadvertent disclosures of identifiable information. We
believe the utility of our reports is greatly enhanced by our ability to “slice, dice, and display” granular
data about the broadcast sector.*! Our ability to produce the most meaningful reports possible for
Congress rests, in turn, on the ability to produce the most granular reports possible (e.g., the number of
employees in a particular demographic group in a specific job category among a certain class of stations
[AM, FM, TV, etc.] in a specific geographic area). If we were required, however, to keep confidential the
underlying station-specific data, we would feel compelled to report our findings at a more general, and
thus less useful, level to avoid the risk of inadvertently facilitating any reverse engineering of station-

57 As CWC noted in the record, the version of Form 395-B that the Commission referenced in the Further
Notice was outdated. CWC Comments at 6-7. See Further Notice, 36 FCC Red at 12055, para. 1 n.1.
The Further Notice inadvertently provided a link to the 2000 version of the form, but the Commission
made minor revisions to the form in 2008 to conform its racial/ethnicity classifications and employment
categories to the updated classifications and categories that the EEOC had made to the EEO-1 form. See
Third Report and Order and Fourth NPRM, 19 FCC Red at 9977-78, para. 12 (stating that the
Commission would wait to revise its form until the EEOC had finalized the EEO-1 form to comply with
OMB’s updated racial classification standards); see also Media Bureau Seeks Comment on Possible
Changes to FCC Forms 395-A and 395-B, Public Notice, 23 FCC Red 5441 (MB 2008) (seeking
comment on incorporating the EEOC’s revised racial and employment categories into FCC Forms 395-A
and 395-B). Examples of conforming edits made to the updated form include allowing employees to
identify as being of two or more races, and the form differentiates senior level officials from mid-level
officials. The correct version of the form that we reinstate, and which has OMB approval, can be found at
https://omb.report/icr/202004-3060-047/doc/100723701.

58 See National Organization of Women (NOW) et al. 2004 Comments at 10 (asserting that “requiring filers to
disclose their identity will help insure the accuracy of the data’).

59 See The OPEN Government Data Act, Pub. L. No. 115-435 (2019) §§ 201-202, Title II of the Foundations for
Evidence-Based Policymaking Act of 2018, 44 U.S.C. § 3501(2), (4) (setting forth the goals to “ensure the greatest
possible public benefit from and maximize the utility of information created, collected, maintained, used, shared and
disseminated by or for the Federal Government” and to “improve the quality and use of Federal information to
strengthen decision-making, accountability, and openness in Government and society”).

60 Form 395-A for MVPDs, if its collection is reinstituted, contains similar fields to the Form 395-B. See Second
Further Notice of Proposed Rulemaking, infra at Section V.

61 Consequently, we also reject NAB’s claim that the Commission’s goal of issuing reports and analyzing trends
would not be hindered through confidential treatment of the data. See NAB Comments at 4 (claiming that collecting
Form 395-B data on an anonymous, aggregated basis “would have no effect on the FCC’s ability to fulfill its
expressed, permitted purposes for the data, namely, to ‘monitor industry employment trends and report to
Congress’”’).
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specific information. This problem would be especially acute in smaller markets, where the identity of
stations could be discerned more easily.

16. In addition, allowing public access to datasets allows others to review the accuracy of an
agency’s data analyses and to question its methods for data collection with the benefit of actual datasets.”
We find this level of transparency to be consistent with the overall trend toward making government data
more accessible, and we note that many government agencies collect and publish demographic data as
part of their analysis of markets, trends, and other factors.° The Further Notice sought comment on the
logistics associated with collecting and maintaining the Form 395-B data completely anonymously, or
where station specific information is available to the Commission, but not to the public. Only one
commenter addressed this issue by stating that the Commission’s Licensing and Management System
(LMS) enables the shielding of certain exhibits attached forms.© Irrespective of whether LMS can shield
station-attributable data, we conclude for the reasons stated above that maintaining this data in a publicly
available format is the most appropriate policy.

17. While broadcasters have expressed concerns with how the form’s data might be used if
publicly disclosed, such concerns have been addressed by the Commission’s repeated statements on the
appropriate use of such data and its amendment of the rules to prohibit use of the data to assess a
broadcaster’s compliance with Commission EEO rules. Notwithstanding the Commission’s statements
and actions, broadcasters were troubled in 2004 by comments made at that time by the National
Organization of Women (NOW) et al. positing that public disclosure of employment data would enable
“citizens .. . to work closely with their local broadcaster to ensure that stations are meeting their needs
and to resolve any problems with the companies in their communities.” Broadcasters pointed to those
comments as evidence that third parties would misuse Form 395-B data to pressure stations to engage in
preferential hiring practices.” As an initial matter, as the Commission has committed to previously and
we reiterate here again, we will quickly and summarily dismiss any petition, complaint, or other filing
submitted by a third party to the Commission based on Form 395-B employment data.*® We also note
that any attempt by a non-governmental third party to use the publicly available Form 395-B data to
pressure stations in a non-governmental forum would not implicate any constitutional rights of the station.
In any event, we find such concerns to be speculative. Despite the public availability of Form 395-B data
for more than 20 years prior to 2001, the record contains no evidence of use of such data in this manner.
Nonetheless, we encourage broadcasters to bring to the Commission’s attention any evidence that a third
party has misused or attempted to misuse Form 395-B employment data. If evidence of such misuse of

62 OMB has stated that, “[t]o operate efficiently and effectively, the Nation relies on the flow of objective, credible
statistics to support the decisions of individuals, households, governments, businesses, and other organizations.”
OMB, Proposals from the Federal Interagency Working Group for Revision of the Standards for Maintaining,
Collecting, and Presenting Federal Data on Race and Ethnicity, 82 Fed, Reg, 12242, 12243 (2017).

63 See, e.g., U.S. Bureau of Labor Statistics, Labor force characteristics by race and ethnicity, 2020 (Nov. 2021),
https://www.bls. gov/opub/reports/race-and-ethnicity/2020/home.htm; National Institutes of Health, NIH RCDC
Inclusion Statistics Report, https://report.nih.gov/RISR/#/; U.S. Department of Education, The 2020-21 Civil Rights
Data Collection, https://ocrdata.ed.gov/ (last visited Nov. 30, 2023); U.S. Department of Commerce, National
Telecommunications and Information Administration, Digital Nation Data Explorer (Oct. 5, 2022),
https://www.ntia.doc.gov/data/digital-nation-data-explorer (includes race, ethnicity, and gender among other data).

4 Further Notice, 36 FCC Red at 12063, paras. 16-17.
65 State Associations Reply at 17.

66 NOW et al. 2004 Comments at 5-7.

67 NAB 2004 Reply at 5-7, 9-10; Virginia Association of Broadcasters 2004 Reply at 4-6 (stating that what the
Commission may not do directly, “it also may not do indirectly through a ‘wink and nod’ with third-party interest
groups’); see also State Associations 2004 Reply at 2-5, 8-14; but see NOW et al. 2004 Reply at 4-8 (contending
that broadcasters had not shown that the data would be used in ways that would violate equal protection).

68 See infra para. 45.
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the data emerges, the Commission can reconsider its approach to collection of the Form 395-B data.
Based on the record before us, we find no basis to conclude that the demographic data on a station’s
annual Form 395-B filing would lead to undue public pressure. We find broadcasters’ concerns with the
public collection and availability of this workforce data to be overstated, outweighed by the promotion of
data accuracy and other benefits of public disclosure noted above, and therefore not an impediment to our
reinstatement of this collection.

18. Consistent with the limitations placed on our use of the Form 395-B data, we reject the
EEO Supporters’ recommendation that the Enforcement Bureau use the data as evidence when
investigating a discrimination claim against a station.” We find that such use does not comport with the
Commission’s public interest goal behind collection of this data. The Commission has stated previously,
and we reiterate here, that “we will summarily dismiss any petition filed by a third party based on Form
395-B employment data” and “will not use this data as a basis for conducting audits or inquiries.”

19. Some broadcasters have raised a concern that the Commission could decide at a later date
to waive its rule regarding how the Form 395-B data can be used.”! We believe that the combination of
the Commission’s consistent position over two decades about how this data may be used, the established
principle that “an agency is bound by its own regulations,’ our rejection of the EEO Supporters’
proposed contrary use, and our determination in the attached Order on Reconsideration should assuage
concerns on this point. We will not further delay reinstatement of the form based on unfounded
conjecture about what the Commission may or may not do in the future.

20. Further, we reject the argument that we should retain Form 395-B data on a confidential
basis given the EEOC’s confidential treatment of similar employment data collected on its EEO-1 form.”
Unlike the Commission, the EEOC’s authorizing statute specifically limits its ability to make its collected
data publicly available.” In the Civil Rights Act of 1964, which created the EEOC, Congress included a
provision making it unlawful for an EEOC officer or employee to disclose such information.”> However,
when Congress adopted section 334 in 1984, despite the fact that in the preceding 20 years Congress had
not lifted the prohibition on public disclosure by the EEOC, Congress imposed no such limitation for
publishing the broadcast workforce data collected by the Commission. Indeed, when Congress adopted
section 334 in 1984, the Commission had been collecting broadcast workforce data and making it
available publicly for decades, a practice Congress endorsed in passing Section 334 without any
limitation on public disclosure. In addition, the manner in which the two agencies may use their data
differs significantly. The EEOC may use its EEO-1 data for investigatory and enforcement purposes,”

69 See EEO Supporters Comments at 3-4.

70 2000 Reconsideration Order, 15 FCC Rcd at 22558-59, para. 35.

71 State Associations Reply at 12.

? Erie Boulevard Hydropower, LP v. FERC, 878 F.3d 258, 269 (D.C. Cir_2017).
®B See CWC Comments at 9-11.

4 A2 U.S.C. § 2000¢-8(e).

™ Civil Rights Act of 1964, Pub. L. No. 88-352, 78 Stat, 241, 264, § 709(e) (1964) (providing that “[i]t shall be
unlawful for any officer or employee of the [EEOC] to make public in any manner whatever any information
obtained by the [EEOC] pursuant to its authority under this section prior to the institution of any proceeding under
this title involving such information’).

76 See EEO-1 Component 1 Data Collection, U.S. Equal Emp. Opportunity Comm’n,
https://www.eecoc.gov/employers/eeo-1-data-collection (last visited Nov. 27, 2023) (stating that the filing of EEO-1
reports is required under section 709(c) of Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000¢
et seq., and 29 CFR 1602.7-.14 and 40 CFR 60-1.7(a)); see also Frequently Asked Questions: EEO-1 Component 1
Data Collection, U.S. Equal Emp. Opportunity Comm’n, https://eeocdata.org/pdfs/EEO-
1%20Component%201%20FAQO.pdf (last visited Nov. 27, 2023) (stating that “[the data] may not be made public by
(continued. ...)

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but by contrast, we will not use Form 395-B data for enforcement purposes.

21. Some commenters assert that the Commission should rely on other data sources in lieu of
Form 395-B.” Yet, section 334(a) of the Act states that “except as specifically provided in this section,
the Commission shall not revise . . . the forms used by [television broadcast station] licensees and
permittees to report pertinent employment data to the Commission.”’* Pursuant to section 334 of the Act,
we may change the form’s provisions only “to make nonsubstantive technical or clerical revisions . . . as
necessary to reflect changes in technology, terminology, or Commission organization.””? As we discuss
further below, the alternative data sources suggested by commenters would both violate the section 334
prohibition on changes to the form and impede our general public interest goal of providing useful reports
about employment in the broadcast sector.

22. In particular, we continue to reject the proposal, initially made nearly two decades ago
and dismissed by the Commission at that time as being inadequate, to rely on the EEOC’s EEO-1 form in
lieu of Form 395-B.®° We reaffirm the Commission’s prior conclusion that the EEO-1 form is not an
appropriate substitute for Form 395-B, as the two forms differ greatly in the data they collect.*! First,
unlike the EEO-1, Form 395-B distinguishes between full and part-time employees, consistent with our
other employment data collections, providing a more comprehensive picture of the broadcast industry
workforce. Second, and more importantly, reliance on the EEO-1 form would significantly reduce the
amount of employment data available to the Commission as the vast majority of broadcast licensees do
not file an EEO-1 form. While the Form 395-B collection applies to a// broadcast station employment
units with five or more full-time employees, the submission of an EEO-1 form is required only for entities
with 100 or more employees. In 2004, in response to the same proposal to substitute the EEO-1 form for
Form 395-B, the Commission calculated that the EEOC data “would not include 6,592 employment units
(79%) out of a total of 8,395 units and would exclude 136,993 full-time employees (84%) out of the
163,868 full-time employees in broadcasting working at employment units employing five or more full-

the EEOC prior to the institution of any proceeding under Title VII involving the EEO-1 Component | data’);
EEOC Data Collection, U.S. Equal Emp. Opportunity Comm’n at 6, https://eeocdata.org/ (last visited Nov. 27,
2023) (stating that “[EEOC] processes employer information data that are used by the EEOC to investigate charges
of discrimination against private employers . . .” and that “[t]he data are used for a variety of purposes including
enforcement, self-assessment by employers, and research”).

7 State Associations Reply at 8-10 (suggesting the use of employment information collected by the EEOC and the
Radio Television Digital News Association (RTDNA)); NAB Comments at 23-24 (arguing that the Commission
should use broadcasters’ EEO-1 filings instead of requiring Form 395-B); CWC Comments at 6 (asking the
Commission to explore the possibility of using data already collected on the EEO-1 form before deciding to reinstate
Form 395-B).

8 ATUS.C_ § 334(a)(2). Even NAB has noted that “Section 334(a) may bar the Commission from making major
changes to its EEO forms... .” NAB Comments at 18.

PATUS.C § 334(c).

8° State Associations Reply at 9 (asking the Commission to utilize already existing EEO-1 aggregate data); NAB
Comments at 23-24 (asking the Commission to let those broadcasters that are required to file form EEO-1 with the
EEOC to submit that data to the Commission in lieu of Form 395-B); CWC Comments at 6 (asking the Commission
to consider using publicly available aggregate EEO-1 data, and also suggesting that the EEOC and the Commission
work together to produce a Special Report on Broadcasting).

81 In 2004, various commenters contended that Form 395-B is unnecessary because the Commission could obtain
statistically relevant information from reviewing EEO-1 alone. The Commission considered and rejected this
argument in the Third Report and Order and Fourth NPRM. Third Report and Order and Fourth NPRM, 19 FCC
Red at 9977, para. 10 (rejecting the suggestion that the Commission rely on EEO-1 data and finding that the two
forms differ in the data they collect and that the EEO-1 data would not provide the information specified by
Congress in sections 334 and 634 of the Act).

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time employees.’®? Consequently, we determine that replacing Form 395-B either partly or wholly with
the EEO-1 form does not constitute a permitted non-substantive modification of the form itself under
section 334. Nor would such a substitution meet our public interest goal of providing a comprehensive
report of employment in the broadcast sector and comparing employment trends across our regulatees.
For the reasons provided above, we conclude that the EEO-1 form is an unsatisfactory replacement for
Form 395-B.*

23. Similarly, we find to be inapposite the suggestion to use the Radio Television Digital
News Association (RTDNA) diversity survey as a substitute for the Form 395-B collection. As an
initial matter, the RTDNA data pertains only to TV and radio newsrooms and not to the full spectrum of
the broadcast industry workforce covered by Form 395-B.** Moreover, the RTDNA survey ultimately is
based on valid responses from those broadcasters that choose to participate in the survey, and, hence, the
pool of participants is essentially a self-selected one.*° By contrast, a// broadcast station employment
units with five or more full-time employees must file the Form 395-B. Consequently, substituting Form
395-B with the RTDNA survey would be inconsistent with the section 334 prohibition on changes and
would provide a less complete view of the broadcast sector.

24. Since we have determined that the benefits of making these reports public outweigh the
speculative harm from doing so in light of the clear policy of the Commission about how they may and
may not be used, we see no reason to afford them confidentiality. We note, however, that there is a
question whether they would in fact warrant confidential treatment under the Freedom of Information Act
(FOIA) or whether the Commission could satisfy the requirements of the Confidential Information
Protection and Statistical Efficiency Act of 2002 (CIPSEA). The Further Notice sought comment on the

82 Third Report and Order and Fourth NPRM, 19 FCC Rcd _at 9977, para. 10. The Commission derived these
calculations based on data collected from the Form 395-B filings submitted in 2000. Jd. at 9977, para. 10 n.34. In
2004, when the Commission reinstated the Form 395-B, although it deferred recommencement of the form’s
collection, the Commission sought to reduce filing burdens by permitting broadcasters to file only one Form 395-B
for all commonly-owned stations in the same market that share at least one employee. Jd. at 9977, para. 10. We
reaffirm this procedural practice.

83 Given our determination above about the lack of substitutability between Form 395-B and the EEO-1 form, we
find there is no benefit in using EEO-1 data or attempting to work with the EEOC to produce a “Special Report” in
lieu of collecting information on the Form 395-B. See CWC Comments at 6; NAB Comments at 23-24; State
Associations Reply at 9.

84 See State Associations Reply at 9-10.

85 See, e.g., RTDNA, Local News Diversity Reaches Records, but Representation Gap Shrinks Slowly (June 23,
2021), https://www.rtdna.org/news/local-news-diversity-reaches-records-but-representation-gap-shrinks-slowly
(referring only to the employment makeup of broadcast television and radio newsrooms in the presentation of
demographic data).

86 See id. (explaining that the survey responses represent only 75.1% of all non-satellite television stations and 2,310
radio stations out of a random sample of 3,379 radio stations).

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potential applicability of the CIPSEA*’ or the FOIA exemptions® to the Form 395-B data collection. As
discussed below, the record and our own analysis demonstrate that CIPSEA is ill-suited for an agency
such as the Commission. Similarly, the Form 395-B data does not fit neatly within FOIA Exemption 4,
and in any event Exemption 4 does not prevent the Commission from disclosing information after an
appropriate balancing of the interests. Accordingly, for the reasons discussed below, we find neither
CIPSEA nor FOIA affords an appropriate basis to collect Form 395-B information in a confidential
manner.

1. CIPSEA is I]-Suited to the Commission’s Collection of the Form 395-B Data

25. The Commission sought comment on CIPSEA in 2004 and again in 2021, in particular,
seeking to explore whether the confidentiality afforded by CIPSEA to government-collected data could
apply to the Form 395-B data.’® Commenters responding in 2004 disagreed regarding CIPSEA’s
applicability.°° When the Commission initially sought comment in 2004, the statute was barely two years
old and relatively untested.®! Given the passage of time and the desire to obtain as complete a record as
possible, the Commission sought comment anew on CIPSEA in 2021. The Further Notice sought input
regarding the potential avenues under CIPSEA to collect and maintain data on a confidential basis.°? The

87 See E-Government Act of 2002, Pub. L. No. 107-347, §§ 501-504, 116 Stat, 2899, Title V (2002). OMB is
responsible for the implementation of CIPSEA, which seeks to harmonize the confidentiality processes across
federal agencies that collect data for statistical purposes. OMB has issued detailed guidance that must be followed
when invoking CIPSEA. See OMB, Implementation Guidance for Title V of the E-Government Act, Confidential
Information Protection and Statistical Efficiency Act of 2002 (CIPSEA), Notice of Decision, 72 Fed. Reg. at 33362
(June 15, 2007) (OMB 2007 Guidance) (noting that CIPSEA “establish[es] a uniform policy for all Federal
statistical collections . . . reduc[ing] public confusion, uncertainty, and concern about the treatment of confidential
statistical information by different Federal agencies”). In 2018, Congress reauthorized CIPSEA under the
Foundations for Evidence-Based Policymaking Act, enhancing security requirements for statistical agencies tasked
with sharing data with other agencies or publicly disclosing certain data assets. See Foundations for Evidence-Based
Policymaking Act of 2018, Pub. L. No. 115-435, §§ 301-303, 132 Stat, 5529, 5544-5556, Title III (2019). In
August 2023, OMB issued a notice of proposed rulemaking for new regulations that would provide further direction
to statistical agencies and units, as well as to their parent agencies “to enable, support, and facilitate statistical
agencies and units in carrying out four fundamental responsibilities... .”. OMB has yet to adopt finalized rules
pursuant to this proceeding. See OMB, Fundamental Responsibilities of Recognized Statistical Agencies and Units,
Notice of Proposed Rulemaking, 88 Fed, Reg, 56708 (Aug. 18, 2023).

88 See SULS.C, § 552(b\(4) (providing that the disclosure requirements of FOIA do not apply to “trade secrets and
commercial or financial information obtained from a person and privileged or confidential’).

89 See Further Notice, 36 FCC Red at 12065, para. 21; see also Third Report and Order and Fourth NPRM, 19 FCC
Red at 9978-79, paras. 14-17.

°° Broadcasters argued that CIPSEA authorizes the Commission to collect Form 395-B filings on a confidential basis
and that doing so would be good public policy. NAB 2004 Comments at 2-11; State Associations 2004 Comments
at 11-13; Virginia Association of Broadcasters 2004 Reply at 2-5. On the other hand, NOW et al. contended that
neither CIPSEA nor the Communications Act permits the use of CIPSEA for Form 395-B filings. They argued
further that confidential treatment would not serve CIPSEA’s purpose of promoting public confidence in an
agency’s pledge of confidentiality, given that the Commission never made such a pledge with respect to Form 395-
B, nor would it serve important policy objectives, such as ensuring the accuracy of Form 395-B data. NOW et al.
2004 Comments at 3-11; but see NAB 2004 Reply at 1-3 (arguing that nothing in CIPSEA “would preclude a federal
agency from updating its policies to invoke the statute and grant confidentiality to information that it previously
disclosed to the public”).

°! Third Report and Order and Fourth NPRM, 19 FCC Red at 9978-79, paras. 14-17.

» Further Notice, 36 FCC Red at 12065, para. 21 (seeking comment on the application of CIPSEA, including
whether the Commission or one of its subordinate offices or bureaus could qualify as a federal “statistical agency or
unit”; whether the agency could avail itself of CIPSEA’s provision as a non-statistical agency; or whether it could
coordinate with another entity for collection of data).

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two comments in 2021 addressing CIPSEA provide insufficient discussion or analysis. As discussed
further below, we find that CIPSEA is not an appropriate fit for the Commission’s Form 395-B data
collection.

26. NAB suggests that the Commission could utilize any one of CIPSEA’s three approaches
for confidential collection and retention of the Form 395-B data: (1) have the Commission’s Office of
Economics and Analytics (OEA) seek recognition as a “Federal statistical agency or unit’* pursuant to
CIPSEA and have OEA alone collect and analyze the Form 395-B data, which would then be released in
conformance with the CIPSEA confidentiality protections; (2) have the Commission collect this data
independently as a “nonstatistical agency” or “unit;” or (3) as a nonstatistical agency or unit, enter into an
agreement with an already recognized “Federal statistical agency or unit” and have that agency collect the
data on behalf of the Commission.?> While NAB asserts that these approaches are “reasonable
mechanism|s]” for safeguarding Form 395-B data,* it does not specify how its proposals could be
satisfied under the requirements established in OMB’s 2007 Guidance).?’ For example, NAB does not
discuss how the Commission, or even a subpart of the Commission, could qualify as a “statistical agency
or unit” given that OMB accords that designation only when the predominant activities of the agency or
unit are the use of information for statistical purposes.°® The Commission plainly does not fit that
description. Furthermore, NAB does not address the costs and burdens involved with applying for and
obtaining from OMB the designation needed for CIPSEA protection. Nor does it address the cost and
burdens associated with adherence to CIPSEA and whether the benefit of retaining the Form 395-B data
in conformance with CIPSEA outweighs these costs and burdens. Below, we address these points.

27. Contrary to NAB’s suggestion, our detailed review of CIPSEA, OMB’s 2007 Guidance,
and examples of other agencies that have obtained designation as a “statistical agency or unit”
demonstrates that neither the Commission nor OEA would qualify for such a designation. An agency, or
agency unit, seeking such a designation must demonstrate to the OMB Chief Statistician that its activities
are “predominantly the collection, compilation, processing, or analysis of information for statistical
purposes.”*®? Although OEA conducts significant data analyses,!® its activities do not meet the
“predominantly” standard laid out by OMB.'°! Rather, OEA’s regular work also includes administrative,

3 See State Associations Reply at 16 (providing two sentences on how this complex and still relatively new
statutory construct could apply); NAB Comments at 19-22 (repeating the three CIPSEA options laid out in the
Further Notice and stating that each might be possible without analyzing how these approaches might work in
practice).

°4 See OMB 2007 Guidance, 72 FR at 33364. OMB defines statistical purpose as “the description, estimation, or
analysis of the characteristics of groups, without identifying the individuals or organizations that comprise such
groups,” and nonstatistical purpose to include “any administrative, regulatory, law enforcement, adjudicatory, or
other purpose that affects the rights, privileges, or benefits of a particular respondent.” Jd.

°5 NAB Comments at 19-22.
°° NAB Reply at 7.
97 See OMB 2007 Guidance, 72 FR 33362-77.

8 Id. at 33364, 33368. In their 2004 comments, NAB and the State Associations focus on the statistical nature and
purpose of Form 395-B data, without addressing the issue of whether the Commission, or its sub-part, could qualify
as a Statistical agency or unit. NAB 2004 Comments at 3-7; State Associations 2004 Comments at 11-12; see also
State Associations 2004 Reply at 5-7.

°° OMB 2007 Guidance, 72 FR at 33374 (emphasis added).
100 NAB Comments at 21.

101 OMB 2007 Guidance, 72 FR at 33364-65; see also 44U.S.C. § 3572(e) (providing that “A statistical agency or
unit may designate agents, by contract or by entering into a special agreement containing the provisions required
under section 3561(2) for treatment as an agent under that section, who may perform exclusively statistical
activities, subject to the limitations and penalties described in this subchapter.”).

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regulatory, and adjudicative functions, as well as the administration of the Commission’s various
spectrum auctions.!> For these reasons, we determine OEA could not satisfy the requirements for
“statistical agencies or units” and, therefore, this approach is not a viable option.

28. NAB next suggests that the Commission could collect the Form 395-B data as a
“nonstatistical agency” pursuant to CIPSEA,!® provided it complied with CIPSEA’s restriction
preventing nonstatistical agencies from using “agents,” including contractors, to collect or use the
protected information, and if it ensured that only internal agency staff had access to the protected
information.!°* NAB identifies no agency that has successfully invoked this provision of CIPSEA in the
more than 20 years since the passage of the act. Nor have we been able to identify one. As discussed in
the Further Notice, the Commission relies extensively on information technology (IT) contractors to
develop and maintain electronic filing systems, assist filers with questions, and compile reports and other
information based on data in Commission forms.!° Moreover, the Commission currently relies on
multiple IT contracts to maintain and operate its systems. Therefore, it would be extremely complex and
burdensome from an administrative perspective to bring functions in-house solely for one form. For these
reasons, we find that collecting Form 395-B data as a nonstatistical agency under CIPSEA is not a viable
option.

29. We similarly find that the final approach under CIPSEA, namely that the Commission,
acting as a “nonstatistical agency,” partner with a “statistical agency,” which would collect the Form 395-
B data on the Commission’s behalf, is not a realistic—or even workable—one. Our detailed review of
CIPSEA and OMB’s 2007 Guidance shows that this is a complex process involving various logistical
steps, as well as significant additional burdens and costs. Partnering with a “statistical agency” involves
identifying a possible partner agency, engaging in negotiations with that agency to establish an agreement
for the collection of the data, negotiating and drafting an agreement stipulating the terms associated with
collection, processing, and sharing of the Form 395-B data.!° Any such agreement would have to

102 See, e.g., 47 CFR §§ 0.21 (a), (b) (the functions of OEA include identifying and evaluating significant
communications policy issues, based on the principles and methods of economics and data analysis; and
collaborating with and advising other Bureaus and Offices in the areas of economic and data analysis and with
respect to the analysis of benefits, costs, and regulatory impacts of Commission policies, rules and policies).

103 NAB Comments at 21-22.

104 OMB 2007 Guidance, 72 FR at 33365. CIPSEA defines “agents” as “contractors and their employees,
researchers, and employees of private organizations or institutions of higher learning who have a contract or
agreement with the Federal agency.” Id.

105 Further Notice, 36 FCC Red at 12065, para. 21. The Commission has outsourced these tasks for decades
consistent with a broader federal government initiative to ensure that those jobs that can be conducted in a more
economically efficient manner by the private sector through competitive bidding be outsourced. See OMB, OMB
Circular No. A-76 Revised, Performance of Commercial Activities (2003), available at
https://obamawhitehouse.archives.gov/omb/circulars_a076_a76_incl_ tech correction/ (stating that “The
longstanding policy of the federal government has been to rely on the private sector for needed commercial services.
To ensure that the American people receive maximum value for their tax dollars, commercial activities should be
subject to the forces of competition.”); see also OMB, Frequently Asked Questions, OMB Circular A-76
https://oma.od.nih. gov/forms/A76-fair/Documents/A-76%20FAQ.pdf (last visited Nov. 27, 2023) (noting that the
federal government can save billions of dollars by distinguishing between “commercial” and “government” services
and allowing competitive bids for “commercial” services).

106 Under a nonstatistical agency designation, before the Commission may invoke a pledge of confidentiality through
another federal statistical agency, the Commission and the willing partnering agency would be required to draft a
detailed collection agreement, which would stipulate each party’s compliance responsibilities, agent designations,
and other security requirements and training certifications, among other things. OMB 2007 Guidance, 72 FR 33375
§ VI. OMB’s 2007 Guidance states further that the nonstatistical agency seeking a partnership with a federal
statistical agency should be prepared to provide to the statistical agency with the resources necessary to carry out
these responsibilities. Jd.

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comport with OMB’s requirements and might also necessitate OMB review. The Commission would
have to compensate any such partner agency for the costs of collecting and storing the data, educate the
partner agency about the broadcast sector, and ensure that the information is collected in an appropriate
manner. Under this approach, the Commission also would have to designate specific staff who would
have permission to access the data and potentially restrict access to just those individuals. Moreover,
broadcasters would have the additional burden of familiarizing themselves with a different agency’s
document filing system. As OMB has not yet issued guidance on such a partnership approach, however,
the potential logistical problems going forward are not even fully known. In addition, pursuing the
approach of partnering with a “statistical agency” would lead to further delay in reinstituting this
collection, which has already lagged for far too long, while also unduly increasing the complexity and
cost of the collection. Going forward, such an approach would lend complexity to the process and
potentially hamper the Commission’s ability to review, analyze, and report on the underlying data on an
ongoing basis. Consequently, we conclude that the significant time, complexity, and cost associated with
formulating a partnership with a statistical agency outweigh any speculative harm that might arise from
public availability of this data.!°

2. Even if FOIA Exemption 4 Applies, the Strong Public Interest in Disclosure
Outweighs Any Private Interest In Confidential Treatment

30. The Further Notice sought comment on whether any Freedom of Information Act (FOIA)
exemptions might apply to our collection of Form 395-B data.!°* Both the Center for Workplace
Compliance (CWC) and NAB assert that Form 395-B data reported by broadcasters should not be
publicly disclosed because doing so would reveal trade secrets and commercial information to
competitors.!° While FOIA Exemption 4 protects trade secrets and confidential commercial information
from mandatory public disclosure by the Commission, its applicability to the information collected on
Form 395-B is questionable. Further, even if we were to find FOIA Exemption 4 applicable, the
Commission is not compelled to keep data covered by Exemption 4 confidential. The Commission has
authority to make records that fall within Exemption 4 public if it determines that the public interest in
disclosure outweighs the private interests in preserving the data’s confidentiality.!!

31. FOIA Exemption 4 protects from mandatory disclosure information that is “obtained
from a person,” as we recognize would be the case here, and that is both (1) “commercial or financial” in
character and (2) “privileged or confidential.”!!! In their comments, CWC and NAB assert that Form

107 Given our decision, we need not reach the argument by NOW et al. that section 334 prohibits confidential
treatment of Form 395-B filings because, they allege, concealing the identity of the filing party would constitute a
substantive revision of the form under the statute. NOW et al. 2004 Comments at 9-10; NOW et al. 2004 Reply at
2-3. But see NAB 2004 Comments at 7-8 (arguing that confidential treatment of the filings would not require any
change to the forms and “would be nothing more than a ‘nonsubstantive technical’ revision of the procedure for
collecting the reports”); NAB 2004 Reply at 8-9; State Associations 2004 Reply at 7-8.

108 Further Notice, 36 FCC Rcd at 12065-66, para. 22.
109 CWC Comments at 8. NAB in its Reply reiterates CWC’s position. NAB Reply at 5-6.

110 See Applications of Charter Communications, Inc., Time Warner Cable Inc., and Advance/Newhouse Partnership
for Consent to Assign or Transfer Control of Licenses and Authorizations, 30 FCC Red 10360, 10365-67, paras. 13,
15 (2015) (Charter Order); see also 47 CFR § 0,461(f)(4) (“If it is determined that the Commission has authority to
withhold [records requested under the FOIA] from public inspection, the considerations favoring disclosure and
non-disclosure will be weighed in light of the facts presented, and the Commission may, at its discretion, grant the
request in full or in part, or deny the request.”); FCC v. Schreiber, 381 US. 279, 291-92 (holding that a disclosure
authorized by the Commission after balancing the public and private interests under section 4(j) of the
Communications Act, 47 U.S.C. § 154()), is “authorized by law” within the meaning of the Trade Secrets Act, 18
U.S.C. § 1905).

1 Food Mktg. Inst. v. Argus Leader Media, 139 S.Ct, 2356, 2362 (2019). FOIA Exemption 4 also protects “trade
secrets” from mandatory disclosure. 5 U.S.C. § 552(b)(4). Courts have defined a “trade secret” as “a secret,
(continued. ...)

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395-B demographic data are “commercial information.”!!* The case law, however, is not definitive on
this question. Courts have sometimes defined commercial information broadly to include information
submitted to an agency in which the submitter has a commercial interest,'!3 or to encompass information
that has intrinsic commercial value, the disclosure of which would jeopardize a submitter’s commercial
interests or ongoing operations.''* Those definitions might arguably apply to the demographic
information of employees. However, in a recent case very closely on point, Center for Investigative
Reporting v. U.S. Department of Labor (Center for Investigative Reporting), the U.S. District Court for
the Northern District of California held that the federal government failed to prove that EEO-1
Consolidated Report (Type 2) employee demographic data were “commercial.”!!> Similar to Form 395-B
data, the EEO-1 Type 2 Reports do not include “salary information, sales figures, departmental staffing
levels, or other identifying information.”!!© Although the Type 2 Reports “require companies [that do
business at two or more physical addresses] to report the total number of employees across all their
establishments,” whereas the Form 395-B breaks down this information by station employment units,
neither form links job categories to specific departments; rather, both require information aggregated by
type of job across all departments. Furthermore, the EEO-1 reports utilize the same job title, gender, and
ethnicity categories as the information to be provided in Form 395-B. Given these similarities between
the EEO-1 reports and information to be provided in Form 395-B, Center for Investigative Reporting
suggests that the Form 395-B data is at least arguably not correctly considered to involve commercial
information.

32. It is likewise not entirely clear whether the data at issue here would be properly
considered “privileged or confidential.” Information is confidential within the meaning of Exemption 4

commercially valuable plan, formula, process, or device that is used for the making, preparing, compounding, or
processing of trade commodities that can be said to be the end product of either innovation or substantial effort.”
Pub. Citizen Health Rsch. Grp. v. FDA, 704 F.2d 1280, 1288 (D.C. Cir. 1983); accord Herrick v. Garvey, 298 F.3d
1184, 1190 (10th Cir. 2002). No commenter has explained how the data at issue here could meet that definition, and
we conclude that they do not. Facially, employee demographic information is not a “trade secret” because such
employment information does not directly relate to the production and processing of a trade “commodity.” Black’s
Law Dictionary defines a “commodity” as “[a]n article of trade or commerce.” Commodity, Black’s Law Dictionary
(11th ed. 2019) (stating that the term “embraces only tangible goods, such as products or merchandise, as
distinguished from services”). We are not aware of any instance in which the Commission has characterized
broadcast programming as a commodity. And even if radio broadcasting were a commodity, the demographic
information of those who produce it is not “used” in its preparation.

112 CWC Comments at 8; NAB Reply at 5-6.

113 See Baker & Hostetler LLP v. U.S. Dep't of Commerce, 473 F.3d312, 319 (D.C. Cir_2006). See also San Juan
Citizens All. v. United States Dep't of Interior, 70 F. Supp, 3d 1214, 1219 (D. Colo. 2014) (adopting the D.C.
Circuit’s “commercial interest” standard).

114 See New York Pub. Interest Research Grp. v. U.S. E.P.A., 249 FE, Supp, 2d 327, 334 (S.D.N.Y. 2003). See also
FlightSafety Servs. Corp. v. U.S. Dep't of Labor, No. CIV.A. 300CV1285P, 2002 WL 368522, at 5 (N.D. Tex. Mar,
5, 2002), aff'd sub nom. Flightsafety Servs. Corp. v. Dep't of Labor, 326 F.3d 607, 612 (Sth Cir_2003) (finding, inter
alia, that raw salary data submitted to the Bureau of Labor Statistics qualified as commercial information). But see
Citizens for Responsibility and Ethics in Washington v. U.S. Department of Justice, 58 F.Ath 1255, 1262-69 (D.C.
Cit_2023) (holding that identities of suppliers under government contracts were not commercial information
because the information was not commercial in and of itself, regardless of whether its disclosure might have
commercial or financial repercussions).

11S See Ctr. for Investigative Reporting v. U.S. Dep’t of Labor, 424 F. Supp. 3d 771, 776-779 (N.D. Cal. 2019)
(holding that information contained in federal contractors’ employment diversity [EEO] reports requested from the
Department of Labor under FOIA was not “commercial,” and thus did not fall under Exemption 4, and further
questioning whether the information was “confidential’”), app. dismissed sub nom. Evans v. Synopsys, Inc., 34. F.Ath
762 (9th Cir_2022).

116 See id. at 777.

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“whenever it is customarily kept private, or at least closely held, by the person imparting it.”!!7 What
matters is “how [a] particular party customarily treats the information, not how the industry as a whole
treats [it].”!!8 Here, CWC acknowledges that “many employers choose to publicly disclose workforce
demographic data” in “a variety of forms.”!!° And although CWC distinguishes between Form 395-B
data and the EEO-1 data that companies often elect to disclose, we see similarities between the two data
sets, as discussed above.

33. In addition, as discussed further below, we note that commenters have failed to show that
competitive harm would result from the collection and public release of the information provided in Form
395-B. While the Supreme Court held in Food Marketing Institute that a showing of competitive harm is
not required to protect information from disclosure under Exemption 4, some courts have since declined
to allow agencies to withhold information covered by Exemption 4 without showing an articulable harm
from disclosure.!*° These decisions rest on the theory that under the FOIA Improvement Act of 2016—
which did not apply to the Food Marketing Institute case because it had not yet become effective at the
time that case was filed—agencies must produce information otherwise covered by a FOIA exemption
unless it is reasonably foreseeable that disclosure would harm an interest protected by the exemption (or
disclosure is prohibited by law).!?!_ However, the FOIA Improvement Act has alternatively been
interpreted in the Exemption 4 context to require no demonstration of harm beyond the loss of
confidentiality itself, and therefore the relevance of competitive harm to the Exemption 4 analysis
remains an unsettled issue. !??

34. Ultimately, however, we need not decide whether Exemption 4 covers the information
collected on Form 395-B or assess the relevance of the FOIA Improvement Act. The Commission has
well-established authority under section 4(j) of the Act!?3 to publicly disclose even trade secrets or
confidential business information if, after balancing the public and private interests at stake, we determine
that it is in the public interest to do so.!*4

"7 Argus Leader, 139 S.Ct. at 2362. No party argues here that the information on Form 395-B is privileged.
18 Ctr. for Auto Safety v. Nat’l Highway Traffic Safety Admin., 244 F.3d 144, 148 (D.C. Cir_2001).
119 CWC Comments at 9.

20 See, e.g., Seife v. U.S. Food & Drug Admin., 43 F.4th 231, 235, 241-42 (2d Cir_2022). At least one court has
rejected that theory, however. Am. Small Bus. League v. U.S. Dep’t of Def., ALLE. Supp, 3d 824, 836 (N.D. Cal.
2019).

1 5SUSC. § 552(a(8AID; see Seife, 43 F. Ath at 241-42 (“[T]he interests protected by Exemption 4 are the
submitter’s commercial or financial interests in information that is of a type held in confidence and not disclosed to
any member of the public by the person to whom it belongs. An agency in a FOIA case can therefore meet the
foreseeable harm requirement of the [FOIA Improvement Act] by showing foreseeable commercial or financial
harm to the submitter upon release of the contested information.”); see also Ctr. for Investigative Reporting v. U.S.
Customs & Border Prot., 436 F. Supp, 3d 90, 113 (D.D.C. 2019) (opining that the foreseeable harm requirement
applies to Exemption 4 after Food Marketing Institute, and that, in order to withhold information covered by the
exemption, agencies must explain how disclosure would harm an interest protected by the exemption); Ctr. for
Investigative Reporting v. U.S. Dep’t of Labor, 424. F. Supp, 3d at 780 (acknowledging and engaging ina
foreseeable harm analysis under Exemption 4).

122 See Am. Small Bus. League v. U.S. Dep’t of Def., 4LLF. Supp, 3d 824, 836 (N.D. Cal. 2019) (rejecting the
argument that the FOIA Improvement Act, in effect, reinstates the competitive harm test the Court overruled in
Food Marketing Institute).

123 A7TULS.C. § 154() (“The Commission may conduct its proceedings in such a manner as will best conduce to the
proper dispatch of business and to the ends of justice.”).

124 See Schreiber, 381 U.S, at 291-92 (holding that a disclosure authorized by the Commission after balancing the

public and private interests under section 4(j) of the Communications Act is “authorized by law” within the meaning

of the Trade Secrets Act, 18 U.S.C, § 1905); American Broadband & Telecommunications Company Jeffrey S.
(continued....)

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35. In assessing the respective interests in the disclosure or non-disclosure of Form 395-B
data, we determine that the public interest in disclosing Form 395-B data outweighs broadcasters’ claims
that such disclosure might cause unspecified harm. As outlined above, there are significant public interest
benefits from public disclosure of Form 395-B data.!?5 Public disclosure of Form 395-B data promotes a
more accurate collection and recordation process. It increases the likelihood that incomplete or inaccurate
filings will be discovered and corrected, and it will incentivize stations to file accurate data to avoid third-
party claims that submitted data are incorrect. It is also consistent with Congress’s goal to maximize the
utility of the data an agency collects for the benefit of the public.!?° Public disclosure also allows us to
produce the most granular reports possible for the benefit of Congress and the public, without being
unnecessarily hampered by concerns about inadvertent disclosures of identifiable information. And
public disclosure allows others to review the accuracy of our data analyses and to question our methods
for data collection with the benefit of actual datasets.

36. In contrast to these significant public benefits, CWC and NAB have failed to demonstrate
that availability of the Form 395-B data would cause meaningful competitive harm. For example, CWC
asserts that if Form 395-B data were disclosed, a broadcaster’s competitors could exploit such
information to gain competitive insights into the broadcaster’s business practices.!2” Nothing in the
record, however, realistically demonstrates how the public release of Form 395-B data might afford a
competitor tangible insights into another broadcaster’s business practices that would lead to competitive
harm. CWC and NAB have not provided any actual instances of harm related to the Commission’s
previous collection and public disclosure of demographic data, but rather largely project a speculative,
worst-case scenario. CWC posits that competitors would be able to draw more detailed insights by
comparing published data over a stretch of years; however, we fail to understand how any such result
would have a negative commercial impact on broadcasters.!*8 Further, guided in part by the court’s

Ansted, Order on Reconsideration, 35 FCC Rcd 3762, 3764, para. 6 (2020); Charter Order, 30 FCC Rcd at 10365-
67, paras. 13, 15; Examination of Current Policy Concerning the Treatment of Confidential Information Submitted
to the Commission, GC Docket No. 96-55, Notice of Inquiry and Notice of Proposed Rulemaking, 11 FCC Red
12406, 12414-15, para. 15 (1996).

125 See supra paras. 15-16.

126 See Foundations for Evidence-Based Policymaking Act of 2018, Pub. L. No. 115-435, §§ 201-202, 132 Stat
5529, 5534-44, Title II (2019); 44U. S.C. § 3501(2), (4) (setting forth the goals to “ensure the greatest possible
public benefit from and maximize the utility of information created, collected, maintained, used, shared and
disseminated by or for the Federal Government” and to “improve the quality and use of Federal information to
strengthen decisionmaking, accountability, and openness in Government and society”).

127 CWC Comments at 9.

"28 Moreover, the fact that a number of broadcasters have begun to disclose workforce demographic data, albeit not
at the level of detail as would be reported on Form 395-B, also calls into question the extent of the competitive harm
that would result if that information were to be publicly released. In this regard, we note the growing availability
online of workforce demographic information related to media and broadcast employees. See, e.g., Hearst 2023
RISE Report, https://www.hearst.com/documents/33329/890300/2023+Hearst+RISE+DE%26I+Overview.pdf/
14d1c825-8209-867d-f9dd-10d527d189a6?t=16795 17544494 (providing ethnicity and gender percentages); see also
Tegna 2022 Diversity, Equity & Inclusion Annual Report, https://www.tegna.com/social-responsibility/ (providing
ethnicity and gender percentages); Nexstar Media Group, HR Management; Workforce Diversity, Equity, and
Inclusion, https://www.nexstar.tv/corporate-social-responsibility/human-resource-management/ (providing ethnicity
and gender percentages, in addition to EEO-1 data for separate stations); Gray Television 2022 ESG Report,
https://www.responsibilityreports.com/HostedData/ResponsibilityReports/PDF/NYSE GTN_2022.pdf (providing
ethnicity and gender percentages); Sinclair Broadcast Group 2022 ESG Report, https://d2ghdaxqb194v2.
cloudfront.net/2732/190259.pdf (providing ethnicity and gender percentages); Cumulus Media 2022 Sustainability
Report, https://www.cumulusmedia.com/wp-content/uploads/2022/12/2022-Cumulus-Sustainability-Report.pdf
(providing ethnicity and gender percentages). The varying approaches of broadcasters about whether to, and how to,
release employee demographic information on a voluntary basis at least indicates a lack of agreement among
broadcasters with respect to their treatment of such information, as well as a lack of consensus on whether they
(continued. ...)

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analysis in Center for Investigative Reporting, we remain unconvinced that knowing the number of
employees assigned to a particular job title or category in a company without knowing other details—for
example, the duties of the employees, the structure of the company, salary information—can provide any
significant information to a competitor that results in reasonably foreseeable or substantial competitive
harm.!?°

37. We conclude that the public benefits of releasing the information contained in Form 395-
B are significant, while the harms would be slight. Thus, balancing the public interests in disclosure
against the private interests at stake here, we find that there are strong public interests in favor of
disclosure and that, accordingly, section 4(j) authorizes the Commission to publicly disclose Form 395-B
data.

38. Timing of Form Submission. As directed by section 73.3612 of the Commission’s rules,
broadcasters will be required to file Form 395-B annually on or before September 30 of each year, after
the Order becomes effective.!°° The Commission established the September 30 deadline to align with the
deadline for EEO-1 filings to enable licensees and permittees that also file similar data with the EEOC to
conserve resources by using the same pay period record information for both filings.'*! Broadcasters may
report employment figures from any payroll period in July, August, or September of the relevant year, but
that same payroll period must be used in each subsequent year’s report by the licensee. Consistent with
previous practice, the Form 395-B will be due on or before September 30 of each calendar year. To
provide broadcasters adequate notice regarding the details of the electronic filing process, the Media
Bureau will issue a Public Notice with instructions about how to submit the filings, prior to the first filing
after the Order becomes effective. This Public Notice will provide broadcasters ample time to put into
place whatever data collection processes they require, including, for example, the development of
employee surveys and instructions for employees regarding which job classification to report. It also will
afford the Commission time to create and test an electronic version of Form 395-B.

39. Identification of Non-Binary Gender Categories. Finally, in reinstating the collection of
Form 395-B, some commenters urge us to incorporate into the form a mechanism that will enable
identification of non-binary gender categories.'**. While the EEOC has incorporated a comment box on
the EEO-1 form allowing for submission of gender non-binary information, both the EEOC and the
Commission traditionally track the definitions and standards on race ethnicity and gender set forth by

would suffer any significant competitive harm from the public knowing this information. In addition, the increasing
public availability of employee demographic information may cast doubt on whether it can be considered
“confidential” under Exemption 4. See supra paras. 32-33.

9 Tn Ctr. for Investigative Reporting v. U.S. Dep’t of Labor, the federal district court emphasized that an EEO-1
form for government contractors “does not ask submitting companies to explain how resources are allocated across a
company’s ‘segments.”” Cir. for Investigative Reporting v. U.S. Dep’t of Labor, 424 F.Supp.3d at 777. “Rather, the
report is organized by job category, such as ‘Professionals,’ ‘Sales Workers,’ ‘Operatives,’ “Craft Workers,’
‘Laborers and Helpers,’ etc.,” and “does not request demographic information by division, department, or
‘segment.’” Jd. As noted by various commenters in the instant proceeding, Form 395-B uses the same reporting
methodology in terms of job categories as the EEO-1. The grid sections of the two forms, where respondents are
instructed to enter their workforce data, are identical in that respect, as both forms follow OMB-issued standards on
reporting.

130 47 CFR § 73,3612. Authority is delegated to the Media Bureau to announce and provide filing instructions
before the first window opens. See 47 CFR § 0,283.

131 1998 Biennial Regulatory Review — Amendment of Sections 73.3612 and 76.77 of the Commission's Rules
Concerning Filing Dates for the Commission's Equal Employment Opportunity Annual Employment Reports,
Memorandum Opinion and Order, 13 FCC Red 6973, para. 5 (1998) (1998 Biennial Review Order) (agreeing with
broadcasters that the annual filing deadline should be moved from May to September to avoid unnecessary
duplication of efforts).

132 Foster Garvey Coalition Comments at 3-4; NAB Reply at 7.
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OMB and used widely by the federal government.!*> To date, OMB has not prescribed conclusive
classifications to capture non-binary gender data. Federal guidance, however, recognizes the “need to be
flexible and adapt over time” in developing measures to collect such data.!3+ Consistent with that
guidance and our record, we believe it is appropriate that the Form 395-B include a mechanism to provide
further specificity about broadcaster employees’ gender identities.

AO. We find that such an update fits within the latitude granted to the Commission pursuant
to section 334(c) of the Act to revise the forms “to reflect changes in . . . terminology.”*5 We also find
that the Further Notice provided sufficient public notice and opportunity for comment to allow us to
incorporate this change to the form. The Further Notice encouraged commenters “to provide any new,
innovative, and different suggestions for collecting and handling employment information on Form 395-
B” and asked if there were “any other issues or developments that [the Commission] should consider.”!*°
We conclude that the suggestion to include within the Form 395-B a mechanism to account for those who
identify as gender non-binary is a logical outgrowth from the Further Notice’s requests for comment.
Accordingly, and after receiving only support for and no opposition to the idea, we will include such a
mechanism in the reinstituted Form 395-B.!3’ We delegate to the Media Bureau the authority to
implement this change to the Form.

B. Constitutional Issues

Al. Reinstatement of the Form 395-B data collection in a publicly available manner is wholly
consistent with the equal protection guarantee contained in the Fifth Amendment of the Constitution. !3*
As discussed below, collection of workforce data from broadcast licensees on Form 395-B is race- and
gender-neutral, and no race- or gender-based government action flows from collection of the data or its
public availability. Accordingly, collection and publication of Form 395-B data need only be rationally
related to a legitimate governmental interest to pass constitutional muster. Since the Commission has a
legitimate public interest in collecting Form 395-B data and doing so on a transparent basis is rationally
related to this interest, restatement of Form 395-B as we propose is constitutionally permissible. Finally,
we find that the limitations the Commission has placed on its own use of the data obviate the concerns
raised in the record about the potential for undue pressure being placed on, or “raised eyebrow” regulation
of, broadcasters.

42. As the court in Lutheran Church acknowledged, the Constitution’s equal protection

133 See OMB, Revisions to the Standards for the Classification of Federal Data on Race and Ethnicity, 62 Fed, Reg
58,782 (Oct. 30, 1997) (stating in Background that “For more than 20 years, the current standards in OMB’s
Statistical Policy Directive No. 15 have provided a common language to promote uniformity and comparability for
data on race and ethnicity for the population groups specified in the Directive.”).

134 Recommendations on the Best Practices for the Collection of Sexual Orientation and Gender Identity Data on
Federal Statistical Surveys, Office of the Chief Statistician of the United States, https://www.whitehouse.gov/wp-
content/uploads/2023/01/SOGI-Best-Practices.pdf (last visited Nov. 14, 2023).

135 ATU S.C. § 334(c). We note that the addition of the “gender non-binary” category is a “non-substantive
technical or clerical revision” as required by section 334(c). The change is consistent with section 334(c) because it
provides an option for employees to identify as non-binary, if they so choose, but does not impose any new
requirement on stations that did not exist under the prior version of Form 395-B, which already required reporting
on gender.

136 Further Notice, 36 FCC Red at 12061, 12066, paras. 12, 23.

137 NAB Reply at 7 (supporting an update to the form to enable the reporting of non-binary options and observing
that “[s]uch a change would be consistent with steps by other federal agencies and serve the public interest in
accurate data”).

138 U.S. Const, amend, V.
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guarantee is not implicated if the regulation at issue is neutral with respect to protected categories.!*° This
standard is satisfied here, because both on its face and in application, the collection of workforce data
from broadcast licensees on Form 395-B is race- and gender-neutral. Regardless of the demographic
makeup of a particular broadcast station employment unit, all units with five or more full-time employees
are required to file their workforce data with the Commission. At no point does the Commission use race
and gender categories to direct units on whether they must file the form; the number of employees within
a given unit is the sole criterion. Further reflecting the neutrality of the application of the form, all units
required to file with the Commission use an identical Form 395-B to report their respective demographic
and job category data. By using employment size as the exclusive factor to direct units to file broadcast
workforce data, the completion of the form in this regard is a neutral activity, “devoid of ultimate
preferences” for hiring on the basis of race or gender. !*°

43. Furthermore, there is no race- or gender-based government action that flows from
collection of the data or its public availability. Unlike the collection of this data 20 years ago, there is no
connection between the Form 395-B collection at issue here and the EEO program requirements
applicable to broadcasters. The court’s finding in Lutheran Church that the Commission’s rules
impermissibly pressured broadcasters to engage in race-conscious hiring decisions stemmed from the set
of criteria that the Commission had created in 1980 to determine whether its review of a station’s license
renewal application should include a closer examination of the station’s EEO program.'*! Under those
1980 screening guidelines, the Commission would review the adequacy of a station’s EEO program if
minorities and/or women employed by the station were underrepresented as compared to the available
workforce.!*2 That requirement to compare the racial composition of a station’s workforce with that of
the local population, and not the requirement to report employment data that we reinstate today, was the
trigger for the court’s strict scrutiny in that case.!*

44. While the Commission revised the EEO program requirements after the Lutheran Church
ruling, the use of race, ethnicity, and gender information (albeit not Form 395-B data) was still linked to
the Commission’s EEO program. The new EEO program allowed stations to choose between two options
for their recruiting programs.'“4 In MD/DC/DE Broadcasters, the D.C. Circuit struck down the
Commission’s revised, two-option EEO program because it found that broadcasters proceeding under

159 For example, in the context of employee recruitment, the Lutheran Church coutt stated, “[i]f the regulations
merely required stations to implement racially neutral recruiting and hiring programs, the equal protection guarantee
would not be implicated.” See Lutheran Church, 141 F.3d at 351.

140 See, e.g., Sussman v. Tanoue, 39 F.Supp.2d 13, 27 (D.D.C. 1999) (holding that an FDIC workforce data
collection that was part of a greater EEO program, including outreach, recruitment, and self-evaluation components,
was constitutional and not deserving of strict scrutiny analysis, because it “falls within the category of programs,
those conscious of race but devoid of ultimate preferences . . .”); see also Lutheran Church, 141 F.3d at 351
(“[]neither the Supreme Court nor any other court has ever applied strict scrutiny to programs that require nothing
more than recruitment, outreach, self-evaluation, and data collection”). As noted below, what triggered strict
scrutiny in the Lutheran Church case was the comparison of the racial composition of the station’s workforce with
that of the local population and, where “underrepresentation” of minorities or women was found, requiring
broadcasters to take appropriate action where necessary. Lutheran Church, 141 F.3d at 351-52.

141 See Lutheran Church, 141 F.3d at 351-53.

1” See id. at 352-53. Specifically, stations with five to ten full-time employees would have their EEO program
reviewed if minority groups and/or women were not employed on their full-time staffs at a ratio of 50% of their
workforce availability overall and 25% in the upper-four Form 395 job categories. Jd. at 353. The same was true
for stations with 11 to 49 full-time employees, except that a 50% ratio was required for the upper-four Form 395 job
categories. Jd. Stations with fewer than five full-time employees were not required to record EEO programs, and
the Commission reviewed the EEO program of all stations with 50 or more full-time employees. Jd.

183 Td. at 351-54; but see NAB Comments at 11-12 (attempting to link the Form 395-B filing requirement with the
court’s decision in Lutheran Church).

4 First Report and Order, 15 FCC Rcd at 2363-79, paras. 76-122.
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Option B of the program were pressured to engage in race-conscious recruiting practices, given that
Option B required annual reporting of race, ethnicity, and gender information for each job applicant.!*°
The court found that such pressure would lead to outreach programs targeted at minority groups, to the
potential disadvantage of non-minority groups, and thus constituted a racial classification that triggered
strict scrutiny.!*° Following the court’s decision, the Commission suspended both its EEO outreach
requirements and its Form 395-B filing requirement.!*”

45. When the Commission later adopted new EEO program requirements, it deferred action
on requiring the collection of workforce data, and the Form 395-B data collection has been on hold ever
since.'48 Thus, these EEO program requirements have existed independently of Form 395-B for the past 20
years.'*9 That the Commission’s EEO program continued to operate even as the Form 395-B collection was
held in abeyance highlights the separation of these two requirements. And we reiterate that going forward,
these two requirements—the filing of annual workforce data and compliance with an EEO program—will
continue to be divorced from one another. As the Commission has recognized consistently for more than 20
years, the Lutheran Church and MD/DC/DE Broadcasters decisions do not prohibit the collection of
employment data for the purpose of analyzing industry trends.'°° The Commission concluded more than
two decades ago that collecting employment data solely for monitoring purposes would not violate Lutheran
Church, and we affirm that conclusion.!5! The D.C. Circuit never took issue with the Commission’s
collection of station-specific employment data from broadcasters and making this data publicly-available.
We continue to find the collection of this information to be consistent with the Constitution and the public
interest. The Commission has stated unequivocally and emphatically that it will not use the Form 395-B for
assessing a licensee’s compliance with EEO program requirements. The agency even went so far as to
codify that policy in the Code of Federal Regulations, amending section 73.3612 of its rules in 2004 to
prohibit explicitly the use of the Form 395-B data for EEO compliance purposes.!°*? We reaffirm the

M45 MD/DC/DE Broadcasters, 236 F.3d at 19-22.

146 Td. at 20-21. The court did not find similar constitutional flaws in Option A but nonetheless struck it down
because the Commission had stressed the value of giving broadcasters a choice in compliance actions—and the
court’s elimination of Option B left broadcasters with no alternative except Option A. Jd. at 22.

47 Suspension Order, 16 FCC Rcd at 2872, para. 1 & n.1.

148 Second Report and Order and Third NPRM, 17 FCC Red at 24024-25, 24077, paras. 17, 198 (deferring action on
the form pending the incorporation of OMB’s revised race and ethnicity classifications and explaining that such
deferral need not delay adoption of the revised EEO rules because “[t]he data collected in the employment reports
will be used only to compile trend reports and report to Congress” and “will not be used to determine compliance
with the EEO rules”).

149 See NAB Comments at 18 (noting that “the form has been suspended for approximately two decades, during
which time the FCC has effectively fulfilled its statutory obligations regarding EEO and vigorously enforced its
EEO rules’).

150 See, e.g., 1998 NPRM, 13 FCC Red at 23023, para. 49 (stating that “[t]he court in Lutheran Church did not
conclude that the Commission lacks authority to collect statistical employment data to analyze industry trends, or to
prepare annual trend reports” and that “the Commission has broad authority to collect information and prepare
reports.”); First Report and Order, 15 FCC Red at 2358, paras. 63-64 (concluding that the Commission has
continued authority to require annual employment reports for the purpose of monitoring employment trends); 2000
Reconsideration Order, 15 FCC Red at 22558-60, paras. 35-40 (rejecting the argument that collecting employment
data solely for monitoring purposes would violate Lutheran Church).

151 2000 Reconsideration Order, 15 FCC Red at 22559-60, paras. 36-40 (rejecting the argument that collecting
employment data solely for monitoring purposes would violate Lutheran Church).

152 Note to section 73.3612 currently states:

Data concerning the gender, race and ethnicity of a broadcast station’s workforce collected in the annual
employment report will be used only for purposes of analyzing industry trends and making reports to
(continued....)
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Commission’s previous determination that workforce data collected on Form 395-B will be used only for
purposes of analyzing industry trends and reports by the Commission, and that the use of such data to
assess an individual broadcast licensee’s compliance with our EEO requirements will be prohibited.
Moreover, in the attached Order on Reconsideration, we grant a previous request filed by the State
Broadcasters Associations (State Associations) asking that we modify the prohibition on our use of the
form’s data to explicitly bar the Commission from employing this data to assess compliance with the
nondiscrimination requirement contained in section 73.2080 of our rules.'*3 Our granting of the State
Associations’ request further demonstrates our commitment to use this data only for industry analysis and
reporting.

46. We disagree with NAB’s and the State Associations’ assertion that collection or
publication of the data on a licensee- or station-attributable basis will still somehow result in
unconstitutional “sib silentio” pressures or “raised-eyebrow” regulation.'** We have stated repeatedly
and unequivocally, and codified the proposition in our rules, that we will not use Form 395-B data for any
purpose other than for analyzing and reporting trends in the broadcast industry. Nonetheless, NAB and
the State Associations attempt to employ dicta from the D.C. Circuit in MD/DC/DE Broadcasters and
Lutheran Church about implicit pressures by claiming that, despite the limitations the Commission has
placed on its own use of the data, third parties may use the data to place improper pressure on a licensee
to engage in preferential hiring practices to avoid having frivolous complaints filed against it with the
Commission.!*> As an example, NAB claims that some loan agreements would require broadcasters to
disclose even frivolous petitions to their lenders, thereby adding an element of risk to funding
acquisitions.!*° To address this concern, we will make every effort to dismiss as quickly as possible any
petitions, complaints, or other filings that rely on a station’s Form 395-B filing as the basis of the petition,
complaint, or other filing. Moreover, broadcasters in that situation may apprise lenders of our intent to
dismiss such complaints and point to our rule disallowing the use of the data for compliance purposes.

47. Broadcaster groups mistakenly assert that reinstating a public collection of Form 395-B
violates D.C. Circuit precedent, which the State Associations argue effectively invalidated the use of the
Form 395-B for all purposes.!°’ In arguing that the Lutheran Church decision invalidated Form 395-B,
however, the State Associations erroneously treat all the EEO requirements in effect at the time of
Lutheran Church as one inseparable rule that the D.C. Circuit vacated.'** The State Associations are

Congress. Such data will not be used for the purpose of assessing any aspect of an individual broadcast
licensee’s compliance with the equal employment opportunity requirements of § 73.2080.

47 CFR § 73,3612 Note.

153 See Order on Reconsideration, infra at Section IV.

154 See MD/DC/DE Broadcasters, 236 F,3d at 19 (stating that “[a] regulatory agency may be able to put pressure
upon a regulated firm in a number of ways, some more subtle than others”); see also Lutheran Church, 141. F.3
353 (stating that statistics reflecting underrepresentation are “often the impetus . . . for the filing of a petition to
deny”).

155 NAB Comments at 15; State Associations Reply at 11-12; see also NAB 2004 Comments at 8-11; State
Associations 2004 Comments at 4-7, 8-11.

156 NAB Comments at 15; State Associations Reply at 14-15.
157 State Associations Reply at 6-8.

158 Td. at 6-7. The State Associations reference reply comments they filed in 2019 in another FCC proceeding. See
id. at 6-7, n.13. In that proceeding, after setting forth their analysis of the D.C. Circuit decisions, the State
Associations make the argument that Lutheran Church invalidated Form 395-B. Their argument regarding the
form’s validity rests on the court’s observation that “a hard-edged factor like statistics is bound to be one of the
more noticed screening criteria” and likely would attract the attention of third parties in addition to the Commission.
State Associations Reply, MB Docket No. 19-177, at 5-10, 28-30 (Nov. 4, 2019) (quoting Lutheran Church, 141
F.3d at 353). The State Associations repeat their point about third-party attention in this proceeding. State
(continued. ...)
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incorrect in asserting!>° that the court’s finding of unconstitutional pressure when the collection was
combined with the then-existing EEO program somehow invalidated the Form 395-B itself for any and all
other purposes. In fact, as noted above, what the Lutheran Church court found to be problematic was the
requirement to compare the racial composition of a station’s workforce with that of the local
population,! and not the requirement to report employment data to the Commission. The court’s finding
of unconstitutionality did not reach the Commission’s use of the form to gather data purely for statistical
purposes and without regard to a station’s EEO compliance. Indeed, the court did not even speak to the
form’s use in collecting employment data for the purpose of analyzing industry trends, let alone invalidate
it for that purpose.

48. Furthermore, we reject the suggestion that the finding in the MD/DC’DE Broadcasters
case somehow casts doubt on the legitimate use of Form 395-B data for industry trend reporting, given
that the Form 395-B was not even at issue in that case. The Form 395-B was only mentioned in the
background section of that decision, as the collection of the employee diversity data was irrelevant to the
data at issue in that case (i.e., applicant data). Rather, the court found the Commission’s revised EEO
program problematic because it determined that broadcasters proceeding under one aspect of the program
(Option B) could feel pressured to engage in race-conscious recruiting practices, given that Option B
required an annual reporting of the race, ethnicity, and gender information for each job applicant.!©!

49. Therefore, unlike applicant data required under Option B of the former EEO program, the
Form 395-B workforce data played no role in assessing a broadcaster’s compliance with the recruiting
tules at issue in MD/DC/DE Broadcasters. In the current situation no unconstitutional use of racial or
gender classifications arises from the Commission’s collection of annual employee data because we will
not use the collection of Form 395-B demographic data for purposes of assessing or enforcing a
broadcaster’s compliance our EEO rules.' Further, we find NAB’s argument that the court in
MD/DC’DE Broadcasters disparaged the use of “outputs” to measure “inputs” to be misplaced.'® First,
as noted above, the court was referring to applicant data—i.e., those applying to open job positions at the
station—as the output in that case, which was being used to evaluate a broadcaster’s outreach efforts and

Associations Reply at 6-7. However, the screening criteria under review in Lutheran Church were jettisoned two
decades ago and are no longer operative. Further, as repeatedly stated throughout this Order, the Commission has
made it clear that it will dismiss any third-party EEO complaints, petitions, or other filings that rely on Form 395-B
data.

159 See State Associations Reply at 6-7 (claiming that the linchpin for both the Lutheran Church and MD/DC/DE
Broadcasters decisions was the Form 395-B itself); see also NAB Comments at 11-14 (conflating collection of the
form’s data with concerns that the D.C. Circuit had about how such data was used).

160 Lutheran Church, J41 F.3d at 351-52.
161 MD/DC/DE Broadcasters, 236 F.3d at 19-20, 21-22.

162 2000 Reconsideration Order, 15 FCC Rcd at 22560, para. 40 (assuring “that data concerning the gender, race and
ethnicity of a broadcaster's or cable entity's workforce will be used only for purposes of analyzing industry trends
and reporting to Congress, and that it will not be used for the purpose of assessing any aspect of an individual
broadcaster's or cable entity's compliance with our EEO rules”); see also 47 CFR § 73,3612 Note.

163 In support, NAB quotes MD/DC/DE Broadcasters that “[m]easuring outputs to determine whether readily
measurable inputs were used . . . is evidence that the agency with life and death power over the [license (of a
broadcaster)] is interested in results, not process, and is determined to get them.” NAB Comments at 12-13 (quoting
MD/DC’DE Broadcasters, 236 F.3d at 19-20). The Court’s focus at the time, however, was the incentives such
measurement might create for broadcasters to “focus their recruiting efforts upon women and minorities, at least
until those groups generate a safe proportion of the licensee’s job applications,” which, as discussed above, is no
longer an element of the Commission’s EEO rules. See MD/DC/DE Broadcasters, 236 F.3d at 19-20 (emphasis
added); see also AAJC et al. Ex Parte at 20-23 (arguing that the Commission should “interpret MD/DC/DE
Broadcasters narrowly and not accede to questionable efforts to extend it”).

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the success of its EEO program in recruiting potential job applicants.'!** Employee data—.e., the
composition of the station’s workforce, which is captured by the Form 395-B—was not the “output” of
concern. Second, to the extent that employee data might be considered an output, the Commission now
explicitly prohibits the use of such data as a tool to measure a broadcaster’s “inputs” to its EEO program.
Furthermore, the court in MD/DC/DE Broadcasters never suggested that the collection of employee data
for statistical purposes factored into its analysis regarding the unconstitutionality of the outreach rules.

50. Based on the above, we conclude that reinstating collection of Form 395-B in a public
manner, where the form’s data can only be used for reporting and analyzing industry trends, is fully
consistent with the determinations in Lutheran Church and MD/DC/DE Broadcasters. The proposed
action 1s race- and gender-neutral and crucial to Congress’s and the Commission’s interest in
understanding broadcast employment trends. Because the Commission is the only entity with the
resources and expertise to expeditiously collect and compile this data, it is vital that the agency restart this
collection. With current data, the Commission, Congress, and the general public can better understand
developments in the broadcast sector.

51. Although no commenter raised a First Amendment issue, we clarify that requiring
stations to publicly disclose their workforce composition data does not constitute “compelled speech” on
matters of race and gender, in violation of the First Amendment. A requirement to report information to
the government fundamentally differs from the typical compelled speech case, which generally involves
situations where “the complaining speaker’s own message [is] affected by the speech it [is] forced to
accommodate.”'® Conversely, the Form 395-B report requires reporting of factual information to the
Commission—the station’s own employment figures—to allow the Commission to analyze trends. There
is no message being forced by the government.!“

52. Even assuming, arguendo, that broadcaster’s speech rights are implicated, our Form 395-
B requirement is consistent with the First Amendment, as it entails disclosure of “purely factual and
uncontroversial” information in a commercial context.!*” The D.C. Circuit has ruled that government
interests in addition to correcting deception can be invoked to sustain a mandate for disclosure of purely
factual information in the commercial context.'* The Zauderer test is satisfied here because disclosure of
workforce data is reasonably related to a substantial governmental interest (ensuring maximum accuracy
and utility of the data on which the government relies for analysis and reporting purposes), which
outweighs the “minimal” interest in not disclosing purely factual, uncontroversial information.'!® In the

164 See MD/DC/DE Broadcasters, 236 F.3d at 19-20.

165 Rumsfeld v. Forum for Acad. & Institutional Rights, Inc., 547 US. 47, 61 (2006). See, e.g., Pac. Gas & Elec. Co.
v. Pub. Util. Comm’n, 4758.1, 20 (1986) (requiring a utility company to distribute a third party’s newsletter in its
own billing envelopes is unconstitutional); Miami Herald Publ’g Co. v. Tornillo, 418 U.S. 241 (1974) (requiring
newspapers to publish replies from political candidates is unconstitutional).

166 Riley v. National Federation of the Blind of North Carolina, Inc., 4871US_781 (1988) (applying strict scrutiny to
a law requiring professional fund-raisers to disclose to potential donors the percentage of charitable contributions
actually turned over to charity, but explaining that a permissible alternative that would not raise First Amendment
concerns would be for the State to collect the same data from fundraisers and then publish it because this would not
“burden[] a speaker with unwanted speech during the course of a solicitation’).

167 Zauderer v. Office of Disciplinary Counsel, 471 US, 626, 651 (1985); see also id. at 652 n. 14. As noted above,
case law is not definitive on the question of whether workforce data constitutes “commercial information,” although
broadcasters contend it is, and courts have sometimes defined commercial information broadly to include
information submitted to an agency in which the submitter has a commercial interest. Order, supra, para. 31

168 American Meat Inst. v. USDA, 760 £34.18, 20 (D.C. Cir_2014) (en banc). Other circuits have also held “under
Zauderer that the prevention of consumer deception is not the only governmental interest that may permissibly be
furthered by compelled commercial speech.” See, e.g., CTIA-The Wireless Ass’n v. City of Berkeley, Cal., 928 F.3d
832, 845 (9th Cir_2019).

169 CTJA-The Wireless Association, 928 F.3d at 845-48.
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alternative, even assuming, arguendo, that our requirement is subject to heightened First Amendment
review, we find that our disclosure requirement satisfies even this higher standard.!”° The government has
a substantial interest in analyzing broadcast industry workforce information to support greater
understanding of the broadcast industry and to report to Congress about the same. Collecting this data
and making broadcasters’ Form 395-B filings publicly available directly advance this governmental
interest because without the data it would be impossible to assess changes, trends, or progress in the
industry and making the information public ensures maximum accuracy of the submitted data by
increasing the likelihood that erroneous data will be discovered and corrected and incentivizing stations to
file accurate data and thereby maximizes the utility of the data. Moreover, the requirement is not more
extensive than is necessary to serve that interest, because the data will be collected in a manner consistent
with the Commission’s previous, long-standing method of collecting the data and because, as this order
has made clear, the data collected will be used exclusively for the purpose of compiling industry
employment trends and making reports to Congress, and not to assess any aspect of a broadcaster’s
compliance with the EEO rules.!”!

C. The Commission Has Broad Authority to Collect Form 395-B

53. We find sufficient authority to reinstate the collection of Form 395-B, both pursuant to
the public interest provisions of the Act and section 334.!72, The Commission’s adoption of Form 395-B
preceded Congress’s passage of section 334 by more than two decades. As discussed above in Section II,
the form and the Commission’s EEO rules were rooted firmly in the Commission’s public interest
mandate under the Communications Act.! By codifying the Commission’s then existing EEO
requirements, as well as the collection of Form 395-B, Congress, in 1992, ratified the Commission’s pre-
existing authority to adopt such rules and forms.' As the Commission discussed extensively in the

170 Central Hudson vy. Public Service Commission of New York, 447 U.S. 557, 566 (1980) (requiring the regulation to
directly advance the substantial governmental interest asserted, and is not more extensive than is necessary to serve
that interest).

171 We note that requiring stations to submit their own workplace data is not putting any words into broadcasters’
mouths and cannot be construed as “mandat[ing] speech that ‘a speaker would not otherwise make,” such that it
might be argued we are imposing “a content-based regulation of speech.” Riley, 487 U.S. at 795. Thus strict
scrutiny does not apply here.

172 See supra para. 45 (describing the Commission’s legal authority to collect workforce data for industry monitoring
purposes independent of its authority to regulate its EEO program).

173 See Second Report and Order and Third NPRM, 17 ECC Red at 24028-29, para. 28 (stating that when the
Commission adopted rules in 1969 prohibiting broadcast stations from engaging in employment discrimination and
requiring them to maintain a program designed to ensure equal employment opportunities, the Commission drew its
authority from its public interest mandate and relied on sections 4(i), 303, 307, 308, 309, and 310 of the Act); see
also id. at 24030, para. 31 (noting that the Commission had adopted and enforced its EEO rules under its public
interest mandate for more than 30 years at that point).

174 See id. at 24030, para. 31 (noting that there is a substantial body of case law establishing the principle that
congressional approval and ratification of administrative interpretations of statutory provisions, including those
granting jurisdiction to regulate, can be inferred from congressional acquiescence in a long-standing agency policy
or practice); see also id. at n.62 (citing Haig v. Agee, 453 U.S, 280, 300-06 (1981) (long-standing interpretation by
the Secretary of State of its power under Passport Act of 1926 as encompassing the power to revoke passports to
prevent damage to national security or foreign policy was ratified by congressional acquiescence, even though
Secretary exercised power infrequently); Lorillard v. Pons, 434 U.S. 575, 580-85 (1978) (Congress is presumed to
be aware of administrative and judicial interpretations of a statute and to adopt and ratify those interpretations when
it re-enacts a statute without change or incorporates in a new law sections of a prior law that have a settled
interpretation); Zemel v. Rusk, 381 U.S, 1, 9-13 (1965) (Secretary of State’s interpretation of Passport Act of 1926 as
authorizing him to impose area restrictions was ratified by Congress when it left untouched the Secretary’s broad
rulemaking authority when it later enacted legislation relating to passports); Norwegian Nitrogen Products Co. v.
U.S., 288 U.S, 294, 313-15 (1933) (“administrative practice, consistent and generally unchallenged, will not be
overturned except for very cogent reasons if the scope of the command is indefinite and doubtful’).

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Second Report and Order and Third NPRM in this proceeding, the limitation imposed by section 334
regarding changes to the Commission’s then-existing EEO rules and forms evidenced Congress’s
approval of the Commission’s EEO approach (including the information collection) and its desire to
ensure its continuance.!?> Lawmakers’ express endorsement of the rules 30 years ago did not in any way
undermine the Commission’s pre-existing public interest authority. Moreover, the Commission also has
broad authority under the Communications Act to collect information and prepare reports.!”°

54. Despite this settled law, the State Associations challenge our authority to reinstate the
form’s collection, reviving arguments that the Commission rejected 20 years ago.!’’ First, they assert
that, rather than a grant of EEO authority, section 334 is a limitation on the Commission’s authority to
revise its EEO regulations and forms.'”® They suggest that the Commission is constrained from
reinstating Form 395-B because, in setting forth the permissible exceptions to its restriction on EEO
changes, Congress did not include, or later add, the situation where some provisions of the EEO rules are
deemed unenforceable, as occurred in Lutheran Church and MD/DC/DE Broadcasters.'” Second, the
State Associations posit that the Commission is taking inconsistent positions on the current force of
section 334.!8° They argue that, if section 334 is still in force and dictates reinstatement of Form 395-B,
then the Commission’s current EEO outreach rules violate the statutory provision because those rules
have undergone substantial revision.!8! The State Associations assert that the Commission “cannot have it
both ways” by rejecting the constraints of section 334 when it previously revised its EEO rules, but now
invoking the same provision to reinstate Form 395-B.1*?

55. We find that State Associations’ assertions unsound as a matter of law and logic. They
disregard the Commission’s public interest authority under the Act, which was the underpinning of the
Commission’s EEO rules and Form 395-B long before the passage of section 334. Further, the
commenters also misconstrue the impact of the court decisions on our section 334 authority. While
the Lutheran Church court invalidated elements of the EEO program requirements in effect in 1992,
thereby terminating their enforceability, it did not address the constitutionality of section 334 itself.
Moreover, the subsequent decision in MD/DC/DE Broadcasters did not imply that the unconstitutionality
of the previous regulations rendered section 334 inoperative.

56. We therefore continue to reject the State Associations’ false premise that section 334 was
somehow “neutered” by the D.C. Circuit decisions.'** Section 334 continues to provide authority for
reinstating Form 395-B. Moreover, as discussed above, we find ample legal authority separate from

175 See Second Report and Order and Third NPRM, J7 FCC Red at 24032, para. 38 (noting that Congress would not
have directed the Commission in section 22(g) of the 1992 Cable Act to review the effectiveness of its broadcast and
cable EEO policies and regulations then in effect, and recommend whether further legislative action was necessary,
had Congress not believed that those policies and regulations were within the Commission’s lawful authority).

176 See, e.g., 47U.S.C. 8§ 154(4) and (k), 303(r), and 403; see also Third Report and Order and Fourth NPRM, 19
FCC Red at 9974, para. 3.

17 See Second Report and Order and Third NPRM, 17 FCC Red at 24026-35, paras. 21-44.

178 State Associations Reply at 5-6.

1 Td.; but see ATULS.C. § 334(c) (allowing the Commission “to revise the regulations described in subsection (a) to
make nonsubstantive technical or clerical revisions in such regulations as necessary to reflect changes in technology,
terminology, or Commission organization’).

180 See State Associations Reply at 6.
181 Td.
182 Td.
183 Td.
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section 334 to reinstate collection of the form.!**
IV. ORDER ON RECONSIDERATION

57. In 2004, the State Associations filed a petition seeking reconsideration of the Third
Report and Order and Fourth NPRM.'* The petition asks the Commission: (1) to amend the Note to
section 73.3612 to, in their view, clarify and strengthen the Commission’s pledge to refrain from using
Form 395-B data for compliance or enforcement purposes; (2) to address the issue of confidential
treatment for Form 395-B; and (3) to issue a Fourth Report and Order resolving issues raised in the Third
Report and Order and Fourth NPRM and in petitions for reconsideration filed in response to the Second
Report and Order and Third NPRM.'*° Numerous parties jointly filed an opposition to the petition.!*”? We
hereby grant the State Associations’ petition in part, deny it in part, dismiss it in part, and defer it in part.

58. The State Associations seek an expansion of the Commission’s pledge to not use Form
395-B data to assess an individual broadcast licensee’s compliance with the EEO rules to read as follows,
with their proposed changes shown in italics:

Note to Section 73.3612: Data concerning the gender, race and ethnicity of a broadcast
station’s workforce collected in the annual employment report will be used only for
purposes of analyzing industry trends and making reports to Congress. Such data will not
be used for the purpose of assessing any aspect of an individual broadcast licensee’s or
permittee’s compliance with the nondiscrimination or equal employment opportunity
requirements of Section 73.2080. Accordingly, the Commission will not entertain any
allegation or showing that a broadcast licensee or permittee has violated any aspect of
Section 73.2080 on the basis that the station’s workforce does not reflect a certain
number of persons of a particular gender, race or ethnicity either overall or in any one
or more job categories.'*8

59. Based on the record stemming from the State Associations’ 2004 petition for
reconsideration and the determinations made in the Fourth Report and Order above, we find it
appropriate to make certain changes to the language of section 73.3612 of our rules. With regard to the
first of the State Associations’ proposed changes, the opposing parties do not object to adding the phrase

“or permittee’s,” and we agree to make that change because permittees also are required to file Form 395-
B.18° We also find that explicitly stating in the rule itself that we will not use Form 395-B data to assess

184 We also find to be spurious State Associations’ assertion that the specific language of section 634 of the Act
regarding the obligations the Act places on MVPDs regarding their annual employment filing requirements
somehow undermines our authority to reinstate the Form 395-B collection, which both preceded the statutory
MVPD requirement and our authority for which has been ratified by Congress, as described in Section II above. See
id. at 7-8.

185 Joint Petition of State Broadcasters Associations for Reconsideration and/or Clarification of Third Report and
Order and Fourth NPRM, MM Docket No. 98-204, (filed July 23, 2004),
https://www.fcc. gov/ecfs/document/5511438304/1 (State Associations 2004 Petition).

186 Td. at 2-3. The State Associations filed a petition for reconsideration also in 2003 in response to the Second
Report and Order and Third NPRM, as did the Alaska Broadcasters Association et al. Joint Petition of State
Associations for Reconsideration and Clarification, MM Docket No. 98-204, at 20, https:/Awww.fcc.gov/
ecfs/document/5508559479/1 (filed Feb. 6, 2003) (State Associations 2003 Petition); Petition of Alaska
Broadcasters Association, et al. for Reconsideration, MM Docket No. 98-204, https://www.fcc.gov/
ecfs/document/5508736233/1 (filed Feb. 6, 2003).

187 Opposition of NOW et al. to Petition for Reconsideration and/or Clarification, MM Docket No. 98-204,
https://www.fcc. gov/ecfs/document/5511635880/1 (filed Sept. 7, 2004) (NOW et al. Opposition).

188 State Associations 2004 Petition at 2-3.

189 See NOW et al. Opposition at 2 n.4 (expressing a lack of objection to the phrase “or permittee’s”).
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compliance with both the equal employment opportunity requirements and nondiscrimination
requirements of section 73.2080 of our rules is consistent with our statements in the Fourth Report and
Order above and with statements made by the Commission over the past two decades.!°

60. While the opponents to this change argue that we should not “categorically limit [our]
discretion to use EEO data as one of many factors in assessing a complaint of discrimination,” these same
opponents also acknowledge that the “Note itself, along with the text of [the] 3’ R&O, make it plain that
the FCC will not use annual employment data to assess compliance with the EEO rules of any individual
broadcast licensee.”!?! Hence, codifying the limitation is nothing more than memorializing in another
form a prohibition that the Commission has had in place for more than 20 years. This approach
minimizes confusion about our position. We do not, however, see any need to include the final sentence
suggested by the State Associations, as we find that it is essentially a repetition of the preceding sentence
now that we have added “nondiscrimination or” to the preceding sentence. Finally, to conform to
the publishing conventions of the National Archives and Records Administration’s Office of the Federal
Register, we will now incorporate what currently appears as a Note to Section 73.3612 into the rule itself.
The revised rule will read as follows:

Each licensee or permittee of a commercially or noncommercially operated AM, FM, TV, Class
A TV or International Broadcast station with five or more full-time employees shall file an annual
employment report with the FCC on or before September 30 of each year on FCC Form 395-B.
Data concerning the gender, race and ethnicity of a broadcast station’s workforce collected in the
annual employment report will be used only for purposes of analyzing industry trends and making
reports to Congress. Such data will not be used for the purpose of assessing any aspect of an
individual broadcast licensee’s or permittee’s compliance with the nondiscrimination or equal
employment opportunity requirements of Section 73.2080.

61. With regard to the State Associations’ petition on the issue of confidential treatment of
the Form 395-B data, we respond by adopting the Fourth Report and Order above, which reinstates the
Form 395-B data collection in a public manner. Most of the remaining issues raised in State
Associations’ petition for reconsideration of the Second Report and Order and Third NPRM are unrelated
to the Form 395-B filing requirement and, hence, we defer action on them here because they are beyond
the scope of this Order on Reconsideration.’ We dismiss as moot two specific issues raised in the
petition: (1) the ability to recruit via the internet, which the Commission addressed in the intervening time
period,'®? and (2) a modification to the effective date of the then new rules.'*

Vv. SECOND FURTHER NOTICE OF PROPOSED RULEMAKING

62. Having addressed the issues concerning the reinstatement of the Form 395-B data
collection, we now seek, by this Second Further Notice of Proposed Rulemaking (Second FNPRM), to

190 See, e.g., 2000 Reconsideration Order, 15 FCC Red 22548, 22558-59, para. 35 (stating that “we will summarily
dismiss any petition filed by a third party based on Form 395-B employment data” and “will not use this data as a
basis for conducting audits or inquiries.”); Third Report and Order and Fourth NPRM, 19 FCC Rcd at 9976, para. 9.

191 NOW et al. Opposition at 2.

192 State Associations 2003 Petition at 14-19 (putting forth arguments related to the Commission’s recruitment
tules); id. at 23-34 (addressing issues related to FCC Forms 396 and 397). In their 2004 petition, the State
Associations urge the Commission to address various issues raised by the State Associations in their 2003 petition.
See State Associations 2004 Petition at 7-8.

193 State Associations 2003 Petition at 4-8. This issue was addressed by the Commission in 2017. See Petition for
Rulemaking Seeking to Allow the Sole Use of Internet Sources for FCC EEO Recruitment Requirement, MB Docket
No. 16-410, Declaratory Ruling, 32 FCC Red 3685 (2017).

194 State Associations 2003 Petition at 12.
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refresh the existing record! regarding the statutorily mandated collection of Form 395-A data.!°° Similar
to the Form 395-B collected from broadcasters, Form 395-A seeks to gather workforce composition data
from multichannel video programming distributors (MVPDs) on an annual basis.!°7 The Commission
suspended the filing of Form 395-A in 2001 in the wake of the MD/DC/DE Broadcasters decision that
vacated certain aspects of the Commission’s EEO requirements for broadcasters.!°8 While the similar
requirements for MVPDs have never been challenged, the Commission suspended the collection of both
Forms 395-A and B, along with various EEO requirements, in order to analyze the impact of the
MD/DC’DE Broadcasters decision.’ In the Third Report and Order and Fourth NPRM, the
Commission reinstated Forms 395-A and B pending resolution of questions about confidential collection
and use.2°° As the Commission had not resolved those questions before today, however, the collection of
the Form 395-A remained suspended along with the Form 395-B. Despite that suspension, the
Commission from 2004 to 2021 continued to seek OMB approval for the information collection, and
during that time, OMB approved both Forms 395-A and B, subject to the agency’s resolution of
confidentiality issues regarding the forms’ collection and use.”°!

63. We now seek by this Second FNPRM to refresh the record stemming from the Third
Report and Order and Fourth NPRM regarding the collection of MVPD workforce composition data.
Consistent with the analysis provided in the Fourth Report and Order above for making Form 395-B data
public, we tentatively conclude that the collection of Form 395-A also should be reinstated and made
available for public review. We seek comment as to whether Congress’s directive that MVPD operators
make Form 395-A available for public inspection at their own facilities would be consistent with our
amending our rules to require that MVPD operators instead make Form 395-A publicly available through
the Commission-hosted Online Public Inspection File (OPIF). While section 634(d)(3)(B) of the Act
states thata MVPD should make Form 395-A available for public inspection at the MVPD’s central
office and at every office where five or more full-time employees are regularly assigned to work,?°
section 634(d)(4) of the Act permits the Commission to amend the requirements associated with Form
395-A as needed. We tentatively conclude that requiring the Form 395-A to be placed in the OPIF
would be more efficient for the public that wishes to review such reports, as OPIF provides one online
site for such review. We also tentatively conclude that hosting the reports in OPIF will reduce the
burdens placed on MVPDs, as this will relieve the MVPD of maintaining such reports at individual

195 See Third Report and Order and Fourth NPRM, 19 FCC Red at 9978-79, paras. 14-17.
196 ATULS.C. § 554(d)(3)(A)-(B).

197 The Multi-Channel Video Programming Distributor Annual Employment Report, Form 395-A can be found at
https://omb.report/icr/202301-3060-020/doc/128149601. Pursuant to section 634 of the Communications Act, since
1984 the Commission has required that MVPDs with six or more full-time employees file the FCC Form 395-A.
Section 634(d)(3)(A) of the Communications Act requires MVPDs with six or more full-time employees to “file
with the Commission an annual statistical report identifying by race, sex, and job title the number of employees in

each of [specifically identified full-time and part-time job categories].” 47 U.S.C. § 554 (d)(3)(A).
198 Suspension Order, 16 FCC Red at 2872-73.
199 Td.

200 Third Report and Order and Fourth NPRM, 19 FCC Red at 9978-79, paras. 13-17.

201 We note that although the filing of the Form 395-A has been suspended since 2001, OMB has most recently
approved the information collection through January 31, 2026. See Multi-Channel Video Programming Distributor
Annual Employment Report, FCC Form 395-A, https://omb.report/icr/202301-3060-020/doc/128149601 (last
visited Dec. 15, 2023).

202 ATULS.C. § 554(d)(3)(B).

203 AT U.S.C, § 554(d)(4) (stating that the “Commission may amend such rules from time to time to the extent
necessary to carry out the provisions of this section.”). See Second Report and Order and Third NPRM, 17 FCC
Red at 24025, para. 19 (discussing the Commission’s flexibility to modify the MVPD EEO requirements).

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central offices, including providing sufficient staffing for such offices. We also tentatively conclude that
our proposal to change the location of where the Form 395-A data will be housed from the MVPD’s
central office to the OPIF website is consistent with the basic intent of section 634(d)(3)(B), which is to
ensure that the public has access to the Form 395-A data. We seek comment on these tentative
conclusions. Alternatively, if section 634(d)(3)(B) were to be read to compel availability of Form 395-A
at MVPD offices, would it be within our authority and consistent with sound policy to additionally
require availability through OPIF?

64. As noted above in the Order on Reconsideration, we are modifying section 73.3612 of
our rules to specifically state that the Form 395-B data will not be used in assessing any aspect of an
individual broadcast licensee’s or permittee’s compliance with both the nondiscrimination and equal
employment opportunity requirements of section 73.2080. Despite the slight variation in the underlying
statutory authority for the collection of the workforce employment data from MVPDs versus broadcasters,
the Commission traditionally has treated both data collections in a similar manner. In this regard, the
Commission has imposed the same restrictions on the use of workforce composition data stemming from
both Forms 395-A and B.*** Consequently, we tentatively conclude that section 76.1802 of our rules
concerning the MVPD annual employment report should be modified so as to align with the
modifications made to section 73.3612 of our rules for broadcasters in the Order on Reconsideration
above. In the Order on Reconsideration above, we incorporated what appears as a Note to section
73.3612 into the rule itself to conform to the publishing conventions of the National Archives and
Records Administration’s Office of the Federal Register. We seek comment on our tentative conclusion
to do the same with regard to the language that currently appears as a Note to section 76.1802, to read as
follows:

Each employment unit with six or more full-time employees shall file an annual employment
report on the FCC Form 395-A with the Commission on or before September 30 of each year.
Data concerning the gender, race and ethnicity of an employment unit's workforce collected in the
annual employment report will be used only for purposes of analyzing industry trends and making
reports to Congress. Such data will not be used for the purpose of assessing any aspect of an
individual employment unit's compliance with our nondiscrimination or EEO rules for multi-
channel video program distributors.

65. As stated above in the Fourth Report and Order, the Form 395-B will include a
mechanism to provide further specificity about broadcaster employees’ gender identities.2°° We seek
comment on whether we should adopt a similar mechanism for the Form 395-A.

66. We also seek comment on the attendant costs and benefits of any proposals advanced in
response to this item.

67. Digital Equity and Inclusion. Finally, the Commission, as part of its continuing effort to
advance digital equity for all,?°° including people of color, persons with disabilities, persons who live in

204 See Third Report and Order and Fourth NPRM, 19 FCC Red at 9989, App. B. In that order, the Commission
adopted a Note to Section 76.1802, identical to the Note in the relevant EEO rule for broadcasters, stating that the
data collected would be used exclusively for the purpose of compiling industry employment trends and making
reports to Congress, and not to assess any aspect of an employment unit’s compliance with the EEO rules for multi-
channel video programming distributors. 47 CFR § 73,3612 Note (“Data concerning the gender, race and ethnicity
of a broadcast station’s workforce collected in the annual employment report will be used only for purposes of
analyzing industry trends and making reports to Congress. Such data will not be used for the purpose of assessing
any aspect of an individual broadcast licensee’s compliance with the Equal Employment Opportunity requirements
of § 73.2080.”); 47 CFR § 76.1802 Note (same).

205 See supra paras. 39-40.

206 Section 1 of the Communications Act of 1934 as amended provides that the FCC “regulat[es] interstate and
foreign commerce in communication by wire and radio so as to make [such service] available, so far as possible, to
(continued....)
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rural or Tribal areas, and others who are or have been historically underserved, marginalized, or adversely
affected by persistent poverty or inequality, invites comment on any equity-related considerations?” and
benefits (if any) that may be associated with the proposals and issues discussed herein. Specifically, we
seek comment on how our proposals may promote or inhibit advances in diversity, equity, inclusion, and
accessibility, as well the scope of the Commission’s relevant legal authority.

VI. PROCEDURAL MATTERS

68. Ex Parte Rules - Permit-But-Disclose. With respect to the Second Further Notice of
Proposed Rulemaking, this proceeding shall be treated as a “permit-but-disclose” proceeding in
accordance with the Commission’s ex parte rules.*°* Persons making ex parte presentations must file a
copy of any written presentation or a memorandum summarizing any oral presentation within two
business days after the presentation (unless a different deadline applicable to the Sunshine period applies).
Persons making oral ex parte presentations are reminded that memoranda summarizing the presentation
must (1) list all persons attending or otherwise participating in the meeting at which the ex parte
presentation was made, and (2) summarize all data presented and arguments made during the
presentation. If the presentation consisted in whole or in part of the presentation of data or arguments
already reflected in the presenter’s written comments, memoranda, or other filings in the proceeding, the
presenter may provide citations to such data or arguments in his or her prior comments, memoranda, or
other filings (specifying the relevant page and/or paragraph numbers where such data or arguments can be
found) in leu of summarizing them in the memorandum. Documents shown or given to Commission
staff during ex parte meetings are deemed to be written ex parte presentations and must be filed
consistent with rule 1.1206(b). In proceedings governed by rule 1.49(f) or for which the Commission has
made available a method of electronic filing, written ex parte presentations and memoranda summarizing
oral ex parte presentations, and all attachments thereto, must be filed through the electronic comment
filing system available for that proceeding, and must be filed in their native format (e.g., .doc, .xml, .ppt,
searchable .pdf). Participants in this proceeding should familiarize themselves with the Commission’s ex
parte rules.

69. Filing Requirements—Comments and Replies. Pursuant to Sections 1.415 and 1.419 of
the Commission’s rules, 47 CFR §§ 1.145, 1.419, interested parties may file comments and reply
comments on or before the dates indicated on the first page of this document. Comments may be filed
using the Commission’s Electronic Comment Filing System (ECFS). See Electronic Filing of Documents
in Rulemaking Proceedings, 63 FR 24121 (1998).

e Electronic Filers: Comments may be filed electronically using the Internet by
accessing the ECFS: https://apps.fcc.gov/ecfs/.

e Paper Filers: Parties who choose to file by paper must file an original and one
copy of each filing. Filings can be sent by commercial overnight courier, or by
first-class or overnight U.S. Postal Service mail. All filings must be addressed to
the Commissions Secretary, Office of the Secretary, Federal Communications

all the people of the United States, without discrimination on the basis of race, color, religion, national origin, or

sex.” 47U S.C. 8 151.

207 The term “equity” is used here consistent with Executive Order 13985 as the consistent and systematic fair, just,
and impartial treatment of all individuals, including individuals who belong to underserved communities that have
been denied such treatment, such as Black, Latino, and Indigenous and Native American persons, Asian Americans
and Pacific Islanders and other persons of color; members of religious minorities; lesbian, gay, bisexual,
transgender, and queer (LGBTQ+) persons; persons with disabilities; persons who live in rural areas; and persons
otherwise adversely affected by persistent poverty or inequality. See Exec. Order No. 13985, 86 Fed, Reg, 7009,
Executive Order on Advancing Racial Equity and Support for Underserved Communities Through the Federal
Government (Jan. 20, 2021).

208 AT CFR § 1.1200 et seq.
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Commission.

o Commercial overnight mail (other than U.S. Postal Service Express Mail
and Priority Mail) must be sent to 9050 Junction Drive, Annapolis
Junction, MD 20701.U.S.

co Postal Service first-class, Express, and Priority mail must be addressed to
45 L Street, NE, Washington DC 20554.

e ~=6Effective March 19, 2020, and until further notice, the Commission no longer
accepts any hand or messenger delivered filings. This is a temporary measure
taken to help protect the health and safety of individuals, and to mitigate the
transmission of COVID-19.2°

e During the time the Commission’s building is closed to the general public and
until further notice, if more than one docket or rulemaking number appears in the
caption of a proceeding, paper filers need not submit two additional copies for
each additional docket or rulemaking number; an original and one copy are
sufficient.

70. Regulatory Flexibility Act. The Regulatory Flexibility Act of 1980, as amended (RFA)?!
requires that an agency prepare a regulatory flexibility analysis for notice and comment rulemakings,
unless the agency certifies that “the rule will not, if promulgated, have a significant economic impact on a
substantial number of small entities.”?!! Accordingly, we have prepared a Final Regulatory Flexibility
Analysis (FRFA) concerning the potential impact of rule and policy changes adopted in the Fourth Report
and Order on small entities. The FRFA is set forth in Appendix C. We have also prepared an Initial
Regulatory Flexibility Analysis [RFA) concerning the potential impact of rule and policy change
proposals on small entities in the Second Further Notice of Proposed Rulemaking. The IRFA is set forth
in Appendix D. Additionally, we have prepared a Final Regulatory Flexibility Certification (FRFC)
certifying that the rule and policy changes contained in the Order on Reconsideration will not have a
significant economic impact on a substantial number of small entities. The FRFC is set forth in Appendix
E.

71. Paperwork Reduction Act. Final Paperwork Reduction Act Analysis for Fourth Report
and Order and Order on Reconsideration in MB Docket No. 98-204. This Fourth Report and Order and
Order on Reconsideration may contain new or modified information collection requirements subject to
the Paperwork Reduction Act of 1995 (PRA), Public Law 104-13. All such changes will be submitted to
the Office of Management and Budget (OMB) for review under Section 3507(d) of the PRA. OMB, the
general public, and other Federal agencies will be invited to comment on any new or modified
information collection requirements contained in this proceeding. In addition, we note that pursuant to
the Small Business Paperwork Relief Act of 2002, Public Law 107-198, see 44 U.S.C. 3506(c)(4), we
previously sought specific comment on how the Commission might further reduce the information
collection burden for small business concerns with fewer than 25 employees. In this present document,
we have assessed the effects of reinstating the collection of information on Form 395-B from broadcasters
with five or more full-time employees and adding language to our rules clarifying that restrictions
regarding the Commission’s use of the collected data protect broadcast permittees as well as licensees.
We find that, with respect to businesses with fewer than 25 employees, the paperwork burden associated
with the completion and submission of Form 395-B will be minimal and the collection is necessary to

209 See FCC Announces Closure of FCC Headquarters Open Window and Change in Hand-Delivery Filing, Public
Notice, 35 FCC Red 2788 (2020).

710 See SUS.C § 604. The RFA, 5U. S.C. 8§ 601-612, was amended by the Small Business Regulatory
Enforcement Fairness Act of 1996 (SBREFA), Pub. L. No. 104-121, Title II, 110 Stat, 847 (1996).

211 SU S.C. § 605(b).

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serve the purpose of obtaining complete information on employment trends in the broadcast industry. As
it is customary for companies to routinely maintain employee information for various purposes, including
payroll, broadcasters should not have to engage in extensive research to complete and submit their Form
395-B.

72. Initial Paperwork Reduction Act Analysis for Second Further Notice of Proposed
Rulemaking in MB Docket No. 98-204. This Second Further Notice of Proposed Rulemaking may contain
proposed new or modified information collection requirements. The Commission, as part of its
continuing effort to reduce paperwork burdens, invites the general public and the Office of Management
and Budget (OMB) to comment on these information collection requirements, as required by the
Paperwork Reduction Act of 1995, Public Law 104-13. In addition, pursuant to the Small Business
Paperwork Relief Act of 2002, Public Law 107-198, see 44 ULS.C. § 3506(c)(4), we seek specific
comment on how we might further reduce the information collection burden for small business concerns
with fewer than 25 employees.

73. Congressional Review Act. The Commission has determined, and the Administrator of
the Office of Information and Regulatory Affairs, Office of Management and Budget, concurs, that this
tule is non-major under the Congressional Review Act, 5 U.S.C. § 804(2). The Commission will send a
copy of this Fourth Report and Order, Order on Reconsideration, and Second Further Notice of Proposed
Rulemaking to Congress and the Government Accountability Office pursuant to | ULS.C. § 80) (a)(1)(A).

74. People with Disabilities. To request materials in accessible formats for people with
disabilities (braille, large print, electronic files, audio format), send an e-mail to fec504@fcc.gov or call
the Consumer and Governmental Affairs Bureau at 202-418-0530 (voice, 202-418-0432 (tty)).

75. Providing Accountability Through Transparency Act. The Providing Accountability
Through Transparency Act of 2023 requires each agency, in providing notice of a rulemaking, to post
online a brief plain-language summary of the proposed rule.?!?, Accordingly, the Commission will publish
the required summary of this Second Further Notice of Proposed Rulemaking on

https://www.fec.gov/proposed-rulemakings.

76. Additional Information. For additional information on this proceeding, please contact
Christopher Sova of the Media Bureau, Industry Analysis Division, christopher.sova@fcc.gov, (202) 418-
1868.

VII. ORDERING CLAUSES

77, Accordingly, IT IS ORDERED that, pursuant to the authority contained in Sections 1,
4a), 4(k), 303(r), 307, 308, 309, 310, 334, 403, and 634 of the Communications Act of 1934, as amended,
ATULS.C. §§ 151, 154G), 154(k), 303(1), 307, 308, 309, 310, 334, 403, and 554, this Fourth Report and
Order, Order on Reconsideration, and Second Further Notice of Proposed Rulemaking IS ADOPTED.

78. IT IS FURTHER ORDERED that this Fourth Report and Order and Order on
Reconsideration SHALL BE EFFECTIVE 30 days after publication in the Federal Register. Compliance
with section 73.3612 of the Commission's rules, 47 CFR § 73,3612, which may contain new or modified
information collection requirements, will not be required until the Office of Management and Budget
completes review of any information collection requirements that the Office of Management and Budget
determines is required under the Paperwork Reduction Act. The Commission directs the Media Bureau to
announce the compliance date for the Fourth Report and Order and Order on Reconsideration by
subsequent Public Notice.

79, IT IS FURTHER ORDERED that the Joint Petition of the State Broadcasters
Associations for Reconsideration and/or Clarification the Third Report and Order and Fourth NPRM,
MM Docket No. 98-204 (filed July 23, 2004), is GRANTED IN PART, DENIED IN PART,

2122 SUSC. § 553(b)(4). The Providing Accountability Through Transparency Act of 2023, Pub. L. No. 118-9, 137
Stat, 55 (2023), amended section 553(b) of the Administrative Procedure Act.

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DISMISSED IN PART, and DEFERRED IN PART.

80. IT IS FURTHER ORDERED that the Media Bureau is hereby directed to make the
necessary changes to Form 395-B to provide for inclusion of gender non-binary information.

81. IT IS FURTHER ORDERED that the Commission’s Consumer and Governmental
Affairs Bureau, Reference Information Center, SHALL SEND a copy of this Fourth Report and Order,
Order on Reconsideration, and Second Further Notice of Proposed Rulemaking including the Final
Regulatory Flexibility Analysis and the Initial Regulatory Flexibility Certification, to the Chief Counsel
for Advocacy of the Small Business Administration.

82. IT IS FURTHER ORDERED that the Office of the Managing Director, Performance
Program Management, SHALL SEND a copy of this Fourth Report and Order, Order on
Reconsideration, and Second Further Notice of Proposed Rulemaking in a report to be sent to Congress
and the Government Accountability Office pursuant to the Congressional Review Act, 5U.S.C.§

801 (a) )(A)
FEDERAL COMMUNICATIONS COMMISSION

Marlene H. Dortch
Secretary

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APPENDIX A

Final Rules

The Federal Communications Commission amends Part 73 of Title 47 of the Code of Federal Regulations
as follows:

1.
2.

Delete Note to Section 73.3612.
Revise Section 73.3612 to read as follows:

Each licensee or permittee of a commercially or noncommercially operated AM, FM, TV, Class
A TV or International Broadcast station with five or more full-time employees shall file an
annual employment report with the FCC on or before September 30 of each year on FCC Form
395-B. Data concerning the gender, race and ethnicity of a broadcast station’s workforce
collected in the annual employment report will be used only for purposes of analyzing industry
trends and making reports to Congress. Such data will not be used for the purpose of assessing
any aspect of an individual broadcast licensee’s or permittee’s compliance with the
nondiscrimination or equal employment opportunity requirements of Section 73.2080.
Compliance with this section will not be required until this sentence is removed or contains a
compliance date, which will not occur until after the Office of Management and Budget
completes review of any information collection requirements pursuant to the Paperwork
Reduction Act or until after the Office of Management and Budget determines that such review is
not required. The Commission directs the Media Bureau to announce a compliance date for this
section 73.3612 by subsequent Public Notice and to cause this section 73.3612 to be revised
accordingly.
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APPENDIX B

Proposed Rules

The Federal Communications Commission proposes to amend Part 76 of Chapter 5 of Title 47 of the
Code of Federal Regulations (CFR) as follows:

1. The authority citation for part 76 continues to read as follows:
Authority: 47 U.S.C. 154, 155, 301, 303, 307, 309, 310, 334, 336, 339.
2. Amend § 76.1802 to read as follows:

Each employment unit with six or more full-time employees shall file an annual employment
report on the FCC Form 395-A with the Commission on or before September 30 of each year.
Data concerning the gender, race and ethnicity of an employment unit's workforce collected in the
annual employment report will be used only for purposes of analyzing industry trends and making
reports to Congress. Such data will not be used for the purpose of assessing any aspect of an
individual employment unit's compliance with our nondiscrimination or EEO rules for multi-
channel video program distributors.
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APPENDIX C

Final Regulatory Flexibility Act Analysis

1. As required by the Regulatory Flexibility Act of 1980, as amended (RFA)! an Initial
Regulatory Flexibility Analysis RFA) was incorporated in the 2021 Further Notice of Proposed
Rulemaking (Further Notice) to this proceeding.* The Federal Communications Commission
(Commission) sought written public comment on the proposals in the Further Notice, including comment
on the IRFA. The Commission received no comments on the IRFA. This present Final Regulatory
Flexibility Analysis (FRFA) conforms to the RFA.

A, Need for, and Objectives of, the Report and Order

2. This Fourth Report and Order reinstates the Commission’s annual collection of
broadcast workforce composition data by race and gender on FCC Form 395-B. We will use the collected
data to analyze industry trends and make reports to Congress. Before the form’s prolonged suspension
beginning in 2001,3 the Commission made the collected workforce data publicly available. As stated in
the Fourth Report and Order, we will continue with the public collection and dissemination of the data,
which is in alignment with the public interest. Other than the inclusion of a mechanism allowing
broadcasters to account in the Form 395-B for those employees who identify as gender non-binary, the
reinstated collection does not change the form’s reporting requirements. The inclusion of this
mechanism, which will allow for accurate data gathering, will incur only a minimal economic impact on a
substantial number of small entities.

3. The reinstatement arrives after a significant period of delay in collection, which created a
material gap in workforce composition data to be collected and analyzed by the Commission. Without
the data, the Commission is prevented from analyzing important industry trends and reporting to
Congress its analyses on the broadcast sector. A reinstituted collection of Form 395-B will allow us to
carry out the public interest authority of this agency, and to implement section 334 of the Act, which
instructs the Commission to collect broadcast workforce data.*

B. Legal Basis

4. The Fourth Report and Order is authorized under sections 1, 4(1), 4(k), 303(r), 307, 308,
309, 310, 334, and 403 of the Communications Act of 1934, as amended, 47 U.S.C. §§ 151, 154(4),
154(k), 303(1r), 307, 308, 309, 310, 334, and 403.

! See SUS.C_ § 603. The RFA, see 5U.S.C. 8§ 601-612, has been amended by the Small Business Regulatory
Enforcement Fairness Act of 1996 (SBREFA), Pub. L. No. 104-121, Title IT, 110 Stat. 847 (1996). The SBREFA
was enacted as Title II of the Contract With America Advancement Act of 1996 (CWAAA).

>5U SC. § 601(6); see infra note 9 (explaining the definition of “small business” under 5 U.S.C, § 601(3)); see 5
U.S.C. § 601(4) (defining “small organization” as “any not-for-profit enterprise which is independently owned and
operated and is not dominant in its field, unless an agency establishes, after opportunity for public comment, one or
more definitions of such term which are appropriate to the activities of the agency and publishes such definition(s)
in the Federal Register’); 5 U.S.C. § 601(5) (defining “small governmental jurisdiction” as “governments of cities,
counties, towns, townships, villages, school districts, or special districts, with a population of less than fifty
thousand, unless an agency establishes, after opportunity for public comment, one or more definitions of such term
which are appropriate to the activities of the agency and which are based on such factors as location in rural or
sparsely populated areas or limited revenues due to the population of such jurisdiction, and publishes such
definition(s) in the Federal Register’).

3 Suspension of the Broadcast and Cable Equal Employment Opportunity Outreach Program Requirements,
Memorandum Opinion and Order, 16 FCC Red 2872 (2001) (Suspension Order).

4 ATU S.C. § 334.
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C. Summary of Significant Issues Raised by Public Comments in Response to IFRA

5. There were no comments in response to IRFA notice.

D. Response to Comments by the Chief Counsel for Advocacy of the Small Business
Administration

6. Pursuant to the Small Business Jobs Act of 2010, which amended the RFA, the

Commission is required to respond to any comments filed by the Chief Counsel for Advocacy of the
Small Business Administration (SBA), and to provide a detailed statement of any change made to the
proposed rules as a result of those comments.> The Chief Counsel did not file any comments in response
to the Further Notice in this proceeding.

E. Description and Estimate of the Number of Small Entities to Which the Rules Apply

7. The RFA directs the Commission to provide a description of and, where feasible, an
estimate of the number of small entities that will be affected by the rules adopted herein.° The RFA
generally defines the term “small entity” as having the same meaning as the terms “small business,”
“small organization,” and “small government jurisdiction.” In addition, the term “small business” has the
same meaning as the term “small business concern” under the Small Business Act.’ A small business
concern is one which: (1) is independently owned and operated; (2) is not dominant in its field of
operation; and (3) satisfies any additional criteria established by the SBA.’ Below, we provide a
description of such small entities, as well as an estimate of the number of such small entities, where
feasible.

8. Television Broadcasting. This industry is comprised of “establishments primarily
engaged in broadcasting images together with sound.”® These establishments operate television broadcast
studios and facilities for the programming and transmission of programs to the public.!° These
establishments also produce or transmit visual programming to affiliated broadcast television stations,
which in turn broadcast the programs to the public on a predetermined schedule. Programming may
originate in their own studio, from an affiliated network, or from external sources. The SBA small
business standard for this industry classifies businesses having $41.5 million or less in annual receipts as

5 5 USC. § 604(a)(3).
6 SULS.C. § 603(b)(3).

TS5 USC. § 601(6); see infra note 9 (explaining the definition of “small business” under 5 U.S.C. § 601(3)); see 5
U.S.C. § 601(4) (defining “small organization” as “any not-for-profit enterprise which is independently owned and
operated and is not dominant in its field, unless an agency establishes, after opportunity for public comment, one or
more definitions of such term which are appropriate to the activities of the agency and publishes such definition(s)
in the Federal Register’); 5 U.S.C. § 601(5) (defining “small governmental jurisdiction” as “governments of cities,
counties, towns, townships, villages, school districts, or special districts, with a population of less than fifty
thousand, unless an agency establishes, after opportunity for public comment, one or more definitions of such term
which are appropriate to the activities of the agency and which are based on such factors as location in rural or
sparsely populated areas or limited revenues due to the population of such jurisdiction, and publishes such
definition(s) in the Federal Register’).

8 5U.S.C_ § 601(3) (incorporating by reference the definition of “small business concern” in 15 U.S.C. § 632(a)(1)).
Pursuant to U.S.C. § 601(3), the statutory definition of a small business applies “unless an agency, after
consultation with the Office of Advocacy of the Small Business Administration and after opportunity for public
comment, establishes one or more definitions of such term which are appropriate to the activities of the agency and
publishes such definition(s) in the Federal Register.” Jd.

° See U.S. Census Bureau, 2017 NAICS Definitions, “515120 Television Broadcasting, ”
https://www.naics.com/naics-code-description/?code=515120.

10 Td.

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small.!! 2017 U.S. Census Bureau data indicate that 744 firms in this industry operated for the entire
year.'? Of that number, 657 firms had revenue of less than $25,000,000. Based on this data we estimate
that the majority of television broadcasters are small entities under the SBA small business size standard.

9. As of September 30, 2023, there were 1,377 licensed commercial television stations.'* Of
this total, 1,258 stations (or 91.4%) had revenues of $41.5 million or less in 2022, according to
Commission staff review of the BIA Kelsey Inc. Media Access Pro Television Database (BIA) on
October 4, 2023, and therefore these licensees qualify as small entities under the SBA definition. In
addition, the Commission estimates as of September 30, 2023, there were 383 licensed noncommercial
educational (NCE) television stations, 380 Class A TV stations, 1,889 LPTV stations and 3,127 TV
translator stations.!> The Commission, however, does not compile and otherwise does not have access to
financial information for these television broadcast stations that would permit it to determine how many
of these stations qualify as small entities under the SBA small business size standard. Nevertheless, given
the SBA’s large annual receipts threshold for this industry and the nature of these television station
licensees, we presume that all of these entities qualify as small entities under the above SBA small
business size standard.

10. Radio Stations. This industry is comprised of “establishments primarily engaged in
broadcasting aural programs by radio to the public.”!© Programming may originate in their studio, from
an affiliated network, or from external sources.!? The SBA small business size standard for this industry
classifies firms having $41.5 million or less in annual receipts as small.'!® U.S. Census Bureau data for
2017 show that 2,963 firms operated in this industry during that year.!? Of this number, 1,879 firms
operated with revenue of less than $25 million per year.” Based on this data and the SBA’s small
business size standard, we estimate a majority of such entities are small entities.

1! See 13 CFR § 121.201; NAICS Code 515120 (as of 10/1/22 NAICS Code 516120).

2 See U.S. Census Bureau, 2017 Economic Census of the United States, Selected Sectors: Sales, Value of Shipments,
or Revenue Size of Firms for the U.S.: 2017, Table ID: EC1700SIZEREVFIRM, NAICS Code 515120,
https://data.census.gov/cedsci/table? y=2017&n=515120&tid=ECNSIZE2017.EC1700SIZEREVFIRM&hidePrevie

w=false.

13 Id. The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
meet the SBA size standard. We also note that according to the U.S. Census Bureau glossary, the terms receipts and
revenues are used interchangeably, see https://www.census.gov/glossary/#term_ReceiptsRevenueServices.

'4 Broadcast Station Totals as of September 30, 2023, Public Notice, DA 23-921 (rel. Oct. 3, 2023) (October 2023
Broadcast Station Totals PN), hittps://docs.fcc.gov/public/attachments/DA-23-921A1.pdf.

15 Td.

16U.S. Census Bureau, 2017 NAICS Definitions, “515112 Radio Stations,” https://www.naics.com/naics-code-
description/?code=515112.

7 Td.
18 See 13 CFR § 121.201; NAICS Code 515112 (as of 10/1/22 NAICS Code 516110).

19 See U.S. Census Bureau, 2017 Economic Census of the United States, Selected Sectors: Sales, Value of Shipments,
or Revenue Size of Firms for the U.S.: 2017, Table ID: EC1700SIZEREVFIRM, NAICS Code 515112,
https://data.census.gov/cedsci/table? y=2017&n=515112&tid=ECNSIZE2017.EC1700SIZEREVFIRM&hidePrevie

w=false. We note that the US Census Bureau withheld publication of the number of firms that operated for the
entire year.

20 Id. The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
meet the SBA size standard. We note that the U.S. Census Bureau withheld publication of the number of firms that
operated with sales/value of shipments/revenue in the individual categories for less than $100,000, and $100,000 to
$249,999 to avoid disclosing data for individual companies (see Cell Notes for the sales/value of shipments/revenue
in these categories). Therefore, the number of firms with revenue that meet the SBA size standard would be higher
(continued. ...)
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ll. The Commission estimates that as of September 30, 2023, there were 4,452 licensed
commercial AM radio stations and 6,670 licensed commercial FM radio stations, for a combined total of
11,122 commercial radio stations.?! Of this total, 11,120 stations (or 99.98 %) had revenues of $41.5
million or less in 2022, according to Commission staff review of the BIA Kelsey Inc. Media Access Pro
Database (BIA) on October 4, 2023, and therefore these licensees qualify as small entities under the SBA
definition. In addition, the Commission estimates that as of September 30, 2023, there were 4,263
licensed noncommercial (NCE) FM radio stations.22_ The Commission however does not compile, and
otherwise does not have access to financial information for these radio stations that would permit it to
determine how many of these stations qualify as small entities under the SBA small business size
standard. Nevertheless, given the SBA’s large annual receipts threshold for this industry and the nature of
radio station licensees, we presume that all of these entities qualify as small entities under the above SBA
small business size standard.

12. We note, however, that in assessing whether a business concern qualifies as “small”
under the above definition, business (control) affiliations*? must be included. Our estimate, therefore,
likely overstates the number of small entities that might be affected by our action, because the revenue
figure on which it is based does not include or aggregate revenues from affiliated companies. In addition,
another element of the definition of “small business” requires that an entity not be dominant in its field of
operation. We are unable at this time to define or quantify the criteria that would establish whether a
specific radio or television broadcast station is dominant in its field of operation. Accordingly, the
estimate of small businesses to which the rules may apply does not exclude any radio or television station
from the definition of a small business on this basis and is therefore possibly over-inclusive. An
additional element of the definition of “small business” is that the entity must be independently owned
and operated. Because it is difficult to assess these criteria in the context of media entities, the estimate of
small businesses to which the rules may apply does not exclude any radio or television station from the
definition of a small business on this basis and similarly may be over-inclusive.

F. Description of Projected Reporting, Recordkeeping, and Other Compliance
Requirements

13. In this section, we identify the reporting, recordkeeping and other compliance
requirements contained in the Fourth Report and Order and consider whether small entities are affected
disproportionately by any such requirements. By this Fourth Report and Order, broadcasters are required
to resume filing Form 395-B, which will be available to the public. The annual filing of Form 395-B will
require employment units to upload the form onto the Commission’s website. As recognized by the
Office of Management and Budget (OMB), the Commission has estimated in the instructions to Form
395-B that the form’s paperwork burden is minimal, taking each response, or form, approximately one
hour to complete.”* This estimate includes the time to read the instructions, look through existing records,
gather and maintain the required data, and actually complete and review the form or response.?> Because
this Fourth Report and Order contains no new reporting or recordkeeping requirements, other than the
option of filling in a comment box on a voluntary basis, and only resumes the filing of an existing form,

that noted herein. We also note that according to the U.S. Census Bureau glossary, the terms receipts and revenues
are used interchangeably, see https://www.census.gov/glossary/#term ReceiptsRevenueServices.

21 Broadcast Station Totals as of September 30, 2023, Public Notice, DA 23-921 (rel. Oct. 3, 2023) (October 2023
Broadcast Station Totals PN), hittps://docs.fcc.gov/public/attachments/DA-23-921A1 pdf.

22 Td.

23 “? Business concerns] are affiliates of each other when one concern controls or has the power to control the other
or a third party or parties controls or has the power to control both.” 13 CFR § 21.103(a)(1).

4 Form 395-B, the broadcast station Annual Employment Report (including the instructions), can be found at
https://omb.report/icr/202004-3060-047/doc/100723701.

25 Id.

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the reporting, recordkeeping and other compliance requirements of small entities will be no greater than
under the current rules. Additionally, broadcast employment units with less than five full-time employees
are exempt from filing statistical data.*° Because of this minimal reporting burden and due to the fact that
smaller station employment units are exempt, we conclude that small entities will not be
disproportionately affected by the Fourth Report and Order.

G. Steps Taken to Minimize Significant Economic Impact on Small Entities, and
Significant Alternatives Considered

14. The RFA requires an agency to describe any significant alternatives that it has considered
in reaching its proposed approach, which may include the following four alternatives (among others): (1)
the establishment of differing compliance or reporting requirements or timetables that take into account
the resources available to small entities; (2) the clarification, consolidation, or simplification of
compliance or reporting requirements under the rule for small entities; (3) the use of performance, rather
than design, standards; and (4) an exemption from coverage of the rule, or any part thereof, for small
entities.?’

15. This Fourth Report and Order reinstates the collection of broadcaster employment data
on Form 395-B. Collection of the Form 395-B was suspended in 2001 following two decisions by the
U.S. Court of Appeals for the District of Columbia Circuit (D.C. Circuit) vacating certain aspects of the
Commission’s equal employment opportunity rules.?8 This suspension had no relation to the impact of
the collection on small entities. As noted above, the filing requirement of Form 395-B importantly does
not apply to broadcast employment units with less than five full-time employees, thereby exempting a
large group of smaller entities from the filing requirements.” The Fourth Report and Order only leads to
a resumption of data collection efforts and imposes no new requirements for which the Commission can
find alternatives that would minimize the economic burden on small entities.

H. Report to Congress

16. The Commission will send a copy of the Fourth Report and Order, including this FRFA,
in a report to be sent to Congress pursuant to the Congressional Review Act.*° In addition, the
Commission will send a copy of the Fourth Report and Order, including this FRFA, to the Chief Counsel
for Advocacy of the SBA. A copy of the Fourth Report and Order and FRFA (or summaries thereof)
will also be published in the Federal Register.*!

26 47 CFR § 73,3612.

27 See SULS.C. § 603(c).

28 See Suspension Order, 16 FCC Red at 2872. At that time, the Commission suspended collection of workforce
data from both MVPDs and broadcasters; however, the relevant D.C. Circuit opinions discussed above involved
EEO requirements pertaining only to broadcasters.

29 47 CFR § 73,3612.
30 See SULS.C. § 801 (a)(1)(A).

31 See SULS.C. § 604(b).

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APPENDIX D
Initial Regulatory Flexibility Act Analysis

1. As required by the Regulatory Flexibility Act of 1980, as amended (RFA),! the Commission
has prepared this Initial Regulatory Flexibility Analysis (IRFA) concerning the possible significant
economic impact on small entities of the policies and rules proposed in this Second Further Notice of
Proposed Rulemaking (Second FNPRM). The Commission requests written public comments on this
IRFA. Comments must be identified as responses to the IRFA and must be filed by the deadlines for
comments specified in the Second FNPRM. The Commission will send a copy of the Second FNPRM,
including this IRFA, to the Chief Counsel for Advocacy of the Small Business Administration (SBA).? In
addition, the Second FNPRM and IRFA (or summaries thereof) will be published in the Federal Register.*

I. Need for, and Objectives of, the Proposed Rules

2. The Second FNPRM seeks to refresh the record regarding the Commission’s annual
collection of broadcaster multichannel video programming distributor (MVPD) composition data by race
and gender on FCC Form 395-A.* In 2001, the Commission suspended the filing of Form 395-A after a
federal court decision vacated certain aspects of the Commission’s equal employment opportunity (EEO)
requirements for broadcasters.* Although the similar requirements for MVPDs have never been
challenged, the Commission suspended the collection of both the broadcasters’ Form 395-B and the
MVPDs’ Form 395-A, along with various EEO requirements, in order to analyze the impact of the federal
court decision. In 2004, the Commission reinstated Forms 395-A and B pending resolution of questions
about confidential collection and use of the forms’ data. Today, having resolved the issues related to the
confidentiality of the Form 395-B data in the Fourth Report and Order, the Commission now seeks
public comment on the legal issues pertaining to availability and confidentiality of Form 395-A data.

3. Consistent with the decision in the Fourth Report and Order above to make Form 395-B
data public, the Commission tentatively concludes in the Second FNPRM that the collection of Form 395-
A should also be reinstated in the same manner as it was previously with regard to public availability.
The Communications Act requires an MVPD to make its Form 395-A available for public inspection at
the MVPD’s central office and at every office where five or more full-time employees are regularly
assigned to work.° The Commission has traditionally treated Form 395-A and B data in the same manner
with regard to confidentiality. Consequently, the Second FNPRM seeks comment on whether instead of
(or in addition to) maintaining the Form 395-A at a MVPD’s central office, the form should now be
maintained on the Commission’s website similar to the requirement now established in the Fourth Report
and Order for broadcasters’ Form 395-B. Other than a proposal to include a mechanism in the Form 395-
A that would enable MVPDs to account for those employees who identify as gender non-binary, the
proposed reinstatement of this collection does not change the form’s reporting requirements. We predict

'SUSC § 603. The RFA, 5US.C_§§ 601-612, has been amended by the Small Business Regulatory
Enforcement Fairness Act of 1996 (SBREFA), Pub. L. No. 104-121, Title II, 110 Stat. 857 (1996). The SBREFA
was enacted as Title II of the Contract with America Advancement Act of 1996 (CWAAA).

>S5U SC. § 603(a).
3 Id.

4 Form 395-A, the MVPD station Annual Employment Report, can be found at https://omb.report/icr/202301-3060-
020/doc/128149601.

5 See Suspension Order, 16 FCC Red at 2872. In this order, the Commission suspended the equal employment
opportunity outreach program requirements applicable to broadcast licensees and MVPDs, which included the
requirement that broadcasters and MVPDs file a Form 395-B and 395-A, respectively, with the Commission on an
annual basis.

6 A7ULS.C, § 554(d)(3)(B).

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that inclusion of this mechanism, which would allow for accurate data gathering, would incur only a
minimal economic impact on a substantial number of small entities.

J. Legal Basis

4. The proposed action is authorized under sections 1, 2(a), 4(1), 44), 4(k), 303, 403, and
634(d) of the Communications Act of 1934, as amended 47 ULS.C. §§ 151, 152(a), 154(), 154(k), 303
403, and 554(d).

K. Description and Estimate of the Number of Small Entities to Which the Proposed
Rules Will Apply

5. The RFA directs agencies to provide a description of, and where feasible, an estimate of
the number of small entities that may be affected by the proposed revisions, if adopted.” The RFA
generally defines the term “small entity” as having the same meaning as the terms “small business,”
“small organization,” and “small governmental jurisdiction.”® In addition, the term “small business” has
the same meaning as the term “small business concern” under the Small Business Act (SBA).? A small
business concern is one which: (1) is independently owned and operated; (2) is not dominant in its field of
operations; and (3) satisfies any additional criteria established by the SBA.!° Below, we provide a
description of such small entities, as well as an estimate of the number of such small entities, where
feasible.

6. Cable Companies and Systems (Rate Regulation). The Commission has developed its
own small business size standard for the purpose of cable rate regulation. Under the Commission’s rules,
a “small cable company” is one serving 400,000 or fewer subscribers nationwide.!! Based on industry
data, there are about 420 cable companies in the U.S.12 Of these, only seven have more than 400,000
subscribers.! In addition, under the Commission’s rules, a “small system” is a cable system serving
15,000 or fewer subscribers.'* Based on industry data, there are about 4,139 cable systems (headends) in

TS USC. § 603(b)(3).

8 5 USC. § 601(6); see infra note 9 (explaining the definition of “small business” under 5 U.S.C. § 601(3)); see 5
U.S.C. § 601(4) (defining “small organization” as “any not-for-profit enterprise which is independently owned and
operated and is not dominant in its field, unless an agency establishes, after opportunity for public comment, one or
more definitions of such term which are appropriate to the activities of the agency and publishes such definition(s)
in the Federal Register’); 5 U.S.C. § 601(5) (defining “small governmental jurisdiction” as “governments of cities,
counties, towns, townships, villages, school districts, or special districts, with a population of less than fifty
thousand, unless an agency establishes, after opportunity for public comment, one or more definitions of such term
which are appropriate to the activities of the agency and which are based on such factors as location in rural or
sparsely populated areas or limited revenues due to the population of such jurisdiction, and publishes such
definition(s) in the Federal Register’).

° SUSC. § 601(3) (incorporating by reference the definition of “small business concern” in 15 U.S.C. § 632(a)(1)).
Pursuant to U.S.C. § 601(3), the statutory definition of a small business applies “unless an agency, after
consultation with the Office of Advocacy of the Small Business Administration and after opportunity for public
comment, establishes one or more definitions of such term which are appropriate to the activities of the agency and
publishes such definition(s) in the Federal Register.” Jd.

1015 U.S.C. § 632(a)(1)-(2)(A).
1! 47 CFR § 76,901(d).

12 S&P Global Market Intelligence, S&P Capital IQ Pro, U.S. MediaCensus, Operator Subscribers by Geography
(last visited May 26, 2022).

13 S&P Global Market Intelligence, S&P Capital IQ Pro, Top Cable MSOs 12/210 (last visited May 26, 2022); S&P
Global Market Intelligence, Multichannel Video Subscriptions, Top 10 (April 2022).

4 47 CER § 76,901 (c).

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the U.S.5 Of these, about 639 have more than 15,000 subscribers.!® Accordingly, the Commission
estimates that the majority of cable companies and cable systems are small.

7. Cable System Operators (Telecom Act Standard). The Communications Act of 1934, as
amended, contains a size standard for a “small cable operator,” which is “a cable operator that, directly or
through an affiliate, serves in the aggregate fewer than one percent of all subscribers in the United States
and is not affiliated with any entity or entities whose gross annual revenues in the aggregate exceed
$250,000,000.”!7 For purposes of the Telecom Act Standard, the Commission determined that a cable
system operator that serves fewer than 498,000 subscribers, either directly or through affiliates, will meet
the definition of a small cable operator.!® Based on industry data, only six cable system operators have
more than 498,000 subscribers.!® Accordingly, the Commission estimates that the majority of cable
system operators are small under this size standard. We note however, that the Commission neither
requests nor collects information on whether cable system operators are affiliated with entities whose
gross annual revenues exceed $250 million.” Therefore, we are unable at this time to estimate with
greater precision the number of cable system operators that would qualify as small cable operators under
the definition in the Communications Act.

8. Open Video Systems. The open video system (OVS) framework was established in 1996
and is one of four statutorily recognized options for the provision of video programming services by local
exchange carriers. The OVS framework provides opportunities for the distribution of video programming
other than through cable systems. OVS operators provide subscription services and therefore fall within
the SBA small business size standard for the cable services industry, which is “Wired
Telecommunications Carriers.”?! The SBA small business size standard for this industry classifies firms
having 1,500 or fewer employees as small.?? U.S. Census Bureau data for 2017 show that there were
3,054 firms in this industry that operated for the entire year.?? Of this total, 2,964 firms operated with
fewer than 250 employees.%* Thus, under the SBA size standard the majority of firms in this industry can
be considered small. Additionally, we note that the Commission has certified some OVS operators who

15 S&P Global Market Intelligence, S&P Capital IQ Pro, U.S. MediaCensus, Operator Subscribers by Geography
(ast visited May 26, 2022).

16 S&P Global Market Intelligence, S&P Capital IQ Pro, Top Cable MSOs 12/210 (last visited May 26, 2022).
747 U.S.C, § 543(m)(2).

18 FCC Announces Updated Subscriber Threshold for the Definition of Small Cable Operator, Public Notice, DA
23-906 (MB 2023) (2023 Subscriber Threshold PN). In this Public Notice, the Commission determined that there
were approximately 49.8 million cable subscribers in the United States at that time using the most reliable source
publicly available. Jd. This threshold will remain in effect until the Commission issues a superseding Public Notice.
See 47. CFR § 76,901(e)(1).

19 S&P Global Market Intelligence, S&P Capital IQ Pro, Top Cable MSOs 06/230 (last visited Sept. 27, 2023); S&P
Global Market Intelligence, Multichannel Video Subscriptions, Top 10 (April 2022).

20 The Commission does receive such information on a case-by-case basis if a cable operator appeals a local
franchise authority’s finding that the operator does not qualify as a small cable operator pursuant to § 76.901(e) of
the Commission’s rules. See 47 CFR § 76,910(b).

21 See U.S. Census Bureau, 2017 NAICS Definition, “517311 Wired Telecommunications Carriers,”
https://www.census.gov/naics/?input=5 173 11 &year=2017&details=5 17311.

2 See 13 CFR § 121,201, NAICS Code 517311 (as of 10/1/22, NAICS Code 517111).

23 See U.S. Census Bureau, 2017 Economic Census of the United States, Selected Sectors: Employment Size of Firms
for the U.S.: 2017, Table ID: EC1700SIZEEMPFIRM, NAICS Code 517311,
https://data.census.gov/cedsci/table?y=2017&n=517311&tid=ECNSIZE2017.EC1700SIZEEMPFIRM&hidePrevie

w=false.

24 Td. The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
meet the SBA size standard.

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are now providing service and broadband service providers (BSPs) are currently the only significant
holders of OVS certifications or local OVS franchises. The Commission does not have financial or
employment information for the entities authorized to provide OVS however, the Commission believes
some of the OVS operators may qualify as small entities.

9. Satellite Master Antenna Television (SMATV) Systems, also known as Private Cable
Operators (PCOs). SMATV systems or PCOs are video distribution facilities that use closed transmission
paths without using any public right-of-way. They acquire video programming and distribute it via
terrestrial wiring in urban and suburban multiple dwelling units such as apartments and condominiums,
and commercial multiple tenant units such as hotels and office buildings. SMATV systems or PCOs are
included in the Wired Telecommunications Carriers’ industry which includes wireline
telecommunications businesses.?> The SBA small business size standard for Wired Telecommunications
Carriers classifies firms having 1,500 or fewer employees as small.2° U.S. Census Bureau data for 2017
show that there were 3,054 firms in this industry that operated for the entire year.?’ Of this total, 2,964
firms operated with fewer than 250 employees.?8 Thus under the SBA size standard, the majority of firms
in this industry can be considered small.

10. Direct Broadcast Satellite (DBS) Service. DBS service is a nationally distributed
subscription service that delivers video and audio programming via satellite to a small parabolic “dish”
antenna at the subscriber’s location. DBS is included in the Wired Telecommunications Carriers industry
which comprises establishments primarily engaged in operating and/or providing access to transmission
facilities and infrastructure that they own and/or lease for the transmission of voice, data, text, sound, and
video using wired telecommunications networks.”? Transmission facilities may be based on a single
technology or combination of technologies.*° Establishments in this industry use the wired
telecommunications network facilities that they operate to provide a variety of services, such as wired
telephony services, including VoIP services, wired (cable) audio and video programming distribution; and
wired broadband internet services.*! By exception, establishments providing satellite television
distribution services using facilities and infrastructure that they operate are included in this industry.*?

11. The SBA small business size standard for Wired Telecommunications Carriers classifies
firms having 1,500 or fewer employees as small.** U.S. Census Bureau data for 2017 show that 3,054

25 See U.S. Census Bureau, 2017 NAICS Definition, “517311 Wired Telecommunications Carriers,”
https://www.census.gov/naics/?input=5 173 11 &year=2017&details=5 17311.

26 See 13 CFR § 121,201, NAICS Code 517311 (as of 10/1/22, NAICS Code 517111).

27 See U.S. Census Bureau, 2017 Economic Census of the United States, Selected Sectors: Employment Size of Firms
for the U.S.: 2017, Table ID: EC1700SIZEEMPFIRM, NAICS Code 517311,
https://data.census.gov/cedsci/table?y=2017&n=517311&tid=ECNSIZE2017.EC1700SIZEEMPFIRM&hidePrevie

w=false.

28 Td. The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
meet the SBA size standard.

29 See U.S. Census Bureau, 2017 NAICS Definition, “517311 Wired Telecommunications Carriers,”
https://www.census.gov/naics/?input=5 173 11 &year=2017&details=5 17311.

30 Td.

31 See id. Included in this industry are: broadband Internet service providers (e.g., cable, DSL); local telephone
carriers (wired); cable television distribution services; long-distance telephone carriers (wired); closed-circuit
television (CCTV) services; VoIP service providers, using own operated wired telecommunications infrastructure;
direct-to-home satellite system (DTH) services; telecommunications carriers (wired); satellite television distribution
systems; and multichannel multipoint distribution services (MMDS).

32 Td.
33 See 13 CFR § 121,201, NAICS Code 517311 (as of 10/1/22, NAICS Code 517111).
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firms operated in this industry for the entire year.** Of this number, 2,964 firms operated with fewer than
250 employees.** Based on this data, the majority of firms in this industry can be considered small under
the SBA small business size standard. According to Commission data however, only two entities provide
DBS service - DIRECTV (owned by AT&T) and DISH Network, which require a great deal of capital for
operation.*° DIRECTV and DISH Network both exceed the SBA size standard for classification as a
small business. Therefore, we must conclude based on internally developed Commission data, in general
DBS service is provided only by large firms.

L. Description of Projected Reporting, Recordkeeping, and Other Compliance
Requirements

12. In this section, we identify the reporting, recordkeeping, and other compliance
requirements contained in the Second FNPRM and consider whether small entities are affected
disproportionately by any such requirements. To a large degree, the Second FNPRM only seeks to
reinstitute the previous reporting, recordkeeping, or compliance requirements for collection of MVPD
workforce composition data on Form 395-A, as this collection was previously suspended in 2001. The
Second FNPRM, does, however, seek comment on whether to replace the existing requirement that a
MVPD maintain a copy of the Form 395-A at its central office with a requirement that a MVPD instead
upload a copy of its Form 395-A to the Commission’s website. Alternatively, if the statute were read to
compel availability of Form 395-A at MVPD offices, the Second FNPRM seeks comment on whether it is
within our authority and consistent with sound policy to additionally require availability through the
OPIF. So as to harmonize the MVPD requirements with those imposed on broadcasters, the Second
FNPRM also seeks comment on whether to modify the Commission’s rules so as to include a statement
that the Commission will not use the Form 395-A data when assessing compliance with both the
nondiscrimination and EEO requirements of its rules. Currently, the prohibition contained in the
Commission’s rules only references a restriction on the use of the Form 395-A data for assessing
compliance with the EEO rules. Because the only proposed modification in the Second FNPRM with
regard to reporting or recordkeeping obligations is merely a change in the location of where the Form
395-A will be housed (1.e., on the Commission’s website rather than (or in addition to) the MVPDs’
central office), we do not anticipate a significant change in the compliance burden for small entities.
Additionally, MVPD employment units with less than six full-time employees are exempt from filing the
statistical data requested on the form.” Hence, the Commission concludes that small entities will not be
disproportionately affected by the Second FNPRM.

M. Steps Taken to Minimize Significant Economic Impact on Small Entities, and
Significant Alternatives Considered

13. The RFA requires an agency to describe any significant alternatives that it has considered
in reaching its proposed approach, which may include the following four alternatives (among others): (1)
the establishment of differing compliance or reporting requirements or timetables that take into account
the resources available to small entities; (2) the clarification, consolidation, or simplification of
compliance or reporting requirements under the rule for small entities; (3) the use of performance, rather

34 See U.S. Census Bureau, 2017 Economic Census of the United States, Selected Sectors: Employment Size of Firms
for the U.S.: 2017, Table ID: EC1700SIZEEMPFIRM, NAICS Code 517311,
https://data.census.gov/cedsci/table?y=2017&n=517311&tid=ECNSIZE2017.EC1700SIZEEMPFIRM&hidePrevie

w=false.

35 Jd. The available U.S. Census Bureau data does not provide a more precise estimate of the number of firms that
meet the SBA size standard.

36 See Annual Assessment of the Status of Competition in the Market for the Delivery of Video Programming,
Eighteenth Report, Table III.A.5, 32 FCC Red 568, 595 (2017).

37 AT USC. § 554(d).

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than design, standards; and (4) an exemption from coverage of the rule, or any part thereof, for small
entities.*®

14. The Second FNPRM seeks to refresh the record regarding the Commission’s annual
collection of MVPD workforce composition data by race and gender on Form 395-A. It would lead to a
resumption of this data collection and would propose only to modify one of the locations where the Form
395-A should be retained, by seeking comment on whether an MVPD should retain a copy on the
Commission’s website in lieu of (or in addition to) at the MVPDs’ central office. To the extent MVPDs
were maintaining hard copies of the Form 395-A at their central offices, we anticipate that storing an
electronic copy on the Commission’s website will minimize the economic burdens on MVPDs. Where
maintenance of a hard copy necessitates the use of MVPD staff time to monitor public access to the Form
395-A, retention of an electronic copy on the Commission’s website presents itself as a simple and
straightforward process, requiring only a minimal degree of navigating the Commission’s database
system to upload the information. Further, as detailed in the Second FNPRM, the collection of MVPD
workforce composition data and providing the data for public inspection are required by section 634(d) of
the Act.*°

N. Federal Rules that May Duplicate, Overlap, or Conflict with the Second FNPRM

15. None.
38 See SU.S.C. § 603(c).

9 ATUS.C. § 554(d).

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APPENDIX E
Final Regulatory Flexibility Certification Analysis

1. For the reasons described below, we now certify that the policies and rules adopted in the
Order on Reconsideration will not have a significant economic impact on a substantial number of small
entities. The RFA generally defines the term “small entity” as having the same meaning as the terms
“small business,” “small organization,” and “small governmental jurisdiction.” In addition, the term
“small business” has the same meaning as the term “small business concern” under the Small Business
Act.! A “small business concern” is one which: (1) is independently owned and operated; (2) is not
dominant in its field of operation; and (3) satisfies any additional criteria established by the SBA.”

2. In this Order on Reconsideration, we make certain changes to the language of section
73.3612 to clarify our collection and use of Form 395-B data. We add language to the rule confirming
that the collection of Form 395-B data, and restrictions on the use of the data, also applies to broadcast
permittees. The Order on Reconsideration adds an explicit statement to its rules that it will not use Form
395-B data to assess compliance with both the equal employment opportunity requirements and
nondiscrimination requirements of section 73.2080. We find that this statement is consistent with our
statements in the Fourth Report and Order and other previous statements made by the Commission over
the past two decades.

3. The changes from the Order on Reconsideration will not have a significant economic
impact on a substantial number of small entities because such changes do not alter the type or extent of
information collected under Form 395-B. Rather, the Order on Reconsideration does nothing more than
memorialize in another form a prohibition that the Commission has had in place for more than 20 years.
Therefore, we certify that the changes provided in the Order on Reconsideration will not have a
significant economic impact on a substantial number of small entities. The Commission will send a copy
of this Order on Reconsideration, including a copy of this Final Regulatory Flexibility Certification, in a
report to Congress and the Government Accountability Office pursuant to the Small Business Regulatory
Fairness Act of 1996.3

'SUSC. § 601(6); see infra note 2 (explaining the definition of “small business” under 5 U.S.C, § 601(3)); see 5
U.S.C. § 601(4) (defining “small organization” as “any not-for-profit enterprise which is independently owned and
operated and is not dominant in its field, unless an agency establishes, after opportunity for public comment, one or
more definitions of such term which are appropriate to the activities of the agency and publishes such definition(s)
in the Federal Register’); 5 U.S.C. § 601(5) (defining “small governmental jurisdiction” as “governments of cities,
counties, towns, townships, villages, school districts, or special districts, with a population of less than fifty
thousand, unless an agency establishes, after opportunity for public comment, one or more definitions of such term
which are appropriate to the activities of the agency and which are based on such factors as location in rural or
sparsely populated areas or limited revenues due to the population of such jurisdiction, and publishes such
definition(s) in the Federal Register’).

75 USC. § 601(3) (incorporating by reference the definition of “small business concern” in 15 U.S.C. § 632(a)(1)).
Pursuant to 5 U.S.C. § 601(3), the statutory definition of a small business applies “unless an agency, after
consultation with the Office of Advocacy of the Small Business Administration and after opportunity for public
comment, establishes one or more definitions of such term which are appropriate to the activities of the agency and
publishes such definition(s) in the Federal Register.” Jd.

3 See SUS.C. § 801 (a)C1)(A).

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DISSENTING STATEMENT OF
COMMISSIONER BRENDAN CARR

Re: Review of the Commission’s Broadcast and Cable Equal Employment Opportunity Rules and
Policies; Fourth Report and Order, Order on Reconsideration, and Second Further Notice of Proposed
Rulemaking; MB Docket No. 98-204.

Today’s FCC Order takes two separate actions.

First, it reinstates the federal requirement that broadcasters file a document (known as Form 395-
B) every year with the FCC that lists the race and gender of their employees. I would have had no
objection here to an FCC decision limited to requiring broadcasters to file Form 395-B data with the
agency—after all, Congress passed a statute that directs the FCC to collect this information.! The FCC
could also have made this data available on an anonymized or otherwise aggregated basis that does not
disclose information about specific broadcast stations. Indeed, the Civil Rights Act of 1964 expressly
requires that the government keep this type of race and gender data confidential when it is collected by
the Equal Opportunity Employment Commission.? But instead of confining today’s decision to lawful
agency action, the FCC chooses a different course—one that violates the Constitution, as the D.C. Circuit
has already determined in not one but two separate FCC cases.

In particular, in the second part of today’s Order, the FCC decides that it will take the Form 395-
B demographic data and publish it on a station-by-station basis—meaning that the FCC will now post a
race and gender scorecard for each and every TV and radio broadcast station in the country.* In doing so,
the FCC caves to the demands of activist groups that have worked for years and across different industries
to persuade the federal government to obtain—and most importantly publish—this type of data about
individual businesses. This is no benign disclosure regime. The record makes clear that the FCC is
choosing to publish these scorecard for one and only one reason: to ensure that individual businesses are
targeted and pressured into making decisions based on race and gender. This is the exact same type of
pressure that the FCC created in at least two prior cases. In both instances, the D.C. Circuit invalided the
FCC’s rules because they violated the equal protection guarantees of the Due Process Clause of the Fifth
Amendment.’ The only difference this time around is that the FCC has violated the First Amendment as
well.

In the Further Notice portion of today’s decision, the FCC proposes to extend this same approach
to additional industries.

Let’s start with the FCC’s record of encouraging this type of discrimination. In Lutheran Church,
the D.C. Circuit reviewed an earlier FCC effort to use Form 395-B (the same form that is at issue in

! See 47 U.S.C. § 334. Notably, however, federal law prohibits the FCC from making any changes to Form 395-B
unless those changes are “nonsubstantive technical or clerical revisions,” id. at 334(c). Nonetheless, the FCC adds
an entirely new category of “gender non-binary” to Form 395-B today. In doing so, the FCC makes no argument
that adding this box constitutes a lawful addition that is either a nonsubstantive technical or clerical revision.

2 Civil Rights Act of 1964, Pub. L. No. 88-352, 78 Stat, 241, 264, § 709(e) (1964); see also 42 U.S.C. § 2000¢-8(e).

3 The only exception is for stations with four or fewer full-time employees.

4 Lutheran Church-Missouri Synod v. FCC, 14. F.3d 344 (D.C. Cir_1988); MD/DC/DE Broadcasters Ass’n v. FCC,
236 F.3d 13 (D.C. Cir_2001); see also Adarand Constructors Inc. v. Pena, 515 U.S. 200 (1995) (overruling Metro
Broadcasting, Inc., v. FCC, 497 US. 547 (1990)).

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today’s decision) as part of a set of agency regulations aimed at influencing broadcasters’ hiring practices.
As with today’s new rules, those FCC regulations did not expressly require broadcasters to hire
employees in accordance with fixed quotas.> Instead, those earlier FCC rules required broadcasters to
compare the composition of their workforce with the availability of minorities and women in its area. On
review, the D.C. Circuit found that those rules would operate, in the real world, in a manner that would
“oblige stations to grant some degree of preference to minorities in hiring.”® In particular, the court found
that the FCC’s approach of mandating the comparison of employees with the general population across
race and gender categories operated to “pressure license holders to engage in race-conscious hiring.””

The D.C. Circuit concluded that the FCC violated the Constitution because its “regulations pressure
stations to maintain a workforce that mirrors the racial breakdown of their [area].’®

After that appellate court loss, the FCC suspended the relevant regulations and sought comment
on a set of replacement rules. Those substitute rules required broadcasters to report the race and sex of
each job applicant. The FCC made clear that if the data collected did not demonstrate that a broadcaster’s
outreach efforts were reaching the entire community, then the FCC expected the broadcaster to modify
those efforts and in some cases face an FCC investigation. On appeal, the FCC once again claimed that
its regime did not impose any undue pressure on broadcasters to discriminate on the basis of race or
gender and only sought to encourage broad outreach on a race- and gender-neutral basis. Focusing on
how the rules would operate in the real world, the D.C. Circuit disagreed and struck them down in
MD/DC’DE Broadcasters Association.’ The court found that the regulations did more than encourage
broad outreach—they made clear that “the agency with life and death power over the licensee is interested
in results, not process, and it is determined to get them.”!° The FCC’s approach “clearly does create
pressure to focus recruiting efforts upon women and minorities” in violation of the Fifth Amendment, the
court determined.!! Ultimately, the court held that those FCC rules created “a race-based classification
that is not narrowly tailored to support a compelling governmental interest and is therefore
unconstitutional.”!”

The FCC’s history of unconstitutional conduct is not a trivial matter. The Supreme Court has
stated that ““‘[d]istinctions between citizens solely because of their ancestry are by their very nature
odious to a free people whose institutions are founded upon the doctrine of equality.’”!> Likewise, the
Supreme Court has written that racial classifications “threaten to stigmatize individuals by reason of their
membership in a racial group and to incite racial hostility.”!4 For this reason, the Supreme Court has said,
“governmental action based on race—a group classification long recognized as in most circumstances
irrelevant and therefore prohibited—should be subjected to detailed judicial inquiry to ensure that the
personal right to equal protection of the laws has not been infringed.”

5 Lutheran Church, 141 F.3d at 351.

6 Lutheran Church, 141 F.3d at 351.

7 Lutheran Church, 141 F.3d at 352.

8 Lutheran Church, 141 F 3d at 352.

° MD/DC’DE Broadcasters Ass’n, 236 F.3d at 13.
10 MD/DC/DE Broadcasters Ass’n, 236 F.3d at 19.
11 MD/DC/DE Broadcasters Ass’n, 236 F.3d at 19.
12 MD/DC/DE Broadcasters Ass’n, 236 F.3d at 15.
13 Rice v. Cayetano, 528 US, 495, 517 (2000) (quoting Hirabayashi v. United States, 320 U.S, 81, 100 (1943)).
4 Shaw v. Reno, 509.ULS, 630, 643 (1993).

15 Adarand, 515 US. at 227 (cleaned up).

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Today, for at least the third time now, the FCC once again seeks to pressure broadcasters into
making hiring decisions on the basis of race and gender. It does so, as noted above, by requiring
broadcasters to publicly disclose, on a station by station basis, a scorecard that lists the racial and gender
breakdown of every employee.

As a threshold matter, the FCC argues that its decision merely adopts a disclosure regime and
involves no pressure at all on broadcasters to engage in race- or gender-based discrimination. But this
argument ignores both the Commission’s own history with Form 395-B and the rulemaking record here.
Indeed, the FCC Order goes so far as to assert that, “[b]ased on the record before us, we find no basis to
conclude that the demographic data on a station’s annual Form 395-B filing would lead to undue public
pressure.””!6

To the contrary, the record is overflowing with this type of evidence. For instance, one filer
states: “We, the undersigned investors, with collective assets under management or advisement of
approximately $266 billion, write to urge the . . . [FCC] to require the disclosure of equal opportunity
employment statistics among the companies it regulates” because doing so “allows market participants to
assess whether companies stand by their public commitments to pursue diversity, equity and inclusion.””!”
You don’t have to read between the lines on that one. Or, as the D.C. Circuit stated in Lutheran Church
when it struck down one of the FCC’s prior attempts at imposing unconstitutional pressure on
broadcasters: “The risk lies not only in attracting the Commission’s attention, but also that of third
parties.” Like those investors, other organizations wrote that publicizing this data would be consistent
with President Biden’s Executive Order on Advancing Racial Equity and “allow the public to hold these
companies accountable.”!° Other commenters made similar points. So the FCC’s ostrich-like claim that
the record is devoid of any evidence that this public scorecard will be used to pressure broadcasters into
making race- and gender-based hiring decisions does not withstand even casual scrutiny; indeed, it only
raises additional questions under the law.”°

But even if the record were more opaque, the FCC would still not be in the clear. As the D.C.
Circuit stated in MD/DC/DE Broadcasters Association, a “regulatory agency may be able to put pressure
upon a regulated firm in a number of ways, some more subtle than others. The Commission in particular
has a long history of employing: [‘|a variety of sub silentio pressures and ‘raised eyebrow’ regulation . . .
all serv[ing] as means for communicating official pressures to the licensee.’”?! So too here. It is obvious
to everyone what is going on—or it should be. By requiring the public disclosure of these race and
gender scorecards, the FCC is ensuring that broadcast stations will be targeted by activist groups, media
campaigns, and conceivably the government itself—unless those broadcasters hire the right (if

16 Order at para. 17; see also id. (“the record contains no evidence of use of such data in this manner’).

7 Letter from Investors to FCC Chairwoman Jessica Rosenworcel, MB Docket Nos. 19-177, 98-204 (Nov. 16,
2022).

18 Lutheran Church, 141. F.3d at 353.

!° Letter from The Leadership Conference on Civil and Human Rights to FCC Chairwoman Jessica Rosenworcel,
MB Docket Nos. 19-177, 98-204 (Sept. 29, 2022).

20 SUSC & 706; see also Motor Vehicle Mfrs. Assn. v. State Farm Mut. Automobile Ins. Co., 463 U.S. 29, 42-44
(1983) (noting that agencies have an APA obligation to make reasoned decisions that account for record-based
evidence).

21 MC/DC/DE Broadcasters Ass’n, 236 F.3d at 19 (quoting Community-Service Broadcasting of Mid-America, Inc.
v. FCC, 593 F.2d 1102, 1116 (D.C. Cit_1978)).

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unspecified) mix and type of employees.” In other words, the FCC is standing up the same type of race-
and gender-based pressure campaign that the D.C. Circuit invalidated twice before. It is just doing so ina
more roundabout way. But the bank shot still counts. ?> Particularly given the FCC’s long history here,
broadcasters know the message the FCC is delivering and the results it wants to see. In cases like these,
“we are ‘not required to exhibit a naiveté from which ordinary citizens are free.’”*

This conclusion is only reinforced when one examines the reasons the FCC proffers for requiring
the public disclosure of these scorecards—rather than making the data available on an anonymized or
non-station-identifiable basis. It is quite obvious that the FCC’s stated rationales are nothing more than
pretext. And none of them establish a government interest sufficient to survive Fifth Amendment review.
Let’s go through all three of them.

First, the FCC argues that it is requiring these scorecards to be publicly disclosed because doing
so “will increase the likelihood that erroneous data will be discovered and corrected.”*> But there is no
record support at all for the agency’s claim that publicizing this data will render it more reliable. This is
not surprising. After all, how exactly does the FCC anticipate that a member of the public will verify the
reported race, ethnicity, and gender of an individual employee—including those that the FCC now says
can report as gender non-binary? It doesn’t. And, in any event, I don’t think the FCC should be
encouraging the public to engage in that type of conduct.

Second, the FCC argues that publicly disclosing the data is consistent with Congress’s goal of
maximizing the utility of data an agency collects.** But this argument proves too much. It says nothing at
all about the propriety of disclosing this particular set of data on a station-specific basis in light of the
FCC’s history of pressuring broadcasters and the agency’s own rulemaking record here, which counsels
against public disclosure. Indeed, the FCC’s normal practice is not to make all of the data it collects
publicly available in the interest of maximizing utility; it makes decisions based on the facts and
circumstances relevant to each data set.

Third, the FCC argues that by publicly disclosing all of the data about every covered broadcaster,
rather than disclosing it on an anonymous or non-station-identifiable basis, the FCC avoids the problem
of accidentally disclosing data about a specific station.2”, What? That is like deciding to sink a ship to

22 The FCC makes no claim in this Order—nor could it—that government officials from State AGs to Congress to
the FCC itself in a future rulemaking proceeding will not use this data to take action against broadcasters for failing
to meet some as-yet undefined hiring targets. This threat of potential future government action will naturally
operate to pressure broadcasters today—pressure that is not materially different than the forms the D.C. Circuit
addressed in Lutheran Church and MC/DC/DE Broadcasters Association.

23 See, e.g., Students for Fair Admissions, Inc. v. President & Fellows of Harvard Coll., 600 US. 181, 230 (2023)
(quoting Cummings v. Missouri, 71 U.S. (4 Wall.) 277, 325 (1866)) (““[W]hat cannot be done directly cannot be
done indirectly. The Constitution deals with substance, not shadows,’ and the prohibition against racial
discrimination is “levelled at the thing, not the name.””); see also Norwood v. Harrison, 413 U.S, 455, 465 (1973)
(cleaned up) (“Tt is axiomatic that [the government] may not induce, encourage or promote private persons to
accomplish what it is constitutionally forbidden to accomplish.”).

4 Dep’t of Commerce v. New York, 139 S.Ct. 2551, 2575-76 (2019) (quoting United States v. Stanchich, 550 F.2d
1294, 1300 (2nd Cit_1977) (Friendly, J.)).

25 Order at para. 15.
26 Order at para. 15 (citing The OPEN Government Data Act).

27 Order at para. 15. The FCC also proffers an interest in potentially using the data to run unspecified analyses or for
drafting yet-to-be-conceived reports. But that interest is not relevant to the question of posting the data publicly on a
(continued. ...)

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avoid the risk that it might spring a leak. It makes no sense, particularly in light of the fact that the FCC
regularly obtains and refrains from inadvertently disclosing a large and wide range of secret, sensitive,
and/or confidential data sets.

In other words, the only rationales the FCC offers for deciding to publicly disclose individual
broadcasters’ race and gender scorecards are pretextual. They only serve to confirm the FCC is acting for
the same reasons it did in Lutheran Church and in MD/DC/DE Broadcasters Association—to pressure
broadcasters into making race- and gender-based hiring decisions.

But the Fifth Amendment is not the only portion of the Constitution that the FCC violates today.
For similar reasons, today’s Order also runs afoul of the First Amendment. By requiring stations to
publicly disclose their workforce composition, the Order compels speech on matters of race and gender.
Compelled disclosures are typically subject to heightened First Amendment scrutiny. And the exception
for disclosures of “purely factual and uncontroversial information’* plainly does not apply here because
that exception is “limited to cases in which disclosure requirements are reasonably related to the State’s
interest in preventing deception of consumers.””? The FCC has made no claim that the public disclosure
of these scorecards bears any resemblance to consumer protection labels upheld under Zauderer.

The Order also flunks heightened First Amendment review, whether intermediate or strict
scrutiny. As noted above, the three governmental interests the FCC asserts for publicizing this content
ring hollow. They are either generic rationales applicable to any disclosure or unsupported in the record.
No other justification can save the Order, for it disclaims a governmental interest in using the data for any
other purpose, whether license renewal,°° EEO compliance,*! audits,** FCC enforcement,** or third-party
filings.** Even if a valid governmental interest existed, disclosure would not be narrowly tailored. The
Order provides no reason why publicizing race and gender data on a station-specific basis is necessary for
the Commission to conduct analysis or stay abreast of industry trends, at least compared to a less
restrictive alternative, like requiring broadcasters to submit the forms to the FCC on a confidential or non-
station identifiable basis. In short, the disclosures do not accomplish cognizable governmental interests in
a narrowly tailored manner.

We are thus left with one of two possibilities. At worst, the Order pretextually seeks to force
broadcasters into making race- and gender-based hiring decisions, a constitutionally offensive rationale
that cannot justify any rules. Or at best, Order pursues disclosure for disclosure’s sake, which violates the
First Amendment.*®

station-by-station basis because the FCC could pursue those interests while keeping the data confidential,
anonymized, or aggregated.

8 Zauderer v. Office of Disciplinary Counsel, 471 US, 626, 651 (1985).
29 R.J. Reynolds Tobacco Co. v. FDA, 696 F.3d 1205, 1213 (D.C. Cit_2012) (cleaned up).
30 See Order at para. 7.

31 See Order at para. 45.
32 See Order at para. 18.
33 See Order at para. 20.
34 See Order at para. 17.

35 See, e.g., National Institute of Family and Life Advocates v. Becerra, 138 S. Ct. 2361, 2373 (2018) (invalidating

abortion-related disclosures in medical facilities); Nat? Ass'n of Mfrs. v. SEC, 800 F.3d 518, 524 (D.C. Cir_2015)

(invalidating conflict mineral disclosures); Int'l Dairy Foods Ass'n v. Amestoy, 92 F.3d 67, 74 (2d Cit_1996)
(continued. ...)

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It did not have to be this way. As I conveyed to my Commission colleagues before casting my
vote, I would have supported today’s decision if it eliminated the public disclosure component and instead
required broadcasters to complete and file Form 395-B with the FCC on a non-public or non-station-
identifiable basis consistent with the way the Equal Employment Opportunity Commission treats this type
of data. Narrowly tailoring what is made public would have avoided the FCC playing a part in pressuring
broadcasters into making hiring decisions on the basis of race and gender in violation of the Fifth
Amendment. And it would have sidestepped a compelled disclosure that runs afoul of the First
Amendment. My suggestions were ultimately rejected, and we are now left with an item that runs
headlong into the Constitution. I dissent.

(invalidating hormone labeling requirement for milk) (“[W]e hold that consumer curiosity alone is not a strong
enough state interest to sustain the compulsion of even an accurate, factual statement.’’).

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STATEMENT OF
COMMISSIONER GEOFFREY STARKS

Re: In the Matter of Review of the Commission’s Broadcast and Cable Equal Employment
Opportunity Rules and Policies, MB Docket No. 98-204, Fourth Report and Order, Order on
Reconsideration, and Second Further Notice of Proposed Rulemaking

A ’98 docket number. A fourth report and order. Today’s item has a long history. Let me
summarize briefly: in 1970, the FCC, under its public interest authority, began requiring broadcasters to
submit annual employment reports listing the composition of their workforce in terms of race, ethnicity,
and gender. In 1992, Congress amended the Communications Act to affirm the Commission’s authority
to do so, specifically requiring the Commission to maintain its existing EEO regulations, including its
collection of workforce diversity data on Form 395-B. In 2001, following a pair of D.C. Circuit
decisions, the Commission temporarily suspended its collection of Form 395-B data as it reconsidered its
full suite of EEO rules. But an intended temporary suspension lasted more than 20 years.

Some might pretend that what we do today is a radical break outside of this agency’s authority. It
is not. Quite simply, today we reinstate a longstanding, statutorily-mandated requirement to collect
workforce diversity data from broadcasters.

We know how critical it is to have diversity in our media organizations. It’s clear —a successful
media organization serves its viewers, listeners, and readers. And an organization does that by ensuring
that its employees, its decisionmakers, reflect those viewers, listeners, and readers, and can speak for and
to them.'! Let me share an example that hits close to home. In December 2020, the Kansas City Star
issued an apology, acknowledging that over decades through its news coverage the paper had
“disenfranchised, ignored, and scorned generations of Black Kansas Citians” and “robbed an entire
community of opportunity, dignity, justice and recognition.” The paper explained: “Like most metro
newspapers of the early to mid-20" century, The Star was a white newspaper produced by white reporters
and editors for white readers and advertisers.”? These poignant words capture the harm at issue here.
Certainly, individual employees and candidates are harmed by a hostile work environment. But whole
communities are harmed when they are subjected to content that lacks balance, fairness, or accuracy.

We must get our arms around this issue. As always with good government, we start with data.
And data is most effective when it is available to everyone. The rules we reinstate today require
broadcasters to file their workforce composition data publicly. This data will enable the Commission to
monitor employment trends in the industry — as we know, a dynamic and fast-changing one — and report
to Congress on its learnings. It will give researchers new workforce composition information to explore.
And it will grant members of the public transparency — a window into their local broadcast station, not
just as a programmer, but as an employer.

Ultimately, the strength of this item speaks for itself. But I am proud to have been a voice for it
over the last five years. I’d like to thank the other voices who have joined with me. Thank you to

! See generally Alicia W. Stewart, “Why Newsroom Diversity Works,” Nieman Reports (June 10, 2015),
https://niemanreports.org/articles/why-newsroom-diversity-works/.

? Mike Fannin, “The Truth in Black and white: An apology from the Kansas City Star,” The Kansas City Star (Dec.
20, 2020), https:/Awww.kansascity.com/news/local/article247928045.html. Other papers, including the LA Times,
have made similar public apologies. See “Editorial: An examination of The Times’ failures on race, our apology
and a path forward,” Los Angeles Times (Sept. 27, 2020), https://www.latimes.com/opinion/story/2020-09-27/los-
angeles-timesapology-racism.

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Congresswoman Yvette Clarke and Senator Chris Van Hollen, who first raised the urgent need to restart
the collection of workforce diversity data in 2019, and who spoke up again last month in a letter to the
FCC to ensure we finished the job. Thank you to the Members of Congress who joined Rep. Clarke and
Sen. Van Hollen in that letter, including Senators Ben Ray Lujan and Raphael Warnock, Congressional
Hispanic Caucus Chair Nanette Diaz Barragan, and Congressional Black Caucus Chair Steven Horsford,
along with Reps. Delia C. Ramirez, Eleanor Holmes Norton, Kevin Mullin, André Carson, James P.
McGovern, Dan Goldman, Paul D. Tonko, Darren Soto, Frederica S. Wilson, Jim Costa, Marc A. Veasey,
Raul Ruiz, M.D., Al Green, Robin L. Kelly, Troy A. Carter, Sr., Alma S. Adams, Ph.D., Nydia M.
Velazquez, Jerrold Nadler, Bonnie Watson Coleman, Tony Cardenas, and Sheila Jackson Lee.

Thank you to Chairwoman Rosenworcel, for her support and attention to this proceeding, and to
Commissioner Gomez. And I especially thank the FCC staff who worked diligently to prepare this item.
From the Media Bureau: John Bat, James Elustondo, Rosemary Harold, Brendan Holland, Radhika
Karmarkar, Jake Riehm, Julie Salovaara, and Chris Sova. From the Office of General Counsel: Susan
Aaron, David Konczal, Joel Rabinovitz, and Jeff Steinberg. From the Enforcement Bureau: Elizabeth
Goldin and Lynn Kalagian. And from the Office of Economics and Analytics: Zaira Gonzalez, Kenneth
Lynch, Kim Markuch, and Andy Wise.

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DISSENTING STATEMENT OF
COMMISSIONER NATHAN SIMINGTON

Re: Review of the Commission’s Broadcast and Cable Equal Employment Opportunity Rules and
Policies, Fourth Report and Order, Order on Reconsideration, and Second Further Notice of
Proposed Rulemaking; MB Docket No. 98-204

Broadcast has a problem with minority engagement; broadcasters and their trade associations are
the first to acknowledge this unfortunate reality. Minority ownership and participation in broadcast has
been dismal for years and remains so, not least of which due to Commission leadership's recent scuttling
of the largest proposed minority-led purchase of a broadcast station group in history. The Commission
should be open to creative solutions to help improve minority participation in broadcast so that broadcast
workforces reflect the communities that they serve. So, directionally, I am aligned with my colleagues on
efforts to improve minority participation by better understanding the causes of the issue, and by providing
policy incentives to solve it.

Had the Commission’s Order today moved to collect and aggregate de-identified Form 395-B
data from broadcasters for public disclosure, I would have agreed with the majority and voted to approve.
Had the Commission today moved to collect attributable Form 395-B data for private Commission review
to aid in understanding the demographic contours of the broadcast marketplace and the impact of
Commission policy thereon—more akin to the extant data collection practices of the Equal Employment
Opportunity Commission—I would have agreed with the majority and voted to approve. I joined one of
my colleagues on the Commission in asking for the Order to be reframed to accomplish either. Our
suggested edits were rejected in favor of retaining the Order released today. I cannot approve this Order
because I do not think it is within our authority to implement: its claims to public interest supporting the
public disclosure of attributable 395-B data are specious and undergirded by glassy legal punctilios.
Turning to authority: in both Lutheran Church-Missouri Synod v. Federal Communications Commission
(‘Lutheran Church') and MD/DC/DE Broadcasters Associations vs. FCC (‘MD/DC/DE’), the central
consideration of the D.C. Circuit in determining whether the Commission had violated the Fifth
Amendment in its EEO policies was whether its practices, in fact, incentivized race-conscious hiring by
pressuring a broadcast licensee to engage in such hiring. To the Commission’s credit, the drafting of
today’s Order evinces sensitivity to this issue. It is true that, per this Order, the Commission will not
officially consider a station's demographic employment profile in any application pertaining to its
broadcast license. It is true that, per this Order, the Commission will not mandate any particular
demographic pattern in hiring in order to satisfy the Commission's EEO requirements. Yet, like
Frankenstein’s creature, the Commission's reanimation of Form 395-B comes at the cost of its
fundamental ungovernability, viz.: public disclosure of attributable demographic employment data. The
ineluctable question therefore is: ought the Commission to anticipate that its rule requiring public
disclosure of such data will pressure broadcast licensees to engage in race-conscious hiring practices? If
so, is the policy not vulnerable to challenge on constitutional grounds?

My colleagues today argue, in effect if not explicitly, that pressure to engage in race-conscious
hiring from outside of the Commission by third parties predictably generated by means of Commission
policy is legally nugatory. The Order contends that, so long as broadcasters are not pressured by the
Commission itse/f pressure from third parties knowingly generated by an instrumentality of Commission
policy lacks constitutional valence. Further, the Order contends that concerns over public pressure are
merely speculative. I cannot say that I agree with any of that.

The public inarguably pressures every large firm for which employment data are available (and,
indeed, even for those firms electing not to publicly disclose employment data) as it relates to “equity” in
staffing decisions. Responsive to these issues, some larger broadcasters already raise their hands and
elect to disclose demographic employment data. Yet a government policy mandating such disclosure, at a
minimum, implicates Fifth Amendment guardrails around incentivizing race-conscious hiring practices,
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precisely due to the widespread and predictable social pressure of which this Commission is, obviously,
aware. While it may be true that contending with workforce demographics is a legitimate question of
good corporate governance, it does not follow that a government mandate to disclose attributable
demographic employment data automatically passes constitutional muster so long as the implementing
agency takes no official notice of that data. If, predictably, regulatees are pressured to engage in race-
conscious hiring as a direct consequence of this Commission’s rules, I see no fine distinctions in the law
as to the etiology of the pressure immunizing our decision today from constitutional scrutiny.

Were the Order subject to strict scrutiny in judicial review—1t is at least possible that it will be—I am not
convinced that the “collect and disclose” rules we implement today would survive constitutional
challenge. Adarand Constructors, Inc. v. Pefia (‘Adarand’) and its progeny make it clear that the
Commission may collect this data. Yet while demographic data collection simpliciter does not subject
governmental action to strict scrutiny, bear in mind that today’s Order is at pains to discuss the social ill
at which collection and disclosure of attributable demographic employment data is intended to address:
minority participation in the broadcast workforce. In other words, when the effective goal of
demographic data collection and disclosure is to affect the hiring behavior of regulatees (that is, to
improve minority participation in the broadcast workforce), and when the only obvious modality of
improvement afforded by disclosure of attributable demographic employment data not otherwise afforded
by disclosure non-attributable data is public pressure, may the Commission still seek shelter beneath
Adarand?

Even if strict scrutiny were not to apply, there is no requirement that the Commission take a
maximalist position as to disclosure. This Commission ought, as a prudential matter, to tread lightly
where matters of suspect classification arguably are implicated. That is especially true where, as here, the
tules we adopt today invite comparison to actions taken by the Commission twice invalidated on Fifth
Amendment grounds.

Turning to policy: even were the Commission of constitutionally forbidden from taking the step
of public disclosure of attributable demographic employment data that it does today, it should not
anyway, because little or no new information appropriate for national policy consideration by this agency
will be revealed by its implementation.

Obviously, policy should rely on data: governmental collection and use of statistical data—
subject to a variety of scientific infirmities though it often is—is foundational to modern regulatory
rulemaking and lawmaking. And, incontrovertibly, it is possible that the collection and use of
demographic employment data can be used to aid in making rules and laws. Of greater controversy is
whether public analysis of policy-implicated datasets generates good rules and laws—especially as there
are many a slip twixt analytical cup and regulatory lip—but let us grant it for argument’s sake. It is in no
way obvious that, for the purposes of crafting national policy, which is inherently macroscopic, there is a
great enough delta in the informational value to the public data science community of demographic
employment data that is attributable to individual stations compared to data that is de-identified so as to
justify the publication of the former when the former is so constitutionally fraught. So, as regards the
publication of attributable demographic employment data: what policy good is left other than “name and
shame” for station owners? What is left other than the fully predictable application of public pressure on
individual licensees that this Order waves off as speculative? If the Commission’s collection of this data
were aimed merely at informing policy, why take the additional step of disclosure we take today?
Because the public disclosure of attributable demographic employment data this Order implements
predictably serves to increase pressure on broadcast licensees to engage in racially conscious hiring, in
violation of the Fifth Amendment and as explained by the D.C. Circuit in both Lutheran Church and
MD/DC’DE, and because I can find no other legitimate purpose for the publication of attributable
demographic employment data, I dissent from the Order.

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As to the Second Further Notice of Proposed Rulemaking, I see nothing that would vary my
thinking as it relates to the collection and disclosure of Form 395-A data, and so I dissent from that
portion of the item for identical reasons.

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REVIEW OF THE COMMISSION’S BROADCAST AND CABLE EQUAL

EMPLOYMENT AND OPPORTUNITY RULES AND POLICIES

EXHIBIT 2
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days of receiving the notification, OCR,
ASFR, or the HHS awarding agency
must provide the applicant or recipient
with email confirmation acknowledging
receipt of the notification. The HHS
awarding agency, working jointly with
ASFR and OCR, will then work
expeditiously to reach a determination
of applicant’s or recipient’s notification
request.

ii) If the notification is received
during the pendency of an investigation,
the temporary exemption will exempt
conduct as applied to the specific
contexts, procedures, or services
identified in the notification during the
pendency of the HHS awarding agency’s
review and determination, working
jointly with ASFR and OCR, regarding
the notification request. The notification
shall further serve as a defense to the
relevant investigation or enforcement
activity regarding the applicant or
recipient until the final determination of
the applicant’s or recipient’s exemption
assurance request or the conclusion of
the investigation.

(4) If the HHS awarding agency,
working jointly with ASFR and OCR,
makes a determination to provide
assurance of the applicant’s or
recipient’s exemption from the
application of the relevant statutory
provision(s) or that modified
application of certain provision(s) is
required, the HHS awarding agency,
ASER, or OCR, will provide the
applicant or recipient the determination
in writing, and if granted, the applicant
or recipient will be considered exempt
from OCR’s administrative investigation
and enforcement with regard to the
application of that provision(s) as
applied to the specific contexts,
procedures, or services provided. The
determination does not otherwise limit
the application of any other provision of
the relevant statute to the applicant or
recipient or to other contexts,
procedures, or services.

(5) An applicant or recipient subject
to an adverse determination of its
request for an exemption assurance may
appeal the Department’s determination
under the administrative procedures set
forth at 45 CFR part 81. The temporary
exemption provided for in paragraph
(£)(3) of this section will expire upon a
final decision under 45 CFR part 81.

(6) A determination under paragraph
(f) of this section is not final for
purposes of judicial review until after a
final decision under 45 CFR part 81.

(g) Any provision of this section held
to be invalid or unenforceable by its
terms, or as applied to any person or
circumstance, shall be severable from
this section and shall not affect the
remainder thereof or the application of

the provision to other persons not
similarly situated or to other, dissimilar
circumstances.

[FR Doc. 2024-08880 Filed 4-30-24; 4:15 pm]
BILLING CODE 4153-01-P

FEDERAL COMMUNICATIONS
COMMISSION

47 CFR Part 73

[MB Docket No. 98-204; FCC 24-18; FR ID
216196]

Review of the Commission’s
Broadcast and Cable Equal
Employment Opportunity Rules and
Policies

AGENCY: Federal Communications
Commission.

ACTION: Final rule.

SUMMARY: In this document, the Federal
Communications Commission
(Commission) adopted a Fourth Report
and Order and Order on
Reconsideration that reinstitutes the
collection of workforce composition
data for television and radio
broadcasters on FCC Form 395-B, as
statutorily required.

DATES: This rule is effective June 3,
2024.

FOR FURTHER INFORMATION CONTACT: For
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proceeding, please contact Radhika
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1523.

SUPPLEMENTARY INFORMATION: This is a
summary of the Commission’s Fourth
Report and Order and Order on
Reconsideration (“Fourth Report and
Order” and ‘“‘Order on
Reconsideration’’), FCC 24-18, in MB
Docket No. 98-204, adopted on
February 7, 2024, and released on
February 22, 2024. The complete text of
this document is available electronically
via the search function on the FCC’s
website at https://docs.fcc.gov/public/
attachments/FCC-24-18A1.pdf.

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Bureau at (202) 418-0530 (voice), (202)
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Synopsis

1. By this Fourth Report and Order
and Order on Reconsideration, we
reinstate the collection of workforce

composition data for television and
radio broadcasters on FCC Form 395—B
as statutorily required by the
Communications Act of 1934, as
amended (Act). The Commission
suspended its requirement that
broadcast licensees file Form 395-—B,
which collects race, ethnicity, and
gender information about a
broadcaster’s employees within
specified job categories, more than two
decades ago. After a long period of
inactivity, the Commission published in
the Federal Register on August 31,
2021, at 86 FR 48610, a Further Notice
of Proposed Rulemaking(MB Docket No.
98-204, FCC 21-88, 36 FCC Red 12055)
(FNPRM), seeking to refresh the public
record regarding the manner in which
the Form 395—B data should be
collected and maintained. After careful
consideration of the record, we reaffirm
the Commission’s authority to collect
this critical information and conclude
that broadcasters should resume filing
Form 395-B on an annual basis. Section
73.3612 of the Commission’s rules
provides that “[e]ach licensee or
permittee of a commercially or
noncommercially operated AM, FM, TV,
Class A TV or International Broadcast
station with five or more full-time
employees shall file an annual
employment report with the FCC on or
before September 30 of each year on
FCC Form 395-B.”’ We note that the
filing requirements of § 73.3612 do not
apply to Low Power FM Stations. Given
the importance of this workforce
information and Congress’s expectation
that such information would be
collected and available, we reinstate this
collection in a manner available to the
public consistent with the
Commission’s previous, long-standing
method of collecting this data.

2. Our ability to collect and access
Form 395-B data is critical because it
will allow for analysis and
understanding of the broadcast industry
workforce, as well as the preparation of
reports to Congress about the same.
Collection, analysis, and availability of
this information will support greater
understanding of this important
industry. We agree with broadcasters
and other stakeholders that workforce
diversity is critical to the ability of
broadcast stations both to compete with
one another and to effectively serve
local communities across the country.
Without objective and industry-wide
data, it is impossible to assess changes,
trends, or progress in the industry.
Consistent with how these data have
been collected historically, we will
make broadcasters’ Form 395-B filings
available to the public because we
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conclude that doing so will ensure
maximum accuracy of the submitted
data, is consistent with Congress’s goal
to maximize the utility of the data an
agency collects for the benefit of the
public, allows us to produce the most
useful reports possible for the benefit of
Congress and the public, and allows for
third-party testing of the accuracy of our
data analyses. Thus, with today’s action,
we restore the process of giving
broadcasters, Congress, and ourselves
the data needed to better understand the
workforce composition in the broadcast
sector. We find further that continuing
to collect this information in a
transparent manner is consistent with a
broader shift towards greater openness
regarding diversity, equity, and
inclusion across both corporate America
and government. Large media
companies have begun to make publicly
available copies of their EEO-—1 forms,
which are filed with the Equal
Employment and Opportunity
Commission, or variations thereof.
There is also movement towards more
open access to data collected by federal
agencies, as shown in the Foundations
for Evidence Based Policymaking Act,
which directs agencies to account for
their data collections and to make such
data available in readable formats to
support government transparency and
evidence-based rulemaking. We also
address a pending petition for
reconsideration from 2004 regarding our
use of Form 395-B data.

Background

3. For more than 50 years, the
Commission has administered
regulations governing the EEO
responsibilities of broadcast licensees.
At their core, the Commission’s EEO
rules prohibit employment
discrimination on the basis of race,
color, religion, national origin, or sex,
and require broadcasters to provide
equal employment opportunities. In
addition to broadly prohibiting
employment discrimination, the
Commission’s rules also require that all
but the smallest of broadcast licensees
develop and maintain an EEO program.
Specifically, the Commission requires
each broadcast station that is part of an
employment unit of five or more full-
time employees to establish, maintain,
and carry out a positive continuing
program to ensure equal opportunity
and nondiscrimination in employment
policies and practices. In addition, the
Commission historically collected
workforce employment data from
broadcasters through the annual
submission of Form 395-B.

4. Between 1970 and 1992, the
Commission, pursuant to its public

interest authority, required broadcasters
to submit annual employment reports
listing the composition of the
broadcasters’ workforce in terms of race,
ethnicity, and gender. In 1992, after
finding that, among other things,
“increased numbers of females and
minorities in positions of management
authority in the cable and broadcast
television industries advances the
Nation’s policy favoring diversity in the
expression of views in the electronic
media,’ Congress amended the Act,
affirming the Commission’s authority in
this area. Specifically, Congress added a
new section 334, which required the
Commission to maintain its existing
EEO regulations and forms as applied to
television stations. The forms included
the Commission’s collection of
workforce diversity information from
broadcasters on Form 395-B.
Submission of Form 395—B, however,
was subsequently suspended in 2001
following two decisions by the U.S.
Court of Appeals for the District of
Columbia Circuit (D.C. Circuit) vacating
certain aspects of the Commission’s EEO
rules.

5. With its decision in 1998, the D.C.
Circuit in Lutheran Church-Missouri
Synod v. FCC (Lutheran Church)
reversed and remanded a Commission
action finding that a broadcast licensee
had failed to make adequate efforts to
recruit minorities. The court found the
Commission’s EEO outreach rules,
which required comparison of the race
and sex ofa station’s full-time
employees with the overall availability
of minorities and women in the relevant
labor force, to be unconstitutional.
Specifically, the court concluded that
the use of broadcaster employee data to
assess EEO compliance in the context of
a license renewal pressured
broadcasters to engage in race-conscious
hiring in violation of the equal
protection component of the Due
Process Clause of the Fifth Amendment
of the Constitution. The court applied
strict constitutional scrutiny in reaching
its decision, finding that standard of
review was applicable to racial
classifications imposed by the federal
government. And pursuant to that
standard, it determined that the
Commission’s stated purpose of
furthering programming diversity was
not compelling, nor were its EEO rules
narrowly tailored to further that interest.
The court made clear, however, that
“filf the regulations merely required
stations to implement racially neutral
recruiting and hiring programs, the
equal protection guarantee would not be
implicated.” In reaching its decision,

the court referenced the Form 395—-B
only tangentially in its analysis.

6. On remand, in the First Report and
Order (MM Docket Nos. 98-204, 96-16,
FCG 00-20, 15 FCG Red 2329) (First
Report and Order) the Commission
crafted new EEO rules requiring that
broadcast licensees undertake an
outreach program to foster equal
employment opportunities in the
broadcasting industry. The Commission
also reinstated the requirement that
broadcasters annually file employment
data on Form 395-B with the
Commission, which it had suspended
after Lutheran Church. In adopting these
revised rules and reinstating the
information collection, the Commission
vowed to no longer use workforce
composition data when reviewing
license renewal applications or
assessing compliance with EEO program
requirements. Rather, the Commission
stated in the 2000 Reconsideration
Order (MM Docket Nos. 98-204, 96-16,
FCC 00-338, 15 FCC Red 22548) (2000
Reconsideration Order) that going
forward it would only use this
information ‘“‘to monitor industry
employment trends and report to
Congress,”’ and not to assess any aspect
of the individual broadcast licensee’s
compliance with the Equal Employment
Opportunity requirements of § 73.2080
of the Commission’s rules. The
Commission codified that position in
the governing regulations contained in
§ 73.3612.

7. Following adoption of the new EEO
outreach rules, which offered licensees
two ‘“‘Options” for establishing an EEO
program, several state broadcaster
associations challenged the revised EEO
rules. Upon review, the D.C. Circuit in
MD/DC/DE Broadcasters Associations v.
FCC (MD/DC/DE Broadcasters) found
that one element of the new rule,
namely Option B, which allowed
broadcasters to design their own
outreach programs but required
reporting of the race and sex of each
applicant, was constitutionally invalid.
The court determined that Option B
violated the equal protection component
of the Due Process Clause of the Fifth
Amendment because, by examining the
number of applicants and investigating
any broadcasters with “few or no”
minority applicants, the Commission
“pressured”’ broadcasters to focus
resources on recruiting minorities.
Because the court found that Option B
was not severable from Option A of the
rule, it vacated the entire EEO outreach
rule.

8. Although the D.C. Circuit in MD/
DC/DE Broadcasters vacated and
remanded the Commission’s revised
EEO outreach rules, it did not rule on
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the validity or constitutionality of Form
395—B. Nor did the court specifically
identify Form 395-B or the collection of
workforce diversity data as a core part
of the rule at issue in its analysis. The
court’s only mention of the collection of
workforce data was in the Background
section of its decision. Thus, notably, in
neither Lutheran Church nor MD/DC/DE
Broadcasters did the D.C. Circuit find
the collection of workforce composition
data itself to be invalid on constitutional
or any other grounds. After the decision,
the Commission suspended its EEO
rules in 2001, including Form 395-B, in
order to analyze the effects of MD/DC/
DE Broadcasters on the Commission’s
rules.

9. On November 20, 2002, the
Commission released its Second Report
and Order and Third NPRM (MM
Docket No. 98-204, FCC 02-303, 17 FCC
Rcd 24018) (Second Report and Order
and Third NPRM), establishing new
race-neutral EEO rules, eliminating the
Option B rule previously invalidated by
the court. The Commission’s new EEO
rules, which remain in place today,
were divorced from any data concerning
the composition of a broadcaster’s
workforce or applicant pool. The
Commission explained that the annual
employment report is ‘‘unrelated to the
implementation and enforcement of our
EEO program” and ‘‘data concerning the
entity’s workforce is no longer pertinent
to the administration of our EEO
outreach requirements.” The
Commission, however, deferred action
on issues relating to the annual
employment report form, in part
because it needed to incorporate new
standards for classifying data on race
and ethnicity adopted by the Office of
Management and Budget (OMB) in
1997. The Commission’s decision in
January 2001 to suspend the filing of
Form 395-B remained in effect at the
time of the Second Report and Order
and Third NPRM.

10. On June 4, 2004, the Commission
released its Third Report and Order and
Fourth NPRM (MM Docket No. 98-204,
FCG 04-103, 19 FCG Red 9973) (Third
Report and Order and Fourth NPRM)
readopting the requirement that
broadcasters file Form 395-B. In
addition, the Commission readopted the
Note to § 73.3612 of its rules that it had
previously adopted in 2000, stating that
the data collected would be used
exclusively for the purpose of compiling
industry employment trends and
making reports to Congress, and not to
assess any aspect of a broadcaster’s
compliance with the EEO rules. The
Commission stated that it did not
“believe that the filing of annual
employment reports will

unconstitutionally pressure entities to
adopt racial or gender preferences in
hiring,” but it acknowledged the
concerns raised by broadcasters and
sought comment on whether data
reported on the Form 395-B should be
kept confidential. Accordingly, while
the Commission acted at that time to
adopt revised regulations regarding the
filing of Form 395-B and updated the
form, the requirement that broadcasters
once again submit the form to the
Commission remained suspended until
the agency further explored the issue of
whether employment data could, or
should, remain confidential. Although
the requirement to file the forms on an
annual basis remained suspended after
2004, the Commission regularly sought
approval from OMB for the collection of
information on Form 395—B. OMB most
recently approved the information
collection for Form 395-B through
August 31, 2026, pending the
Commission’s resolution of whether the
data will be confidential.

11. Given the passage of time since
the Third Report and Order and Fourth
NPRM, the Commission released a
FNPRM on July 26, 2021, seeking to
refresh the 2004 record with regard to
Form 395—B. The FNPRM asked for
additional input on relevant
developments in the law relating to
public disclosure of employment data,
as well as the practical and technical
limitations associated with
implementing a system that could afford
varying degrees of station-level
anonymity. Interested parties filed
comments, including public interest
organizations and representatives of the
broadcast industry. Their arguments
range from asking that Form 395-B data
be made publicly available to
contending that reinstating the form
would amount to an unconstitutional
violation of race-based protections.
Many of these assertions largely
reiterate arguments addressed in the
Commission’s earlier orders, including
whether the filing requirement
constitutes unconstitutional pressure,
the ramifications of the D.C. Circuit
rulings, the directives of section 334,
and the potential substitutability of the
Equal Employment Opportunity
Commission’s (EEOC) EEO-1 form.

Discussion

12. Consistent with the Commission’s
authority pursuant to section 334, as
well as the public interest provisions of
the Act, we reinstate the collection of
FCC Form 395-B. In doing so, we affirm
the Commission’s prior determination
that the earlier court decisions in no
way invalidated our authority to collect
this data, which remains critical for

analyzing industry trends and making
reports to Congress. Further, we find
that reinstatement of this information
collection on a publicly available basis
is consistent with the protections
afforded to broadcasters by the
Constitution and relevant case law, as
detailed further below. The clear
separation of this information collection
from the Commission’s long-standing
EEO program requirements mitigates
any concerns that might be raised by the
broadcasters as to the collection of this
workforce data. In addition, the
Commission’s unequivocal statement
that it will not use station-specific
employment data for the purpose of
assessing a licensee’s compliance with
the EEO regulations and the codification
of that same stricture further underscore
the dissociation between the EEO
requirements and the form’s data.

B. Reinstatement of the Form 395-B
Collection

13. The Commission has a public
interest in collecting Form 395-B in
order to report on and analyze
employment trends in the broadcast
sector and also to compare trends across
other sectors regulated by the
Commission. In taking this action today,
we note that Congress has long
authorized the Commission to collect
this data and that the Commission is
uniquely positioned to undertake such a
collection. While commenters have
evinced an interest in improving the
level of diversity in the broadcasting
industry workforce, the lack of industry-
wide employment data over the last 22
years makes it difficult to measure the
extent of any such progress. While we
do not anticipate that this more than
two-decade long gap in data can ever be
filled, with the reinstatement of this
information collection the Commission
can ensure that the lack of data persists
no further, thereby providing it, the
industry, Congress, and the public with
a better understanding of, or insight
into, the full scope of the broadcast
industry workforce. Accordingly, in this
Order, we reinstate collection of Form
395-—B in the manner described below
and require the form to be submitted in
an electronic format. Once submitted,
the form will be accessible to the public
via the Commission’s website.

14. Reinstating the collection of the
Form 395-B data in a publicly available
format, as they were collected prior to
2001, remains the best approach for
achieving our ultimate goal of preparing
meaningful and accurate analyses of
workforce trends in the broadcast
industry. First, public disclosure will
increase the likelihood that erroneous
data will be discovered and corrected,
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and it will incentivize stations to file
accurate data to avoid third-party claims
that submitted data is incorrect.
Whether intentionally or inadvertently,
a station might misreport its data or
misidentify the racial, ethnic, or gender
group for particular employees.
Individuals or entities with a
connection to the station will be ina
position to correct such errors if the data
are made public. Second, making the
Form 395-B data publicly available is
consistent with Congress’s goal to
maximize the utility of the data an
agency collects for the benefit of the
public. Third, making the data public
bolsters our ability to conduct analyses
of trends across different
communications sectors, within
individual sectors, and by region or
market, without being unnecessarily
hampered by concerns about
inadvertent disclosures of identifiable
information. We believe the utility of
our reports is greatly enhanced by our
ability to “slice, dice, and display”’
granular data about the broadcast sector.
Our ability to produce the most
meaningful reports possible for
Congress rests, in turn, on the ability to
produce the most granular reports
possible (e.g., the number of employees
in a particular demographic group in a
specific job category among a certain
class of stations [AM, FM, TV, etc.] in

a specific geographic area). If we were
required, however, to keep confidential
the underlying station-specific data, we
would feel compelled to report our
findings at a more general, and thus less
useful, level to avoid the risk of
inadvertently facilitating any reverse
engineering of station-specific
information. This problem would be
especially acute in smaller markets,
where the identity of stations could be
discerned more easily.

15. In addition, allowing public
access to datasets allows others to
review the accuracy of an agency’s data
analyses and to question its methods for
data collection with the benefit of actual
datasets. We find this level of
transparency to be consistent with the
overall trend toward making
government data more accessible, and
we note that many government agencies
collect and publish demographic data as
part of their analysis of markets, trends,
and other factors. The FNPRM sought
comment on the logistics associated
with collecting and maintaining the
Form 395-B data completely
anonymously, or where station specific
information is available to the
Commission, but not to the public. Only
one commenter addressed this issue by
stating that the Commission’s Licensing

and Management System (LMS) enables
the shielding of certain exhibits
attached forms. Irrespective of whether
LMS can shield station-attributable data,
we conclude for the reasons stated
above that maintaining this data in a
publicly available format is the most
appropriate policy.

16. While broadcasters have
expressed concerns with how the form’s
data might be used if publicly disclosed,
such concerns have been addressed by
the Commission’s repeated statements
on the appropriate use of such data and
its amendment of the rules to prohibit
use of the data to assess a broadcaster’s
compliance with Commission EEO
rules. Notwithstanding the
Commission’s statements and actions,
broadcasters were troubled in 2004 by
comments made at that time positing
that public disclosure of employment
data would enable “citizens. . . to
work closely with their local
broadcaster to ensure that stations are
meeting their needs and to resolve any
problems with the companies in their
communities.’’ Broadcasters pointed to
those comments as evidence that third
parties would misuse Form 395-—B data
to pressure stations to engage in
preferential hiring practices. As an
initial matter, as the Commission has
committed to previously and we
reiterate here again, we will quickly and
summarily dismiss any petition,
complaint, or other filing submitted by
a third party to the Commission based
on Form 395—B employment data. We
also note that any attempt by a non-
governmental third party to use the
publicly available Form 395—B data to
pressure stations in a non-governmental
forum would not implicate any
constitutional rights of the station. In
any event, we find such concerns to be
speculative. Despite the public
availability of Form 395-B data for more
than 20 years prior to 2001, the record
contains no evidence of use of such data
in this manner. Nonetheless, we
encourage broadcasters to bring to the
Commission’s attention any evidence
that a third party has misused or
attempted to misuse Form 395—B
employment data. If evidence of such
misuse of the data emerges, the
Commission can reconsider its approach
to collection of the Form 395-B data.
Based on the record before us, we find
no basis to conclude that the
demographic data on a station’s annual
Form 395-8 filing would lead to undue
public pressure. We find broadcasters’
concerns with the public collection and
availability of this workforce data to be
overstated, outweighed by the
promotion of data accuracy and other

benefits of public disclosure noted
above, and therefore not an impediment
to our reinstatement of this collection.

17. Consistent with the limitations
placed on our use of the Form 395—B
data, we reject the commenter
recommendation that the Enforcement
Bureau use the data as evidence when
investigating a discrimination claim
against a station. We find that such use
does not comport with the
Commission’s public interest goal
behind collection of this data. The
Commission has stated previously in the
2000 Reconsideration Order, and we
reiterate here, that “we will summarily
dismiss any petition filed by a third
party based on Form 395—B employment
data”’ and ‘‘will not use this data as a
basis for conducting audits or
inquiries.”

18. Some commenters have raised a
concern that the Commission could
decide at a later date to waive its rule
regarding how the Form 395-B data can
be used. We believe that the
combination of the Commission’s
consistent position over two decades
about how this data may be used, the
established principle that “an agency is
bound by its own regulations,” our
rejection of a proposed contrary use,
and our determination in the attached
Order on Reconsideration should
assuage concerns on this point. We will
not further delay reinstatement of the
form based on unfounded conjecture
about what the Commission may or may
not do in the future.

19. Further, we reject the argument
that we should retain Form 395—B data
on a confidential basis given the EEOC’s
confidential treatment of similar
employment data collected on its EEO-
1 form. Unlike the Commission, the
EEOC’s authorizing statute specifically
limits its ability to make its collected
data publicly available. In the Civil
Rights Act of 1964, which created the
EEOC, Congress included a provision
making it unlawful for an EEOC officer
or employee to disclose such
information. However, when Congress
adopted section 334 in 1984, despite the
fact that in the preceding 20 years
Congress had not lifted the prohibition
on public disclosure by the EEOC,
Congress imposed no such limitation on
publishing the broadcast workforce data
collected by the Commission. Indeed,
when Congress adopted section 334 in
1984, the Commission had been
collecting broadcast workforce data and
making it available publicly for decades,
a practice Congress endorsed in passing
section 334 without any limitation on
public disclosure. In addition, the
manner in which the two agencies may
use their data differs significantly. The
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EEOC may use its EEO-1 data for
investigatory and enforcement purposes,
but by contrast, we will not use Form
395—B data for enforcement purposes.

20. Some commenters assert that the
Commission should rely on other data
sources, including the EEO-1 form, in
lieu of Form 395-B. Yet, section 334(a)
of the Act states that ‘‘except as
specifically provided in this section, the
Commission shall not revise. . . the
forms used by [television broadcast
station] licensees and permittees to
report pertinent employment data to the
Commission.’’ Pursuant to section 334
of the Act, we may change the form’s
provisions only “‘to make
nonsubstantive technical or clerical
revisions. . . as necessary to reflect
changes in technology, terminology, or
Commission organization.’’ As we
discuss further below, the alternative
data sources suggested by commenters
would both violate the section 334
prohibition on changes to the form and
impede our general public interest goal
of providing useful reports about
employment in the broadcast sector.

21. In particular, we continue to reject
the proposal, initially made nearly two
decades ago and dismissed by the
Commission at that time as being
inadequate, to rely on the EEOC’s EEO—
1 form in lieu of Form 395—B. We
reaffirm the Commission’s prior
conclusion that the EEO-1 form is not
an appropriate substitute for Form 395—
B, as the two forms differ greatly in the
data they collect. First, unlike the EEO—
1, Form 395-B distinguishes between
full and part-time employees, consistent
with our other employment data
collections, providing a more
comprehensive picture of the broadcast
industry workforce. Second, and more
importantly, reliance on the EEO-1 form
would significantly reduce the amount
of employment data available to the
Commission as the vast majority of
broadcast licensees do not file an EEO-
1 form. While the Form 395—B
collection applies to all broadcast
station employment units with five or
more full-time employees, the
submission of an EEO-1 form is
required only for entities with 100 or
more employees. In 2004, in response to
the same proposal to substitute the
EEO-1 form for Form 395-B, the
Commission calculated that the EEOC
data “would not include 6,592
employment units (79%) out of a total
of 8,395 units and would exclude
136,993 full-time employees (84%) out
of the 163,868 full-time employees in
broadcasting working at employment
units employing five or more full-time
employees.’ Consequently, we
determine that replacing Form 395—B

either partly or wholly with the EEO-1
form does not constitute a permitted
non-substantive modification of the
form itself under section 334. Nor
would such a substitution meet our
public interest goal of providing a
comprehensive report of employment in
the broadcast sector and comparing
employment trends across our
regulatees. For the reasons provided
above, we conclude that the EEO-1 form
is an unsatisfactory replacement for
Form 395-B. So as to reduce filing
burdens, we also reaffirm the procedural
practice of permitting broadcasters to
file only one Form 395-B for all
commonly-owned stations in the same
market that share at least one employee.

22. Similarly, we find to be inapposite
the suggestion to use the Radio
Television Digital News Association
(RTDNA) diversity survey as a
substitute for the Form 395—B
collection. As an initial matter, the
RTDNA data pertains only to TV and
radio newsrooms and not to the full
spectrum of the broadcast industry
workforce covered by Form 395-B.
Moreover, the RTDNA survey ultimately
is based on valid responses from those
broadcasters that choose to participate
in the survey, and, hence, the pool of
participants is essentially a self-selected
one. By contrast, all broadcast station
employment units with five or more
full-time employees must file the Form
395-B. Consequently, substituting Form
395-B with the RTDNA survey would
be inconsistent with the section 334
prohibition on changes and would
provide a less complete view of the
broadcast sector.

23. Since we have determined that the
benefits of making these reports public
outweigh the speculative harm from
doing so in light of the clear policy of
the Commission about how they may
and may not be used, we see no reason
to afford them confidentiality. We note,
however, that there is a question
whether they would in fact warrant
confidential treatment under the
Freedom of Information Act (FOIA) or
whether the Commission could satisfy
the requirements of the Confidential
Information Protection and Statistical
Efficiency Act of 2002 (CIPSEA). The
FNPRM sought comment on the
potential applicability of the CIPSEA or
the FOIA exemptions to the Form 395—
B data collection. As discussed below,
the record and our own analysis
demonstrate that CIPSEA is ill-suited for
an agency such as the Commission.
Similarly, the Form 395-—B data does not
fit neatly within FOIA Exemption 4, and
in any event Exemption 4 does not
prevent the Commission from disclosing
information after an appropriate

balancing of the interests. Accordingly,
for the reasons discussed below, we find
neither CIPSEA nor FOIA affords an
appropriate basis to collect Form 395-—

B information in a confidential manner.

1. CIPSEA Is Ill-Suited to the
Commission’s Collection of the Form
395-B Data

24. The Commission sought comment
on CIPSEA in 2004 and again in 2021,
in particular, seeking to explore whether
the confidentiality afforded by CIPSEA
to government-collected data could
apply to the Form 395-B data.
Commenters responding in 2004
disagreed regarding CIPSEA’s
applicability. Some commenters argued
that CIPSEA authorizes the Commission
to collect Form 395-B filings on a
confidential basis and that doing so
would be good public policy. Other
commenters contended that neither
CIPSEA nor the Communications Act
permits the use of CIPSEA for Form
395-B filings. They further argued that
confidential treatment would not serve
CIPSEA’s purpose of promoting public
confidence in an agency’s pledge of
confidentiality, given that the
Commission never made such a pledge
with respect to Form 395-B, nor would
it serve important policy objectives,
such as ensuring the accuracy of Form
395-B data. When the Commission
initially sought comment in 2004, the
CIPSEA statute was barely two years old
and relatively untested. Given the
passage of time and the desire to obtain
as complete a record as possible, the
Commission sought comment anew on
CIPSEA in 2021. The FNPRM sought
input regarding the potential avenues
under CIPSEA to collect and maintain
data on a confidential basis, but the two
comments in 2021 addressing CIPSEA
provide insufficient discussion or
analysis. As discussed further below, we
find that CIPSEA is not an appropriate
fit for the Commission’s Form 395—B
data collection.

25. A commenter suggests that the
Commission could utilize any one of
CIPSEA’s three approaches for
confidential collection and retention of
the Form 395-B data: (1) have the
Commission’s Office of Economics and
Analytics (OEA) seek recognition as a
“Federal statistical agency or unit”’
pursuant to CIPSEA and have OEA
alone collect and analyze the Form 395—
B data, which would then be released in
conformance with the CIPSEA
confidentiality protections; (2) have the
Commission collect this data
independently as a “‘nonstatistical
agency” or “‘unit;’’ or (3) as a
nonstatistical agency or unit, enter into
an agreement with an already
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recognized ‘‘Federal statistical agency or
unit’ and have that agency collect the
data on behalf of the Commission.
While the commenter asserts that these
approaches are “reasonable
mechanism[s]’’ for safeguarding Form
395-B data, it does not specify how its
proposals could be satisfied under the
requirements established in OMB’s 2007
Guidance. For example, the commenter
does not discuss how the Commission,
or even a subpart of the Commission,
could qualify as a “‘statistical agency or
unit’ given that OMB accords that
designation only when the predominant
activities of the agency or unit are the
use of information for statistical
purposes. The Commission plainly does
not fit that description. Furthermore, the
commenter does not address the costs
and burdens involved with applying for
and obtaining from OMB the
designation needed for CIPSEA
protection. Nor does it address the cost
and burdens associated with adherence
to CIPSEA and whether the benefit of
retaining the Form 395-B data in
conformance with CIPSEA outweighs
these costs and burdens. Below, we
address these points.

26. Contrary to the commenter’s
suggestion, our detailed review of
CIPSEA, OMB’s 2007 Guidance, and
examples of other agencies that have
obtained designation as a “statistical
agency or unit” demonstrates that
neither the Commission nor OEA would
qualify for such a designation. An
agency, or agency unit, seeking such a
designation must demonstrate to the
OMB Chief Statistician that its activities
are “predominantly the collection,
compilation, processing, or analysis of
information for statistical purposes.”’
Although OEA conducts significant data
analyses, its activities do not meet the
“predominantly” standard laid out by
OMB. Rather, OEA’s regular work also
includes administrative, regulatory, and
adjudicative functions, as well as the
administration of the Commission’s
various spectrum auctions. For these
reasons, we determine OEA could not
satisfy the requirements for “statistical
agencies or units” and, therefore, this
approach is not a viable option.

27. The commenter next suggests that
the Commission could collect the Form
395-B data as a “‘nonstatistical agency”
pursuant to CIPSEA, provided it
complied with CIPSEA’s restriction
preventing nonstatistical agencies from
using “‘agents,” including contractors, to
collect or use the protected information,
and if it ensured that only internal
agency staff had access to the protected
information. The commenter identifies
no agency that has successfully invoked
this provision of CIPSEA in the more

than 20 years since the passage of the
act. Nor have we been able to identify
one. As discussed in the FNPRM, the
Commission relies extensively on
information technology (IT) contractors
to develop and maintain electronic
filing systems, assist filers with
questions, and compile reports and
other information based on data in
Commission forms. The Commission
has outsourced these tasks for decades
consistent with a broader federal
government initiative to ensure that
those jobs that can be conducted in a
more economically efficient manner by
the private sector through competitive
bidding. Moreover, the Commission
currently relies on multiple IT contracts
to maintain and operate its systems.
Therefore, it would be extremely
complex and burdensome from an
administrative perspective to bring
functions in-house solely for one form.
For these reasons, we find that
collecting Form 395-—B data as a
nonstatistical agency under CIPSEA is
not a viable option.

28. We similarly find that the final
approach under CIPSEA, namely that
the Commission, acting as a
“nonstatistical agency,” partner with a
“statistical agency,” which would
collect the Form 395—B data on the
Commission’s behalf, is not a realistic—
or even workable—one. Our detailed
review of CIPSEA and OMB’s 2007
Guidance shows that this is a complex
process involving various logistical
steps, as well as significant additional
burdens and costs. Partnering with a
“statistical agency” involves identifying
a possible partner agency, engaging in
negotiations with that agency to
establish an agreement for the collection
of the data, negotiating and drafting an
agreement stipulating the terms
associated with collection, processing,
and sharing of the Form 395-B data.
Any such agreement would have to
comport with OMB’s requirements and
might also necessitate OMB review. The
Commission would also have to
compensate any such partner agency for
the costs of collecting and storing the
data, educate the partner agency about
the broadcast sector, and ensure that the
information is collected in an
appropriate manner. Under this
approach, the Commission also would
have to designate specific staff who
would have permission to access the
data and potentially restrict access to
just those individuals. Moreover,
broadcasters would have the additional
burden of familiarizing themselves with
a different agency’s document filing
system. As OMB has not yet issued
guidance on such a partnership

approach, however, the potential
logistical problems going forward are
not even fully known. In addition,
pursuing the approach of partnering
with a “statistical agency’ would lead
to further delay in reinstituting this
collection, which has already lagged for
far too long, while also unduly
increasing the complexity and cost of
the collection. Going forward, such an
approach would lend complexity to the
process and potentially hamper the
Commission’s ability to review, analyze,
and report on the underlying data on an
ongoing basis. Consequently, we
conclude that the significant time,
complexity, and cost associated with
formulating a partnership with a
statistical agency outweigh any
speculative harm that might arise from
public availability of this data.

2. Even if FOIA Exemption 4 Applies,
the Strong Public Interest in Disclosure
Outweighs Any Private Interest In
Confidential Treatment

29. The FNPRM sought comment on
whether any Freedom of Information
Act (FOIA) exemptions might apply to
our collection of Form 395-B data.
Commenters assert that Form 395—B
data reported by broadcasters should
not be publicly disclosed because doing
so would reveal trade secrets and
commercial information to competitors.
While FOIA Exemption 4 protects trade
secrets and confidential commercial
information from mandatory public
disclosure by the Commission, its
applicability to the information
collected on Form 395-B is
questionable. Further, even if we were
to find FOIA Exemption 4 applicable,
the Commission is not compelled to
keep data covered by Exemption 4
confidential. The Commission has
authority to make records that fall
within Exemption 4 public if it
determines that the public interest in
disclosure outweighs the private
interests in preserving the data’s
confidentiality.

30. FOIA Exemption 4 protects from
mandatory disclosure information that
is ‘obtained from a person,”’ as we
recognize would be the case here, and
that is both (1) ‘‘commercial or
financial” in character and (2)
“privileged or confidential.”’
Commenters assert that Form 395—B
demographic data are ‘‘commercial
information.’’ The case law, however, is
not definitive on this question. Courts
have sometimes defined commercial
information broadly to include
information submitted to an agency in
which the submitter has a commercial
interest, or to encompass information
that has intrinsic commercial value, the
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disclosure of which would jeopardize a
submitter’s commercial interests or
ongoing operations. Those definitions
might arguably apply to the
demographic information of employees.
However, in a recent case very closely
on point, Center for Investigative
Reporting v. U.S. Department of Labor
(Center for Investigative Reporting v.
DOL), the U.S. District Court for the
Northern District of California held that
the federal government failed to prove
that EEO-1 Consolidated Report (Type
2) employee demographic data were
“commercial.” Similar to Form 395—B
data, the EEO-1 Type 2 Reports do not
include “salary information, sales
figures, departmental staffing levels, or
other identifying information.”
Although the Type 2 Reports ‘‘require
companies [that do business at two or
more physical addresses] to report the
total number of employees across all
their establishments,’’ whereas the Form
395-B breaks down this information by
station employment units, neither form
links job categories to specific
departments; rather, both require
information aggregated by type of job
across all departments. Furthermore, the
EEO-1 reports utilize the same job title,
gender, and ethnicity categories as the
information to be provided in Form
395-B. Given these similarities between
the EEO-1 reports and information to be
provided in Form 395-B, Center for
Investigative Reporting suggests that the
Form 395-B data is at least arguably not
correctly considered to involve
commercial information.

31. It is likewise not entirely clear
whether the data at issue here would be
properly considered ‘‘privileged or
confidential.” Information is
confidential within the meaning of
Exemption 4 “‘whenever it is
customarily kept private, or at least
closely held, by the person imparting
it.”” What matters is “how [a] particular
party customarily treats the information,
not how the industry as a whole treats
[it].”” Here, a commenter acknowledges
that ‘‘many employers choose to
publicly disclose workforce
demographic data” in “‘a variety of
forms.” And although the commenter
distinguishes between Form 395-B data
and the EEO-—1 data that companies
often elect to disclose, we see
similarities between the two data sets,
as discussed above.

32. In addition, as discussed further
below, we note that commenters have
failed to show that competitive harm
would result from the collection and
public release of the information
provided in Form 395-B. While the
Supreme Court held in Food Marketing
Institute that a showing of competitive

harm is not required to protect
information from disclosure under
Exemption 4, some courts have since
declined to allow agencies to withhold
information covered by Exemption 4
without showing an articulable harm
from disclosure. These decisions rest on
the theory that under the FOIA
Improvement Act of 2016—which did
not apply to the Food Marketing
Institute case because it had not yet
become effective at the time that case
was filed—agencies must produce
information otherwise covered by a
FOIA exemption unless it is reasonably
foreseeable that disclosure would harm
an interest protected by the exemption
(or disclosure is prohibited by law).
However, the FOIA Improvement Act
has alternatively been interpreted in the
Exemption 4 context to require no
demonstration of harm beyond the loss
of confidentiality itself, and therefore
the relevance of competitive harm to the
Exemption 4 analysis remains an
unsettled issue.

33. Ultimately, however, we need not
decide whether Exemption 4 covers the
information collected on Form 395-B or
assess the relevance of the FOIA
Improvement Act. The Commission has
well-established authority under section
4(j) of the Act to publicly disclose even
trade secrets or confidential business
information if, after balancing the public
and private interests at stake, we
determine that it is in the public interest
to do so.

34. In assessing the respective
interests in the disclosure or non-
disclosure of Form 395-—B data, we
determine that the public interest in
disclosing Form 395-B data outweighs
broadcasters’ claims that such
disclosure might cause unspecified
harm. As outlined above, there are
significant public interest benefits from
public disclosure of Form 395-—B data.
Public disclosure of Form 395-B data
promotes a more accurate collection and
recordation process. It increases the
likelihood that incomplete or inaccurate
filings will be discovered and corrected,
and it will incentivize stations to file
accurate data to avoid third-party claims
that submitted data are incorrect. It is
also consistent with Congress’s goal to
maximize the utility of the data an
agency collects for the benefit of the
public. Public disclosure also allows us
to produce the most granular reports
possible for the benefit of Congress and
the public, without being unnecessarily
hampered by concerns about
inadvertent disclosures of identifiable
information. And public disclosure
allows others to review the accuracy of
our data analyses and to question our

methods for data collection with the
benefit of actual datasets.

35. In contrast to these significant
public benefits, commenters have failed
to demonstrate that availability of the
Form 395—B data would cause
meaningful competitive harm. For
example, a commenter asserts that if
Form 395—B data were disclosed, a
broadcaster’s competitors could exploit
such information to gain competitive
insights into the broadcaster’s business
practices. Nothing in the record,
however, realistically demonstrates how
the public release of Form 395-B data
might afford a competitor tangible
insights into another broadcaster’s
business practices that would lead to
competitive harm. Commenters have not
provided any actual instances of harm
related to the Commission’s previous
collection and public disclosure of
demographic data, but rather largely
project a speculative, worst-case
scenario. A commenter posits that
competitors would be able to draw more
detailed insights by comparing
published data over a stretch of years;
however, we fail to understand how any
such result would have a negative
commercial impact on broadcasters.
Moreover, the fact that a number of
broadcasters have begun to disclose
workforce demographic data, albeit not
at the level of detail as would be
reported on Form 395-B, also calls into
question the extent of the competitive
harm that would result if that
information were to be publicly
released. Further, guided in part by the
court’s analysis in Center for
Investigative Reporting v. United States
Department of Labor, we remain
unconvinced that knowing the number
of employees assigned to a particular job
title or category in a company without
knowing other details—for example, the
duties of the employees, the structure of
the company, salary information—can
provide any significant information to a
competitor that results in reasonably
foreseeable or substantial competitive
harm. As noted by various commenters
in the instant proceeding, Form 395—B
uses the same reporting methodology in
terms of job categories as the EEO-1,
rather than reporting “demographic
information by division, department, or
‘segment.’ ”

36. We conclude that the public
benefits of releasing the information
contained in Form 395-B are
significant, while the harms would be
slight. Thus, balancing the public
interests in disclosure against the
private interests at stake here, we find
that there are strong public interests in
favor of disclosure and that,
accordingly, section 4(j) authorizes the
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Commission to publicly disclose Form
395-B data.

37. Timing of Form Submission. As
directed by § 73.3612 of the
Commission’s rules, broadcasters will
be required to file Form 395—B annually
on or before September 30 of each year,
after the Order becomes effective.
Authority is delegated to the Media
Bureau to announce and provide filing
instructions before the first window
opens. The Commission established the
September 30 deadline to align with the
deadline for EEO-1 filings to enable
licensees and permittees that also file
similar data with the EEOC to conserve
resources by using the same pay period
record information for both filings.
Broadcasters may report employment
figures from any payroll period in July,
August, or September of the relevant
year, but that same payroll period must
be used in each subsequent year’s report
by the licensee. Consistent with
previous practice, the Form 395-B will
be due on or before September 30 of
each calendar year. To provide
broadcasters adequate notice regarding
the details of the electronic filing
process, the Media Bureau will issue a
Public Notice with instructions about
how to submit the filings, prior to the
first filing after the Order becomes
effective. This Public Notice will
provide broadcasters ample time to put
into place whatever data collection
processes they require, including, for
example, the development of employee
surveys and instructions for employees
regarding which job classification to
report. It also will afford the
Commission time to create and test an
electronic version of Form 395-B.

38. Identification of Non-Binary
Gender Categories. Finally, in
reinstating the collection of Form 395—
B, some commenters urge us to
incorporate into the form a mechanism
that will enable identification of non-
binary gender categories. While the
EEOC has incorporated a comment box
on the EEO-1 form allowing for
submission of gender non-binary
information, both the EEOC and the
Commission traditionally track the
definitions and standards on race,
ethnicity and gender set forth by OMB
and used widely by the federal
government. To date, OMB has not
prescribed conclusive classifications to
capture non-binary gender data. Federal
guidance, however, recognizes the
“need to be flexible and adapt over
time” in developing measures to collect
such data. Consistent with that guidance
and our record, we believe it is
appropriate that the Form 395-B
include a mechanism to provide further

specificity about broadcaster employees’
gender identities.

39. We find that such an update fits
within the latitude granted to the
Commission pursuant to section 334(c)
of the Act to revise the forms ‘‘to reflect
changes in. . . terminology.’’ We also
find that the FNPRM provided sufficient
public notice and opportunity for
comment to allow us to incorporate this
change to the form. The FNPRM
encouraged commenters “‘to provide any
new, innovative, and different
suggestions for collecting and handling
employment information on Form 395—
B” and asked if there were ‘“‘any other
issues or developments that [the
Commission] should consider.’’ We
conclude that the suggestion to include
within the Form 395—B a mechanism to
account for those who identify as gender
non-binary is a logical outgrowth from
the FNPRM’s requests for comment.
Accordingly, and after receiving only
support for and no opposition to the
idea, we will include such a mechanism
in the reinstituted Form 395—B. We
delegate to the Media Bureau the
authority to implement this change to
the Form.

C. Constitutional Issues

40. Reinstatement of the Form 395—B
data collection in a publicly available
manner is wholly consistent with the
equal protection guarantee contained in
the Fifth Amendment of the
Constitution. As discussed below,
collection of workforce data from
broadcast licensees on Form 395-B is
race- and gender-neutral, and no race- or
gender-based government action flows
from collection of the data or its public
availability. Accordingly, collection and
publication of Form 395-B data need
only be rationally related to a legitimate
governmental interest to pass
constitutional muster. Since the
Commission has a legitimate public
interest in collecting Form 395-—B data
and doing so on a transparent basis is
rationally related to this interest,
reinstatement of Form 395—B as we
propose is constitutionally permissible.
Finally, we find that the limitations the
Commission has placed on its own use
of the data obviate the concerns raised
in the record about the potential for
undue pressure being placed on, or
“raised eyebrow’ regulation of,
broadcasters.

41. As the court in Lutheran Church
acknowledged, the Constitution’s equal
protection guarantee is not implicated if
the regulation at issue is neutral with
respect to protected categories. This
standard is satisfied here, because both
on its face and in application, the
collection of workforce data from

broadcast licensees on Form 395-B is
race- and gender-neutral. Regardless of
the demographic makeup of a particular
broadcast station employment unit, all
units with five or more full-time
employees are required to file their
workforce data with the Commission. At
no point does the Commission use race
and gender categories to direct units on
whether they must file the form; the
number of employees within a given
unit is the sole criterion. Further
reflecting the neutrality of the
application of the form, all units
required to file with the Commission
use an identical Form 395-B to report
their respective demographic and job
category data. By using employment
size as the exclusive factor to direct
units to file broadcast workforce data,
the completion of the form in this regard
is a neutral activity, “devoid of ultimate
preferences” for hiring on the basis of
race or gender.

42. Furthermore, there is no race- or
gender-based government action that
flows from collection of the data or its
public availability. Unlike the collection
of this data 20 years ago, there is no
connection between the Form 395—B
collection at issue here and the EEO
program requirements applicable to
broadcasters. The court’s finding in
Lutheran Church that the Commission’s
rules impermissibly pressured
broadcasters to engage in race-conscious
hiring decisions stemmed from the set
of criteria that the Commission had
created in 1980 to determine whether its
review of a station’s license renewal
application should include a closer
examination of the station’s EEO
program. Under those 1980 screening
guidelines, the Commission would
review the adequacy ofa station’s EEO
program if minorities and/or women
employed by the station were
underrepresented as compared to the
available workforce. That requirement
to compare the racial composition ofa
station’s workforce with that of the local
population, and not the requirement to
report employment data that we
reinstate today, was the trigger for the
court’s strict scrutiny in that case.

43. While the Commission revised the
EEO program requirements after the
Lutheran Church ruling, the use of race,
ethnicity, and gender information (albeit
not Form 395-B data) was still linked to
the Commission’s EEO program. The
new EEO program allowed stations to
choose between two options for their
recruiting programs. In MD/DC/DE
Broadcasters, the D.C. Circuit struck
down the Commission’s revised, two-
option EEO program because it found
that broadcasters proceeding under
Option B of the program were pressured
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to engage in race-conscious recruiting
practices, given that Option B required
annual reporting of race, ethnicity, and
gender information for each job
applicant. The court found that such
pressure would lead to outreach
programs targeted at minority groups, to
the potential disadvantage of non-
minority groups, and thus constituted a
racial classification that triggered strict
scrutiny. Following the court’s decision,
the Commission suspended both its EEO
outreach requirements and its Form
395-B filing requirement.

44, When the Commission later
adopted new EEO program requirements
in the Second Report and Order and
Third NPRM, it deferred action on
requiring the collection of workforce
data, and the Form 395-B data
collection has been on hold ever since.
Thus, these EEO program requirements
have existed independently of Form
395-B for the past 20 years. That the
Commission’s EEO program continued
to operate even as the Form 395-B
collection was held in abeyance
highlights the separation of these two
requirements. And we reiterate that
going forward, these two requirements—
the filing of annual workforce data and
compliance with an EEO program—will
continue to be divorced from one
another. As the Commission has
recognized consistently for more than
20 years, the Lutheran Church and MD/
DC/DE Broadcasters decisions do not
prohibit the collection of employment
data for the purpose of analyzing
industry trends. The Commission
concluded more than two decades ago
in the 2000 Reconsideration Order that
collecting employment data solely for
monitoring purposes would not violate
Lutheran Church, and we affirm that
conclusion. The D.C. Circuit never took
issue with the Commission’s collection
of station-specific employment data
from broadcasters and making this data
publicly available. We continue to find
the collection of this information to be
consistent with the Constitution and the
public interest. The Commission has
stated unequivocally and emphatically
that it will not use the Form 395-B for
assessing a licensee’s compliance with
EEO program requirements. The agency
even went so far as to codify that policy
in the Code of Federal Regulations,
amending § 73.3612 of its rules in 2004
to prohibit explicitly the use of the
Form 395-—B data for EEO compliance
purposes. We reaffirm the Commission’s
previous determination that workforce
data collected on Form 395-B will be
used only for purposes of analyzing
industry trends and reports by the
Commission, and that the use of such

data to assess an individual broadcast
licensee’s compliance with our EEO
requirements will be prohibited.
Moreover, in the attached Order on
Reconsideration, we grant a previous
request filed by the State Associations
asking that we modify the prohibition
on our use of the form’s data to
explicitly bar the Commission from
employing this data to assess
compliance with the nondiscrimination
requirement contained in § 73.2080 of
our rules. Our granting of the State
Associations’ request further
demonstrates our commitment to use
this data only for industry analysis and
reporting.

45. We disagree with commenters’
assertion that collection or publication
of the data on a licensee- or station-
attributable basis will still somehow
result in unconstitutional ‘‘sub silentio”’
pressures or “‘raised-eyebrow”’
regulation. We have stated repeatedly
and unequivocally, and codified the
proposition in our rules, that we will
not use Form 395-B data for any
purpose other than for analyzing and
reporting trends in the broadcast
industry. Nonetheless, commenters
attempt to employ dicta from the D.C.
Circuit in MD/DC/DE Broadcasters and
Lutheran Church about implicit
pressures by claiming that, despite the
limitations the Commission has placed
on its own use of the data, third parties
may use the data to place improper
pressure on a licensee to engage in
preferential hiring practices to avoid
having frivolous complaints filed
against it with the Commission. As an
example, one commenter claims that
some loan agreements would require
broadcasters to disclose even frivolous
petitions to their lenders, thereby
adding an element of risk to funding
acquisitions. To address this concern,
we will make every effort to dismiss as
quickly as possible any petitions,
complaints, or other filings that rely on
a station’s Form 395-B filing as the
basis of the petition, complaint, or other
filing. Moreover, broadcasters in that
situation may apprise lenders of our
intent to dismiss such complaints and
point to our rule disallowing the use of
the data for compliance purposes.

46. Broadcaster groups mistakenly
assert that reinstating a public collection
of Form 395-B violates D.C. Circuit
precedent, which the commenters argue
effectively invalidated the use of the
Form 395-B for all purposes. In arguing
that the Lutheran Church decision
invalidated Form 395-—B, however, the
commenters erroneously treat all the
EEO requirements in effect at the time
of Lutheran Church as one inseparable
rule that the D.C. Circuit vacated. The

commenters are incorrect in asserting
that the court’s finding of
unconstitutional pressure when the
collection was combined with the then-
existing EEO program somehow
invalidated the Form 395-B itself for
any and all other purposes. In fact, as
noted above, what the Lutheran Church
court found to be problematic was the
requirement to compare the racial
composition of a station’s workforce
with that of the local population, and
not the requirement to report
employment data to the Commission.
The court’s finding of
unconstitutionality did not reach the
Commission’s use of the form to gather
data purely for statistical purposes and
without regard to a station’s EEO
compliance. Indeed, the court did not
even speak to the form’s use in
collecting employment data for the
purpose of analyzing industry trends, let
alone invalidate it for that purpose.

47. Furthermore, we reject the
suggestion that the finding in the MD/
DC/DE Broadcasters case somehow
casts doubt on the legitimate use of
Form 395-—B data for industry trend
reporting, given that the Form 395-B
was not even at issue in that case. The
Form 395—B was only mentioned in the
background section of that decision, as
the collection of the employee diversity
data was irrelevant to the data at issue
in that case (i.e., applicant data). Rather,
the court found the Commission’s
revised EEO program problematic
because it determined that broadcasters
proceeding under one aspect of the
program (Option B) could feel pressured
to engage in race-conscious recruiting
practices, given that Option B required
an annual reporting of the race,
ethnicity, and gender information for
each job applicant.

48. Therefore, unlike applicant data
required under Option B of the former
EEO program, the Form 395—B
workforce data played no role in
assessing a broadcaster’s compliance
with the recruiting rules at issue in MD/
DC/DE Broadcasters. In the current
situation no unconstitutional use of
racial or gender classifications arises
from the Commission’s collection of
annual employee data because we will
not use the collection of Form 395—B
demographic data for purposes of
assessing or enforcing a broadcaster’s
compliance with our EEO rules. Further,
we find the commenter argument that
the court in MD/DC/DE Broadcasters
disparaged the use of ‘‘outputs”’ to
measure “inputs” to be misplaced. First,
as noted above, the court was referring
to applicant data—i.e., those applying to
open job positions at the station—as the
output in that case, which was being
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used to evaluate a broadcaster’s
outreach efforts and the success of its
EEO program in recruiting potential job
applicants. Employee data—i.e., the
composition of the station’s workforce,
which is captured by the Form 395—-B—
was not the ‘“‘output” of concern.
Second, to the extent that employee data
might be considered an output, the
Commission now explicitly prohibits
the use of such data as a tool to measure
a broadcaster’s “inputs” to its EEO
program. Furthermore, the court in MD/
DC/DE Broadcasters never suggested
that the collection of employee data for
statistical purposes factored into its
analysis regarding the
unconstitutionality of the outreach
rules.

49. Based on the above, we conclude
that reinstating collection of Form 395—
B in a public manner, where the form’s
data can only be used for reporting and
analyzing industry trends, is fully
consistent with the determinations in
Lutheran Church and MD/DC/DE
Broadcasters. The proposed action is
race- and gender-neutral and crucial to
Congress’s and the Commission’s
interest in understanding broadcast
employment trends. Because the
Commission is the only entity with the
resources and expertise to expeditiously
collect and compile this data, it is vital
that the agency restart this collection.
With current data, the Commission,
Congress, and the general public can
better understand developments in the
broadcast sector.

50. Although no commenter raised a
First Amendment issue, we clarify that
requiring stations to publicly disclose
their workforce composition data does
not constitute “compelled speech’ on
matters of race and gender, in violation
of the First Amendment. A requirement
to report information to the government
fundamentally differs from the typical
compelled speech case, which generally
involves situations where “the
complaining speaker’s own message [is]
affected by the speech it [is] forced to
accommodate.”’ Conversely, the Form
395—B report requires reporting of
factual information to the
Commission—the station’s own
employment figures—to allow the
Commission to analyze trends. There is
no message being forced by the
government.

51. Even assuming, arguendo, that
broadcaster’s speech rights are
implicated, our Form 395—B
requirement is consistent with the First
Amendment, as it entails disclosure of
“purely factual and uncontroversial”
information in a commercial context.
The D.C. Circuit has ruled that
government interests in addition to

correcting deception can be invoked to
sustain a mandate for disclosure of
purely factual information in the
commercial context. The Zauderer test
is satisfied here because disclosure of
workforce data is reasonably related to
a substantial governmental interest
(ensuring maximum accuracy and
utility of the data on which the
government relies for analysis and
reporting purposes), which outweighs
the ‘‘minimal” interest in not disclosing
purely factual, uncontroversial
information. In the alternative, even
assuming, arguendo, that our
requirement is subject to heightened
First Amendment review, we find that
our disclosure requirement satisfies
even this higher standard. The
government has a substantial interest in
analyzing broadcast industry workforce
information to support greater
understanding of the broadcast industry
and to report to Congress about the
same. Collecting this data and making
broadcasters’ Form 395-B filings
publicly available directly advance this
governmental interest because without
the data it would be impossible to assess
changes, trends, or progress in the
industry and making the information
public ensures maximum accuracy of
the submitted data by increasing the
likelihood that erroneous data will be
discovered and corrected and
incentivizing stations to file accurate
data and thereby maximizes the utility
of the data. Moreover, the requirement
is not more extensive than is necessary
to serve that interest, because the data
will be collected in a manner consistent
with the Commission’s previous, long-
standing method of collecting the data
and because, as this order has made
clear, the data collected will be used
exclusively for the purpose of compiling
industry employment trends and
making reports to Congress, and not to
assess any aspect of a broadcaster’s
compliance with the EEO rules.

D. The Commission Has Broad
Authority To Collect Form 395-B

52. We find sufficient authority to
reinstate the collection of Form 395-—B,
both pursuant to the public interest
provisions of the Act and section 334.
The Commission’s adoption of Form
395-B preceded Congress’s passage of
section 334 by more than two decades.
As discussed above in Section II, the
form and the Commission’s EEO rules
were rooted firmly in the Commission’s
public interest mandate under sections
4(i), 303, 307, 308, 309, and 310 the
Communications Act. By codifying the
Commission’s then existing EEO
requirements, as well as the collection
of Form 395-B, Congress, in 1992,

ratified the Commission’s pre-existing
authority to adopt such rules and forms
through congressional acquiescence in a
long-standing agency policy. As the
Commission discussed extensively in
the Second Report and Order and Third
NPRM in this proceeding, the limitation
imposed by section 334 regarding
changes to the Commission’s then-
existing EEO rules and forms evidenced
Congress’s approval of the
Commission’s EEO approach (including
the information collection) and its
desire to ensure its continuance.
Lawmakers’ express endorsement of the
rules 30 years ago did not in any way
undermine the Commission’s pre-
existing public interest authority.
Moreover, the Commission also has
broad authority under the
Communications Act to collect
information and prepare reports.

53. Despite this settled law,
commenters challenge our authority to
reinstate the form’s collection, reviving
arguments that the Commission rejected
20 years ago in the Second Report and
Order and Third NPRM. First, they
assert that, rather than a grant of EEO
authority, section 334 is a limitation on
the Commission’s authority to revise its
EEO regulations and forms. They
suggest that the Commission is
constrained from reinstating Form 395—
B because, in setting forth the
permissible exceptions to its restriction
on EEO changes, Congress did not
include, or later add, the situation
where some provisions of the EEO rules
are deemed unenforceable, as occurred
in Lutheran Church and MD/DC/DE
Broadcasters. Second, commenters posit
that the Commission is taking
inconsistent positions on the current
force of section 334. They argue that, if
section 334 is still in force and dictates
reinstatement of Form 395-—B, then the
Commission’s current EEO outreach
rules violate the statutory provision
because those rules have undergone
substantial revision. The commenters
assert that the Commission ‘“‘cannot
have it both ways”’ by rejecting the
constraints of section 334 when it
previously revised its EEO rules, but
now invoking the same provision to
reinstate Form 395—B.

54. We find commenters’ assertions
unsound as a matter of law and logic.
They disregard the Commission’s public
interest authority under the Act, which
was the underpinning of the
Commission’s EEO rules and Form 395—
B long before the passage of section 334.
Further, the commenters also
misconstrue the impact of the court
decisions on our section 334 authority.
While the Lutheran Church court
invalidated elements of the EEO
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program requirements in effect in 1992,
thereby terminating their enforceability,
it did not address the constitutionality
of section 334 itself. Moreover, the
subsequent decision in MD/DC/DE
Broadcasters did not imply that the
unconstitutionality of the previous
regulations rendered section 334
inoperative.

55. We therefore continue to reject the
commenters’ false premise that section
334 was somehow “‘neutered”’ by the
D.C. Circuit decisions. Section 334
continues to provide authority for
reinstating Form 395—B. Moreover, as
discussed above, we find ample legal
authority separate from section 334 to
reinstate collection of the form.

Order on Reconsideration

56. In 2004, the State Associations
filed a petition seeking reconsideration
of the Third Report and Order and
Fourth NPRM. The petition asks the
Commission: (1) to amend the Note to
§ 73.3612 of the Commission’s rules to,
in their view, clarify and strengthen the
Commission’s pledge to refrain from
using Form 395—B data for compliance
or enforcement purposes; (2) to address
the issue of confidential treatment for
Form 395-B; and (3) to issue a Fourth
Report and Order resolving issues raised
in the Third Report and Order and
Fourth NPRM and in petitions for
reconsideration filed in response to the
Second Report and Order and Third
NPRM. Numerous parties jointly filed
an opposition to the petition. We hereby
grant the State Associations’ petition in
part, deny it in part, dismiss it in part,
and defer it in part.

57. The State Associations seek an
expansion of the Commission’s pledge
to not use Form 395-B data to assess an
individual broadcast licensee’s
compliance with the EEO rules to read
as follows, with their proposed changes
shown in italics:

Note to § 73.3612: Data concerning the
gender, race and ethnicity of a broadcast
station’s workforce collected in the annual
employment report will be used only for
purposes of analyzing industry trends and
making reports to Congress. Such data will
not be used for the purpose of assessing any
aspect of an individual broadcast licensee’s
or permittee’s compliance with the
nondiscrimination or equal employment
opportunity requirements of § 73.2080.
Accordingly, the Commission will not
entertain any allegation or showing that a
broadcast licensee or permittee has violated
any aspect of § 73.2080 on the basis that the
station’s workforce does not reflect a certain
number of persons of a particular gender,
race or ethnicity either overall or in any one
or more job categories.

58. Based on the record stemming
from the State Associations’ 2004

petition for reconsideration and the
determinations made in the Fourth
Report and Order above, we find it
appropriate to make certain changes to
the language of § 73.3612 of our rules.
With regard to the first of the State
Associations’ proposed changes, the
opposing parties do not object to adding
the phrase ‘‘or permittee’s,” and we
agree to make that change because
permittees also are required to file Form
395-B. We also find that explicitly
stating in the rule itself that we will not
use Form 395-—B data to assess
compliance with both the equal
employment opportunity requirements
and nondiscrimination requirements of
§ 73.2080 of our rules is consistent with
our statements in the Fourth Report and
Order above and with statements made
by the Commission over the past two
decades.

59. While the opponents to this
change argue that we should not
categorically limit our discretion to use
EEO data as one of many factors in
assessing a complaint of discrimination,
these same opponents also acknowledge
that the “‘Note itself, along with the text
of [the] 3rd R&O, make it plain that the
FCC will not use annual employment
data to assess compliance with the EEO
rules of any individual broadcast
licensee.” Hence, codifying the
limitation is nothing more than
memorializing in another form a
prohibition that the Commission has
had in place for more than 20 years.
This approach minimizes confusion
about our position. We do not, however,
see any need to include the final
sentence suggested by the State
Associations, as we find that it is
essentially a repetition of the preceding
sentence now that we have added
“nondiscrimination or’’ to the preceding
sentence. Finally, to conform to the
publishing conventions of the National
Archives and Records Administration’s
Office of the Federal Register, we will
now incorporate what currently appears
as a Note to § 73.3612 into the rule
itself.

60. With regard to the State
Associations’ petition on the issue of
confidential treatment of the Form 395-
B data, we respond by adopting the
Fourth Report and Order above, which
reinstates the Form 395-B data
collection in a public manner. Most of
the remaining issues raised in State
Associations’ petition for
reconsideration of the Second Report
and Order and Third NPRM are
unrelated to the Form 395-B filing
requirement and, hence, we defer action
on them here because they are beyond
the scope of this Order on
Reconsideration. We dismiss as moot

two specific issues raised in the
petition: (1) the ability to recruit via the
internet, which the Commission
addressed in the intervening time
period, and (2) a modification to the
effective date of the then new rules.

Procedural Matters

61. Regulatory Flexibility Act. The
Regulatory Flexibility Act of 1980, as
amended (RFA) requires that an agency
prepare a regulatory flexibility analysis
for notice and comment rulemakings,
unless the agency certifies that “the rule
will not, if promulgated, have a
significant economic impact on a
substantial number of small entities.”’
Accordingly, we have prepared a Final
Regulatory Flexibility Analysis (FRFA)
concerning the potential impact of rule
and policy changes adopted in the
Fourth Report and Order on small
entities. Additionally, we have prepared
a Final Regulatory Flexibility
Certification (FRFC) certifying that the
rule and policy changes contained in
the Order on Reconsideration will not
have a significant economic impact on
a substantial number of small entities.

62. Paperwork Reduction Act. Final
Paperwork Reduction Act Analysis for
Fourth Report and Order and Order on
Reconsideration in MB Docket No. 98—
204. This Fourth Report and Order and
Order on Reconsideration may contain
new or modified information collection
requirements subject to the Paperwork
Reduction Act of 1995 (PRA), Public
Law 104-13. All such changes will be
submitted to the Office of Management
and Budget (OMB) for review under
section 3507(d) of the PRA. OMB, the
general public, and other Federal
agencies will be invited to comment on
any new or modified information
collection requirements contained in
this proceeding. In addition, we note
that pursuant to the Small Business
Paperwork Relief Act of 2002, Public
Law 107-198, see 44 U.S.C. 3506(c)(4),
we previously sought specific comment
on how the Commission might further
reduce the information collection
burden for small business concerns with
fewer than 25 employees. In this present
document, we have assessed the effects
of reinstating the collection of
information on Form 395—B from
broadcasters with five or more full-time
employees and adding language to our
rules clarifying that restrictions
regarding the Commission’s use of the
collected data protect broadcast
permittees as well as licensees. We find
that, with respect to businesses with
fewer than 25 employees, the paperwork
burden associated with the completion
and submission of Form 395-B will be
minimal and the collection is necessary
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to serve the purpose of obtaining
complete information on employment
trends in the broadcast industry. As it
is customary for companies to routinely
maintain employee information for
various purposes, including payroll,
broadcasters should not have to engage
in extensive research to complete and
submit their Form 395-B.

63. Congressional Review Act. The
Commission has determined, and the
Administrator of the Office of
Information and Regulatory Affairs,
Office of Management and Budget,
concurs, that this rule is “non-major”
under the Congressional Review Act, 5
U.S.C. 804(2). The Commission will
send a copy of this Fourth Report and
Order and Order on Reconsideration to
Congress and the Government
Accountability Office pursuant to 5
U.S.C. 801(a)(1)(A).

Final Regulatory Flexibility Act
Analysis (Report & Order)

64. Final Regulatory Flexibility
Analysis. As required by the Regulatory
Flexibility Act of 1980, as amended
(RFA) an Initial Regulatory Flexibility
Analysis (IRFA) was incorporated in the
2021 Further Notice of Proposed
Rulemaking (FNPRM) to this
proceeding. The Federal
Communications Commission
(Commission) sought written public
comment on the proposals in the
FNPRM, including comment on the
IRFA. The Commission received no
comments on the IRFA. This present
Final Regulatory Flexibility Analysis
(FRFA) conforms to the RFA.

A. Need for, and Objectives of, the
Report and Order

65. This Fourth Report and Order
reinstates the Commission’s annual
collection of broadcast workforce
composition data by race and gender on
FCC Form 395-B. We will use the
collected data to analyze industry trends
and make reports to Congress. Before
the form’s prolonged suspension
beginning in 2001, the Commission
made the collected workforce data
publicly available. As stated in the
Fourth Report and Order, we will
continue with the public collection and
dissemination of the data, which is in
alignment with the public interest.
Other than the inclusion of a
mechanism allowing broadcasters to
account in the Form 395-B for those
employees who identify as gender non-
binary, the reinstated collection does
not change the form’s reporting
requirements. The inclusion of this
mechanism, which will allow for
accurate data gathering, will incur only

a minimal economic impact on a
substantial number of small entities.

66. The reinstatement arrives after a
significant period of delay in collection,
which created a material gap in
workforce composition data to be
collected and analyzed by the
Commission. Without the data, the
Commission is prevented from
analyzing important industry trends and
reporting to Congress its analyses on the
broadcast sector. A reinstituted
collection of Form 395-B will allow us
to carry out the public interest authority
of this agency, and to implement section
334 of the Act, which instructs the
Commission to collect broadcast
workforce data.

B. Legal Basis

67. The Fourth Report and Order is
authorized under sections 1, 4(i), 4(k),
303(r), 307, 308, 309, 310, 334, and 403
of the Communications Act of 1934, as
amended, 47 U.S.C. 151, 154(i), 154(k),
303(r), 307, 308, 309, 310, 334, and 403.

C. Summary of Significant Issues Raised
by Public Comments in Response to
IFRA

68. There were no comments in
response to IRFA notice.

D. Response to Comments by the Chief
Counsel for Advocacy of the Small
Business Administration

69. Pursuant to the Small Business
Jobs Act of 2010, which amended the
RFA, the Commission is required to
respond to any comments filed by the
Chief Counsel for Advocacy of the Small
Business Administration (SBA), and to
provide a detailed statement of any
change made to the proposed rules as a
result of those comments. The Chief
Counsel did not file any comments in
response to the FNPRM in this
proceeding.

E. Description and Estimate of the
Number of Small Entities to Which the
Rules Apply

70. The RFA directs the Commission
to provide a description of and, where
feasible, an estimate of the number of
small entities that will be affected by the
rules adopted herein. The RFA generally
defines the term ‘‘small entity” as
having the same meaning as the terms
“small business,” ‘‘small organization,”
and “small government jurisdiction.” In
addition, the term ‘‘small business” has
the same meaning as the term “small
business concern” under the Small
Business Act. A small business concern
is one which: (1) is independently
owned and operated; (2) is not
dominant in its field of operation; and
(3) satisfies any additional criteria

established by the SBA. Below, we
provide a description of such small
entities, as well as an estimate of the
number of such small entities, where
feasible.

F. Description and Estimate of the
Number of Small Entities to Which the
Rules Apply

71. The RFA directs the Commission
to provide a description of and, where
feasible, an estimate of the number of
small entities that will be affected by the
rules adopted herein. The RFA generally
defines the term “small entity’ as
having the same meaning as the terms
“small business,” ‘‘small organization,”
and “‘small government jurisdiction.” In
addition, the term “‘small business” has
the same meaning as the term ‘“‘small
business concern”’ under the Small
Business Act. A small business concern
is one which: (1) is independently
owned and operated; (2) is not
dominant in its field of operation; and
(3) satisfies any additional criteria
established by the SBA. Below, we
provide a description of such small
entities, as well as an estimate of the
number of such small entities, where
feasible.

72. Television Broadcasting. This
industry is comprised of
“establishments primarily engaged in
broadcasting images together with
sound.”’ These establishments operate
television broadcast studios and
facilities for the programming and
transmission of programs to the public.
These establishments also produce or
transmit visual programming to
affiliated broadcast television stations,
which in turn broadcast the programs to
the public on a predetermined schedule.
Programming may originate in their own
studio, from an affiliated network, or
from external sources. The SBA small
business standard for this industry
classifies businesses having $41.5
million or less in annual receipts as
small. 2017 U.S. Census Bureau data
indicate that 744 firms in this industry
operated for the entire year. Of that
number, 657 firms had revenue of less
than $25,000,000. Based on this data we
estimate that the majority of television
broadcasters are small entities under the
SBA small business size standard.

73. As of September 30, 2023, there
were 1,377 licensed commercial
television stations. Of this total, 1,258
stations (or 91.4%) had revenues of
$41.5 million or less in 2022, according
to Commission staff review of the BIA
Kelsey Inc. Media Access Pro Television
Database (BIA) on October 4, 2023, and
therefore these licensees qualify as
small entities under the SBA definition.
In addition, the Commission estimates
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as of September 30, 2023, there were
383 licensed noncommercial
educational (NCE) television stations,
380 Class A TV stations, 1,889 LPTV
stations and 3,127 TV translator
stations. The Commission, however,
does not compile and otherwise does
not have access to financial information
for these television broadcast stations
that would permit it to determine how
many of these stations qualify as small
entities under the SBA small business
size standard. Nevertheless, given the
SBA’s large annual receipts threshold
for this industry and the nature of these
television station licensees, we presume
that all of these entities qualify as small
entities under the above SBA small
business size standard.

74. Radio Stations. This industry is
comprised of ‘‘establishments primarily
engaged in broadcasting aural programs
by radio to the public.”” Programming
may originate in their studio, from an
affiliated network, or from external
sources. The SBA small business size
standard for this industry classifies
firms having $41.5 million or less in
annual receipts as small. U.S. Census
Bureau data for 2017 show that 2,963
firms operated in this industry during
that year. Of this number, 1,879 firms
operated with revenue of less than $25
million per year. Based on this data and
the SBA’s small business size standard,
we estimate a majority of such entities
are small entities.

75. The Commission estimates that as
of September 30, 2023, there were 4,452
licensed commercial AM radio stations
and 6,670 licensed commercial FM
radio stations, for a combined total of
11,122 commercial radio stations. Of
this total, 11,120 stations (or 99.98%)
had revenues of $41.5 million or less in
2022, according to Commission staff
review of the BIA Kelsey Inc. Media
Access Pro Database (BIA) on October 4,
2023, and therefore these licensees
qualify as small entities under the SBA
definition. In addition, the Commission
estimates that as of September 30, 2023,
there were 4,263 licensed
noncommercial (NCE) FM radio
stations. The Commission however does
not compile, and otherwise does not
have access to financial information for
these radio stations that would permit it
to determine how many of these stations
qualify as small entities under the SBA
small business size standard.
Nevertheless, given the SBA’s large
annual receipts threshold for this
industry and the nature of radio station
licensees, we presume that all of these
entities qualify as small entities under
the above SBA small business size
standard.

76. We note, however, that in
assessing whether a business concern
qualifies as ‘“‘small’’ under the above
definition, business (control) affiliations
must be included. Our estimate,
therefore, likely overstates the number
of small entities that might be affected
by our action, because the revenue
figure on which it is based does not
include or aggregate revenues from
affiliated companies. In addition,
another element of the definition of
“small business” requires that an entity
not be dominant in its field of operation.
We are unable at this time to define or
quantify the criteria that would
establish whether a specific radio or
television broadcast station is dominant
in its field of operation. Accordingly,
the estimate of small businesses to
which the rules may apply does not
exclude any radio or television station
from the definition of a small business
on this basis and is therefore possibly
over-inclusive. An additional element of
the definition of ‘‘small business” is that
the entity must be independently owned
and operated. Because it is difficult to
assess these criteria in the context of
media entities, the estimate of small
businesses to which the rules may apply
does not exclude any radio or television
station from the definition of a small
business on this basis and similarly may
be over-inclusive.

G. Description of Projected Reporting,
Recordkeeping, and Other Compliance
Requirements

77. In this section, we identify the
reporting, recordkeeping and other
compliance requirements contained in
the Fourth Report and Order and
consider whether small entities are
affected disproportionately by any such
requirements. By this Fourth Report and
Order, broadcasters are required to
resume filing Form 395-B, which will
be available to the public. The annual
filing of Form 395-B will require
employment units to upload the form
onto the Commission’s website. As
recognized by the Office of Management
and Budget (OMB), the Commission has
estimated in the instructions to Form
395-B that the form’s paperwork burden
is minimal, taking each response, or
form, approximately one hour to
complete. This estimate includes the
time to read the instructions, look
through existing records, gather and
maintain the required data, and actually
complete and review the form or
response. Because this Fourth Report
and Order contains no new reporting or
recordkeeping requirements, other than
the incorporation of a mechanism to
enable identification of gender non-
binary categories, and only resumes the

filing of an existing form, the reporting,
recordkeeping and other compliance
requirements of small entities will be no
greater than under the current rules.
Additionally, broadcast employment
units with less than five full-time
employees are exempt from filing
statistical data. Because of this minimal
reporting burden and due to the fact that
smaller station employment units are
exempt, we conclude that small entities
will not be disproportionately affected
by the Fourth Report and Order.

H. Steps Taken To Minimize Significant
Economic Impact on Small Entities, and
Significant Alternatives Considered

78. The RFA requires an agency to
describe any significant alternatives that
it has considered in reaching its
proposed approach, which may include
the following four alternatives (among
others): (1) the establishment of
differing compliance or reporting
requirements or timetables that take into
account the resources available to small
entities; (2) the clarification,
consolidation, or simplification of
compliance or reporting requirements
under the rule for small entities; (3) the
use of performance, rather than design,
standards; and (4) an exemption from
coverage of the rule, or any part thereof,
for small entities.

79. This Fourth Report and Order
reinstates the collection of broadcaster
employment data on Form 395-B.
Collection of the Form 395—B was
suspended in 2001 following two
decisions by the U.S. Court of Appeals
for the District of Columbia Circuit (D.C.
Circuit) vacating certain aspects of the
Commission’s equal employment
opportunity rules. This suspension had
no relation to the impact of the
collection on small entities. As noted
above, the filing requirement of Form
395-B importantly does not apply to
broadcast employment units with less
than five full-time employees, thereby
exempting a large group of smaller
entities from the filing requirements.
The Fourth Report and Order only leads
to a resumption of data collection efforts
and imposes no new requirements for
which the Commission can find
alternatives that would minimize the
economic burden on small entities.

I. Report to Congress

80. The Commission has determined,
and the Administrator of the Office of
Information and Regulatory Affairs,
Office of Management and Budget,
concurs, that this rule is ‘““non-major”’
under the Congressional Review Act, 5
U.S.C. 804(2). The Commission will
send a copy of this Report & Order and
Order on Reconsideration to Congress
36718

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Regulations

and the Government Accountability
Office pursuant to 5 U.S.C. 801(a)(1)(A).

Final Regulatory Flexibility
Certification Analysis (Order on
Reconsideration)

81. For the reasons described below,
we now certify that the policies and
rules adopted in the Order on
Reconsideration will not have a
significant economic impact on a
substantial number of small entities.
The RFA generally defines the term
“small entity’’ as having the same
meaning as the terms “small business,”
“small organization,’ and ‘‘small
governmental jurisdiction.” In addition,
the term ‘‘small business” has the same
meaning as the term “‘small business
concern” under the Small Business Act.
A “‘small business concern’ is one
which: (1) is independently owned and
operated; (2) is not dominant in its field
of operation; and (3) satisfies any
additional criteria established by the
SBA.

82. In this Order on Reconsideration,
we make certain changes to the language
of § 73.3612 to clarify our collection and
use of Form 395-B data. We add
language to the rule confirming that the
collection of Form 395—B data, and
restrictions on the use of the data, also
applies to broadcast permittees. The
Order on Reconsideration adds an
explicit statement to its rules that it will
not use Form 395-B data to assess
compliance with both the equal
employment opportunity requirements
and nondiscrimination requirements of
§ 73.2080. We find that this statement is
consistent with our statements in the
Fourth Report and Order and other
previous statements made by the
Commission over the past two decades.

83. The changes from the Order on
Reconsideration will not have a
significant economic impact on a
substantial number of small entities
because such changes do not alter the
type or extent of information collected
under Form 395-B. Rather, the Order on
Reconsideration does nothing more than
memorialize in another form a
prohibition that the Commission has
had in place for more than 20 years.
Therefore, we certify that the changes
provided in the Order on
Reconsideration will not have a
significant economic impact on a
substantial number of small entities.
The Commission will send a copy of
this Order on Reconsideration,
including a copy of this Final
Regulatory Flexibility Certification, in a
report to Congress and the Government
Accountability Office pursuant to the
Small Business Regulatory Fairness Act
of 1996.

Ordering Clauses

84. Accordingly, it is ordered that,
pursuant to the authority contained in
sections 1, 4(i), 4(k), 303(r), 307, 308,
309, 310, 334, 403, and 634 of the
Communications Act of 1934, as
amended, 47 U.S.C. 151, 154(i), 154(k),
303(r), 307, 308, 309, 310, 334, 403, and
554, this Fourth Report and Order and
Order on Reconsideration is adopted.

85. It is further ordered that this
Fourth Report and Order and Order on
Reconsideration shall be effective 30
days after publication in the Federal
Register. Compliance with § 73.3612 of
the Commission’s rules, 47 CFR
73.3612, which may contain new or
modified information collection
requirements, will not be required until
the Office of Management and Budget
completes review of any information
collection requirements that the Office
of Management and Budget determines
is required under the Paperwork
Reduction Act. The Commission directs
the Media Bureau to announce the
compliance date for the Fourth Report
and Order and Order on
Reconsideration by subsequent Public
Notice.

86. It is further ordered that the Joint
Petition of the State Broadcasters
Associations for Reconsideration and/or
Clarification of the Third Report and
Order and Fourth NPRM, MM Docket
No. 98-204 (filed July 23, 2004), is
granted in part, denied in part,
dismissed in part, and deferred in part.

87. It is further ordered that the Media
Bureau is hereby directed to make the
necessary changes to Form 395-B to
provide for inclusion of gender non-
binary information.

88. It is further ordered that the
Commission’s Consumer and
Governmental Affairs Bureau, Reference
Information Center, shall send a copy of
the Fourth Report and Order and Order
on Reconsideration, including the Final
Regulatory Flexibility Analysis and the
Initial Regulatory Flexibility
Certification, to the Chief Counsel for
Advocacy of the Small Business
Administration.

89. It is further ordered that the Office
of the Managing Director, Performance
Program Management, shall send a copy
of this Fourth Report and Order and
Order on Reconsideration in a report to
be sent to Congress and the Government
Accountability Office pursuant to the
Congressional Review Act, 5 U.S.C.
801(a)(1)(A).

Federal Communications Commission.

List of Subjects in 47 CFR Part 73

Radio, Reporting and recordkeeping
requirements, Television.

Marlene Dortch,
Secretary.

Final Rules

For the reasons discussed in the
preamble, the Federal Communications
Commission amends 47 CFR part 73 as
follows:

PART 73—RADIO BROADCAST
SERVICES

m 1. The authority citation for part 73
continues to read as follows:

Authority: 47 U.S.C. 154, 155, 301, 303,
307, 309, 310, 334, 336, 339.

@ 2. Revise § 73.3612 to read as follows:

§ 73.3612 Annual employment report.

Each licensee or permittee of a
commercially or noncommercially
operated AM, FM, TV, Class A TV or
International Broadcast station with five
or more full-time employees shall file an
annual employment report with the FCC
on or before September 30 of each year
on FCC Form 395-B. Data concerning
the gender, race and ethnicity of a
broadcast station’s workforce collected
in the annual employment report will be
used only for purposes of analyzing
industry trends and making reports to
Congress. Such data will not be used for
the purpose of assessing any aspect of
an individual broadcast licensee’s or
permittee’s compliance with the
nondiscrimination or equal employment
opportunity requirements of § 73.2080.
Compliance with this section will not be
required until this sentence is removed
or contains a compliance date, which
will not occur until after the Office of
Management and Budget completes
review of any information collection
requirements pursuant to the Paperwork
Reduction Act or until after the Office
of Management and Budget determines
that such review is not required.

[FR Doc. 2024-09468 Filed 5—2—24; 8:45 am]
BILLING CODE 6712-01-P

FEDERAL COMMUNICATIONS
COMMISSION

47 CFR Part 73

[MB Docket No. 23-380; RM-11968; DA 24—
381; FR ID 216242]

Television Broadcasting Services
Missoula, Montana.

AGENCY: Federal Communications
Commission.
Case: 24-60219 Document: 36-1 Page: 109 Date Filed: 07/12/2024

Exhibit 4
Case: 24-60219 Document: 36-1 Page: 110 Date Filed: 07/12/2024

IN THE UNITED STATES COURT OF APPEALS
FOR THE NINTH CIRCUIT

THEDOVE MEDIA, INC., )
)

Petitioner, ) Case No. 24-4010
v. )
)

FEDERAL COMMUNICATIONS CoM- ) FCC Order 24-18

MISSION and UNITED STATES OF  ) MB Docket No. 98-204

AMERICA, )
)
Respondents. )

NOTICE OF RELATED PROCEEDINGS

On June 28, 2024, Petitioner, theDove Media, Inc., filed a Petition
for Review in this Court seeking review of a final order of the Federal
Communications Commission (FCC)—namely, Review of the Commis-
sion’s Broadcast and Cable Equal Employment Opportunity Rules and
Policies, Fourth Report and Order, Order on Reconsideration, and Second
Further Notice of Proposed Rulemaking, MB Docket No. 98-204, FCC 24-
18 (rel. Feb. 22, 2024) (Order); see also Review of the Commission’s Broad-
cast and Cable Equal Employment Opportunity Rules and Policies, 89
Fed. Reg, 36705 (May 3, 2024).

Petitioner theDove Media, Inc. hereby provides notice to the Court
of proceedings, related to the same FCC Order, filed in the United States

Court of Appeals for the Fifth Circuit:
Case: 24-60219 Document: 36-1 Page:111 Date Filed: 07/12/2024

e National Religious Broadcasters and American Family Asso-
ciation v. Federal Communications Commission and United
States of America, Fifth Cir. No. 24-60219 (filed May 3, 2024);
and

e Texas Association of Broadcasters v. Federal Communications
Commission and United States of America, Fifth Cir. No. 24-
60226 (filed May 9, 2024).

These cases were consolidated on May 30, 2024. And a certified list
in lieu of the administrative record was filed on June 17, 2024.

Pursuant to 28 U.S.C, § 2112(a)(5), courts in which petitions are
instituted with respect to the same order, except the court in which the
record is filed, “shall transfer those proceedings to the court in which the
record is so filed.”

Accordingly, the Petitioner respectfully submits that this proceed-
ing should be transferred to the Fifth Circuit Court of Appeals.
DATED: July 11, 2024.

Respectfully submitted,

s/ Oliver J. Dunford

WILSON C. FREEMAN OLIVER J. DUNFORD

Pacific Legal Foundation Pacific Legal Foundation

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Attorneys for Petitioner
Case: 24-60219 Document: 36-1 Page:112 Date Filed: 07/12/2024

CERTIFICATE OF SERVICE

I hereby certify that on July 11, 2024, I electronically filed the
Foregoing Petitioner’s Notice of Related Proceeding with the Clerk of the
Court for the United States Court of Appeals for the Ninth Circuit by
using the appellate CM/ECF system.

I certify that all participants in the case are registered CM/ECF
users and that service was accomplished by CM/ECF.

s/ Oliver J. Dunford
OLIVER J. DUNFORD

